                    Case 25-10067-T Document 1 Filed in USBC ND/OK on 01/20/25 Page 1 of 191

 Fill in this information to identify the case:

 United States Bankruptcy Court for the:
                          Northern District of Oklahoma

 Case number (if known):                                            Chapter     11                                                     ❑ Check if this is an
                                                                                                                                           amended filing

Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                                       06/24
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case number (if known). For
more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.



    1. Debtor's name                              Asher Homes, LLC


    2. All other names debtor used
       in the last 8 years

     Include any assumed names,
     trade names, and doing business
     as names



    3. Debtor's federal Employer                  4       6 – 1    8   9    1   7    8   5
       Identification Number (EIN)



    4. Debtor's address                            Principal place of business                                 Mailing address, if different from principal place of
                                                                                                               business




                                                   9128 S. Braden
                                                   Number          Street                                      Number        Street

                                                   Tulsa, OK 74137
                                                   City                                  State   ZIP Code      City                              State      ZIP Code

                                                                                                               Location of principal assets, if different from principal
                                                   Tulsa                                                       place of business
                                                   County




                                                                                                               Number        Street



                                                                                                               City                              State      ZIP Code




    5. Debtor's website (URL)                     https://asherhomesok.com/


    6. Type of debtor                             ✔ Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                                  ❑
                                                  ❑ Partnership (excluding LLP)
                                                  ❑ Other. Specify:



Official Form 201                                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                               page 1
                    Case 25-10067-T Document 1 Filed in USBC ND/OK on 01/20/25 Page 2 of 191

Debtor      Asher Homes, LLC                                                                                    Case number (if known)
           Name
                                                A. Check one:
    7. Describe debtor's business
                                                ❑ Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                ❑ Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                ❑ Railroad (as defined in 11 U.S.C. §101(44))
                                                ❑ Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                ❑ Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                ❑ Clearing Bank (as defined in 11 U.S.C. §781(3))
                                                ✔ None of the above
                                                ❑
                                                B. Check all that apply:
                                                ❑ Tax-exempt entity (as described in 26 U.S.C. §501)
                                                ❑ Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. § 80a-3)
                                                ❑ Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                                C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                                   http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                                   2      3     6     1

    8. Under which chapter of the               Check one:
       Bankruptcy Code is the                   ❑ Chapter 7
       debtor filing?
                                                ❑ Chapter 9
                                                ✔ Chapter 11. Check all that apply:
                                                ❑
                                                   ❑ Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                              are less than $3,024,725 (amount subject to adjustment on 4/01/25 and every 3 years after that).
                                                       ✔ The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                       ❑
                                                              business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                              statement, and federal income tax return or if all of these documents do not exist, follow the
                                                              procedure in 11 U.S.C. § 1116(1)(B).
                                                       ❑ The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and it chooses to
                                                              proceed under Subchapter V of Chapter 11.
                                                       ❑ A plan is being filed with this petition.
                                                       ❑ Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                              accordance with 11 U.S.C. § 1126(b).
                                                       ❑ The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                              Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                              Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                              (Official Form 201A) with this form.
                                                       ❑ The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                                ❑ Chapter 12
    9. Were prior bankruptcy cases filed        ✔ No
                                                ❑
       by or against the debtor within the
       last 8 years?
                                                ❑ Yes. District                                       When                    Case number
                                                                                                             MM / DD / YYYY
     If more than 2 cases, attach a                       District                                     When                    Case number
     separate list.
                                                                                                              MM / DD / YYYY

  10. Are any bankruptcy cases pending          ✔ No
                                                ❑
      or being filed by a business partner
      or an affiliate of the debtor?            ❑ Yes. Debtor                                                                 Relationship

     List all cases. If more than 1, attach a             District                                                             When
     separate list.                                                                                                                          MM / DD / YYYY
                                                          Case number, if known




Official Form 201                                      Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 2
                    Case 25-10067-T Document 1 Filed in USBC ND/OK on 01/20/25 Page 3 of 191

Debtor        Asher Homes, LLC                                                                           Case number (if known)
             Name


  11. Why is the case filed in this   Check all that apply:
      district?
                                      ✔ Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                      ❑
                                         immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                         district.

                                      ❑ A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.
  12. Does the debtor own or have     ✔ No
                                      ❑
      possession of any real
      property or personal property
                                      ❑ Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
      that needs immediate                      Why does the property need immediate attention? (Check all that apply.)
      attention?                                ❑ It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard?


                                                ❑ It needs to be physically secured or protected from the weather.
                                                ❑ It includes perishable goods or assets that could quickly deteriorate or lose value without attention
                                                      (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other
                                                      options).
                                                ❑ Other
                                                Where is the property?
                                                                          Number        Street




                                                                          City                                         State    ZIP Code
                                                Is the property insured?
                                                ❑ No
                                                ❑ Yes.        Insurance agency
                                                              Contact name
                                                              Phone


          Statistical and administrative information

         13. Debtor’s estimation of   Check one:
             available funds?         ❑ Funds will be available for distribution to unsecured creditors.
                                      ✔ After any administrative expenses are paid, no funds will be available for distribution to unsecured
                                      ❑
                                         creditors.

         14. Estimated number of       ❑ 1-49 ❑ 50-99                     ❑ 1,000-5,000 ❑ 5,001-10,000             ❑ 25,001-50,000 ❑ 50,000-100,000
             creditors                 ✔ 100-199 ❑ 200-999
                                       ❑                                  ❑ 10,001-25,000                          ❑ More than 100,000

         15. Estimated assets          ❑ $0-$50,000                          ❑ $1,000,001-$10 million                  ❑ $500,000,001-$1 billion
                                       ❑ $50,001-$100,000                    ✔ $10,000,001-$50 million
                                                                             ❑                                         ❑ $1,000,000,001-$10 billion
                                       ❑ $100,001-$500,000                   ❑ $50,000,001-$100 million                ❑ $10,000,000,001-$50 billion
                                       ❑ $500,001-$1 million                 ❑ $100,000,001-$500 million               ❑ More than $50 billion




Official Form 201                               Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                 page 3
                    Case 25-10067-T Document 1 Filed in USBC ND/OK on 01/20/25 Page 4 of 191

Debtor        Asher Homes, LLC                                                                                 Case number (if known)
             Name



                                            ❑ $0-$50,000                              ❑ $1,000,001-$10 million                 ❑ $500,000,001-$1 billion
                                                                                      ✔ $10,000,001-$50 million
         16. Estimated liabilities
                                            ❑ $50,001-$100,000                        ❑                                        ❑ $1,000,000,001-$10 billion
                                            ❑ $100,001-$500,000                       ❑ $50,000,001-$100 million               ❑ $10,000,000,001-$50 billion
                                            ❑ $500,001-$1 million                     ❑ $100,000,001-$500 million              ❑ More than $50 billion

           Request for Relief, Declaration, and Signatures


 WARNING --           Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
                      imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


         17. Declaration and signature of            The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
             authorized representative of            petition.
             debtor
                                                     I have been authorized to file this petition on behalf of the debtor.

                                                     I have examined the information in this petition and have a reasonable belief that the information is true
                                                     and correct.

                                               I declare under penalty of perjury that the foregoing is true and correct.

                                                   Executed on     01/20/2025
                                                                   MM/ DD/ YYYY



                                               ✘ /s/ Daniel Ruhl                                                                        Daniel Ruhl
                                                   Signature of authorized representative of debtor                 Printed name



                                                   Title                       President



         18. Signature of attorney
                                               ✘                        /s/ Ron Brown                               Date      01/20/2025
                                                   Signature of attorney for debtor                                           MM/ DD/ YYYY




                                                    Ron Brown
                                                   Printed name


                                                    Brown Law Firm PC
                                                   Firm name


                                                    1609 E. 4th St.
                                                   Number          Street


                                                    Tulsa                                                              OK              74120
                                                   City                                                               State            ZIP Code



                                                    (918) 585-9500                                                      ron@ronbrownlaw.com
                                                   Contact phone                                                       Email address



                                                    16352                                                               OK
                                                   Bar number                                                          State




Official Form 201                                    Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 4
Case 25-10067-T Document 1 Filed in USBC ND/OK on 01/20/25 Page 5 of 191
                Case 25-10067-T Document 1 Filed in USBC ND/OK on 01/20/25 Page 6 of 191
 Fill in this information to identify the case:

  Debtor Name       Asher Homes, LLC

  United States Bankruptcy Court for the:                Northern            District of    Oklahoma
                                                                                               (State)
  Case number (If
  known):                                                                                                                                   ❑ Check if this is an
                                                                                                                                                amended filing


Official Form 206A/B

Schedule A/B: Assets — Real and Personal Property                                                                                                                12/15

Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest. Include all
property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties which have no book
value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts or unexpired leases. Also list
them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write the
debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an additional sheet is
attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset schedule or
 depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the debtor’s interest, do not
 deduct the value of secured claims. See the instructions to understand the terms used in this form.

      Part 1:      Cash and cash equivalents

 1.      Does the debtor have any cash or cash equivalents?

         ❑ No. Go to Part 2.
         ✔ Yes. Fill in the information below.
         ❑
         All cash or cash equivalents owned or controlled by the debtor                                                                     Current value of
                                                                                                                                            debtor’s interest

 2.      Cash on hand

 3.      Checking, savings, money market, or financial brokerage accounts (Identify all)

         Name of institution (bank or brokerage firm)           Type of account                           Last 4 digits of account number

         3.1. Spirit Bank                                        Checking account                                                                        unknown

         3.2. BancFirst                                          Checking account                                                                        unknown

         3.3. City National Bank                                 Checking account                                                                        unknown

         3.4. First Pryority Bank                                Checking account                                                                        unknown

         3.5. Mabrey Bank                                        Checking account                                                                        unknown

 4.      Other cash equivalents (Identify all)

         4.1

         4.2


 5.      Total of Part 1
         Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.


      Part 2:      Deposits and prepayments

 6.      Does the debtor have any deposits or prepayments?

         ✔ No. Go to Part 3.
         ❑
         ❑ Yes. Fill in the information below.
                                                                                                                                            Current value of
                                                                                                                                            debtor’s interest


Official Form 206A/B                                    Schedule A/B: Assets — Real and Personal Property                                                       page 1
                Case 25-10067-T Document 1 Filed in USBC ND/OK on 01/20/25 Page 7 of 191
Debtor          Asher Homes, LLC                                                                          Case number (if known)
                Name




 7.      Deposits, including security deposits and utility deposits

         Description, including name of holder of deposit

         7.1

         7.2


 8.      Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent

         Description, including name of holder of prepayment

         8.1

         8.2


 9.      Total of Part 2
         Add lines 7 through 8. Copy the total to line 81.


      Part 3:      Accounts receivable

 10.     Does the debtor have any accounts receivable?

         ❑ No. Go to Part 4.
         ✔ Yes. Fill in the information below.
         ❑
                                                                                                                                         Current value of
                                                                                                                                         debtor’s interest

 11.     Accounts receivable

         11a. 90 days old or less:                                    -                                               ➔
                                                                                                                 =.....
                                     face amount                          doubtful or uncollectible accounts

         11b. Over 90 days old:              $262,850.10              -                unknown                        ➔
                                                                                                                 =.....                               unknown
                                     face amount                          doubtful or uncollectible accounts


 12.     Total of Part 3
         Current value on lines 11a + 11b = line 12. Copy the total to line 82.


      Part 4:      Investments

 13.     Does the debtor own any investments?

         ✔ No. Go to Part 5.
         ❑
         ❑ Yes. Fill in the information below.
                                                                                                                 Valuation method used   Current value of
                                                                                                                 for current value       debtor’s interest

 14.     Mutual funds or publicly traded stocks not included in Part 1

         Name of fund or stock:

         14.1

         14.2


 15.     Non-publicly traded stock and interests in incorporated and unincorporated businesses,
         including any interest in an LLC, partnership, or joint venture

         Name of entity:                                                                     % of
                                                                                             ownership:



Official Form 206A/B                                   Schedule A/B: Assets — Real and Personal Property                                                     page 2
                 Case 25-10067-T Document 1 Filed in USBC ND/OK on 01/20/25 Page 8 of 191
Debtor           Asher Homes, LLC                                                                  Case number (if known)
                 Name




         15.1.

         15.2.

 16.     Government bonds, corporate bonds, and other negotiable and non-negotiable
         instruments not included in Part 1

         Describe:

         16.1

         16.2


 17.     Total of Part 4
         Add lines 14 through 16. Copy the total to line 83.


   Part 5:           Inventory, excluding agriculture assets

 18.     Does the debtor own any inventory (excluding agriculture assets)?

         ✔ No. Go to Part 6.
         ❑
         ❑ Yes. Fill in the information below.
         General description                                   Date of the last     Net book value of      Valuation method used   Current value of
                                                               physical inventory   debtor's interest      for current value       debtor’s interest

                                                                                    (Where available)

 19.     Raw materials


                                                               MM / DD / YYYY


 20.     Work in progress


                                                               MM / DD / YYYY


 21.     Finished goods, including goods held for resale


                                                               MM / DD / YYYY


 22.     Other inventory or supplies


                                                               MM / DD / YYYY


 23.     Total of Part 5
         Add lines 19 through 22. Copy the total to line 84.


 24.     Is any of the property listed in Part 5 perishable?

         ✔ No
         ❑
         ❑ Yes
 25.     Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?

         ✔ No
         ❑
         ❑ Yes. Book value                           Valuation method                      Current value




Official Form 206A/B                                  Schedule A/B: Assets — Real and Personal Property                                                page 3
               Case 25-10067-T Document 1 Filed in USBC ND/OK on 01/20/25 Page 9 of 191
Debtor         Asher Homes, LLC                                                                   Case number (if known)
              Name




 26.     Has any of the property listed in Part 5 been appraised by a professional within the last year?

         ✔ No
         ❑
         ❑ Yes
   Part 6:         Farming and fishing-related assets (other than titled motor vehicles and land)

 27.     Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

         ✔ No. Go to Part 7.
         ❑
         ❑ Yes. Fill in the information below.
         General description                                                       Net book value of      Valuation method used   Current value of
                                                                                   debtor's interest      for current value       debtor’s interest

                                                                                   (Where available)

 28.     Crops—either planted or harvested




 29.     Farm animals Examples: Livestock, poultry, farm-raised fish




 30.     Farm machinery and equipment (Other than titled motor vehicles)




 31.     Farm and fishing supplies, chemicals, and feed




 32.     Other farming and fishing-related property not already listed in Part 6




 33.     Total of Part 6
         Add lines 28 through 32. Copy the total to line 85.


 34.     Is the debtor a member of an agricultural cooperative?

         ✔ No
         ❑
         ❑ Yes. Is any of the debtor’s property stored at the cooperative?
            ❑ No
            ❑ Yes
 35.     Has any of the property listed in Part 6 been purchased within 20 days before the bankruptcy was filed?

         ✔ No
         ❑
         ❑ Yes. Book value                           Valuation method                     Current value

 36.     Is a depreciation schedule available for any of the property listed in Part 6?

         ✔ No
         ❑
         ❑ Yes
 37.     Has any of the property listed in Part 6 been appraised by a professional within the last year?

         ✔ No
         ❑
         ❑ Yes
   Part 7:         Office furniture, fixtures, and equipment; and collectibles



Official Form 206A/B                                  Schedule A/B: Assets — Real and Personal Property                                               page 4
                Case 25-10067-T Document 1 Filed in USBC ND/OK on 01/20/25 Page 10 of 191
Debtor          Asher Homes, LLC                                                                     Case number (if known)
                Name




 38.     Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

         ❑ No. Go to Part 8.
         ✔ Yes. Fill in the information below.
         ❑
         General description                                                          Net book value of     Valuation method used   Current value of
                                                                                      debtor's interest     for current value       debtor’s interest

                                                                                      (Where available)

 39.     Office furniture

         Misc Office Furniture, Computers and Staging Furniture                                unknown                                          $20,000.00


 40.     Office fixtures




 41.     Office equipment, including all computer equipment and
         communication systems equipment and software




 42.     Collectibles Examples: Antiques and figurines; paintings, prints, or other
         artwork; books, pictures, or other art objects; china and crystal; stamp,
         coin, or baseball card collections; other collections, memorabilia, or
         collectibles

         42.1

         42.2

         42.3


 43.     Total of Part 7
                                                                                                                                              $20,000.00
         Add lines 39 through 42. Copy the total to line 86.


 44.     Is a depreciation schedule available for any of the property listed in Part 7?

         ✔ No
         ❑
         ❑ Yes
 45.     Has any of the property listed in Part 7 been appraised by a professional within the last year?

         ✔ No
         ❑
         ❑ Yes
   Part 8:         Machinery, equipment, and vehicles

 46.     Does the debtor own or lease any machinery, equipment, or vehicles?

         ❑ No. Go to Part 9.
         ✔ Yes. Fill in the information below.
         ❑
         General description                                                          Net book value of     Valuation method used   Current value of
                                                                                      debtor's interest     for current value       debtor’s interest
         Include year, make, model, and identification numbers (i.e., VIN, HIN, or
         N-number)                                                                    (Where available)

 47.     Automobiles, vans, trucks, motorcycles, trailers, and titled farm
         vehicles

         47.1 2001 Izuzu Box Truck                                                             unknown                                           unknown




Official Form 206A/B                                  Schedule A/B: Assets — Real and Personal Property                                                 page 5
                Case 25-10067-T Document 1 Filed in USBC ND/OK on 01/20/25 Page 11 of 191
Debtor          Asher Homes, LLC                                                                     Case number (if known)
                Name




         47.2 Van                                                                              unknown                                           unknown


 48.     Watercraft, trailers, motors, and related accessories Examples:
         Boats, trailers, motors, floating homes, personal watercraft, and fishing
         vessels

         48.1

         48.2


 49.     Aircraft and accessories

         49.1

         49.2


 50.     Other machinery, fixtures, and equipment (excluding farm
         machinery and equipment)




 51.     Total of Part 8
         Add lines 47 through 50. Copy the total to line 87.


 52.     Is a depreciation schedule available for any of the property listed in Part 8?

         ✔ No
         ❑
         ❑ Yes
 53.     Has any of the property listed in Part 8 been appraised by a professional within the last year?

         ✔ No
         ❑
         ❑ Yes
   Part 9:          Real property

 54.     Does the debtor own or lease any real property?

         ❑ No. Go to Part 10.
         ✔ Yes. Fill in the information below.
         ❑
 55.     Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

         Description and location of property                  Nature and extent      Net book value of     Valuation method used   Current value of
         Include street address or other description such      of debtor’s interest   debtor's interest     for current value       debtor’s interest
         as Assessor Parcel Number (APN), and type of          in property
         property (for example, acreage, factory,                                     (Where available)
         warehouse, apartment or office building), if
         available.

         55.1 Subdivision: RETREAT BLOCKS                      Fee Simple                      unknown                                        $608,073.00
                1-15, THE (80864) Legal: LOT 4
                BLOCK 12 Section: 28 Township:
                18 Range: 14 / 3112 W. Phoenix
                Broken Arrow, OK 74012


         55.2 Subdivision: RETREAT BLOCKS                      Fee Simple                      unknown                                        $369,000.00
                1-15, THE (80864) Legal: LOT 12
                BLOCK 7 Section: 28 Township:
                18 Range: 14 / 3804 S. Hemlock
                Broken Arrow, OK 74011




Official Form 206A/B                                   Schedule A/B: Assets — Real and Personal Property                                                page 6
             Case 25-10067-T Document 1 Filed in USBC ND/OK on 01/20/25 Page 12 of 191
Debtor       Asher Homes, LLC                                                              Case number (if known)
             Name




         55.3 Subdivision: RETREAT BLOCKS                Fee Simple                   unknown                       $435,720.00
             1-15, THE (80864) Legal: LOT 20
             BLOCK 7 Section: 28 Township:
             18 Range: 14 / 3708 S. Hemlock
             Broken Arrow, OK 74011


         55.4 Subdivision: RETREAT BLOCKS                Fee Simple                   unknown                       $488,809.00
             1-15, THE (80864) Legal: LOT 9
             BLOCK 12 Section: 28 Township:
             18 Range: 14 / 3704 S. Kalanchoe
             Broken Arrow, OK 74011


         55.5 Subdivision: RETREAT BLOCKS                Fee Simple                   unknown                       $566,821.00
             1-15, THE (80864) Legal: LOT 8
             BLOCK 12 Section: 28 Township:
             18 Range: 14 / 3700 S. Kalanchoe
             Broken Arrow, OK 74011


         55.6 Subdivision: RETREAT BLOCKS                Fee Simple                   unknown                       $440,000.00
             1-15, THE (80864) Legal: LOT 19
             BLOCK 7 Section: 28 Township:
             18 Range: 14 / 3712 S. Hemlock
             Broken Arrow, OK 74011


         55.7 Subdivision: RETREAT BLOCKS                Fee Simple                   unknown                       $548,606.00
             1-15, THE (80864) Legal: LOT 6
             BLOCK 11 Section: 28 Township:
             18 Range: 14 / 3109 W. Phoenix
             Broken Arrow, OK 74011


         55.8 Subdivision: RETREAT BLOCKS                Fee Simple                   unknown                       $397,804.00
             1-15, THE (80864) Legal: LOT 6
             BLOCK 6 Section: 28 Township:
             18 Range: 14 / 3709 S. Hemlock
             Broken Arrow, OK 74011


         55.9 Subdivision: RETREAT BLOCKS                Fee Simple                   unknown                       $445,012.00
             1-15, THE (80864) Legal: LOT 7
             BLOCK 6 Section: 28 Township:
             18 Range: 14 / 3705 S. Hemlock
             Broken Arrow, OK 74011


         55.10Subdivision: RETREAT BLOCKS                Fee Simple                   unknown                       $531,549.00
             1-15, THE (80864) Legal: LOT 8
             BLOCK 6 Section: 28 Township:
             18 Range: 14 / 3701 S. Hemlock
             Broken Arrow, OK 74011


         55.11Subdivision: KIRKPATRICK                   Fee Simple                   unknown                       $346,812.00
             HGTS (21500) Legal: LT 19 BLK 1
             Section: 35 Township: 20 Range:
             12 / 127 E. Latimer Tulsa, OK 74106

         55.12Subdivision: PEORIA PARK                   Fee Simple                   unknown                       $650,000.00
             ADDN (32525) Legal: LT 23 BK 3
             Section: 24 Township: 19 Range:
             12 / 917 E. 37th Street Tulsa, OK 74105




Official Form 206A/B                               Schedule A/B: Assets — Real and Personal Property                     page 7
             Case 25-10067-T Document 1 Filed in USBC ND/OK on 01/20/25 Page 13 of 191
Debtor       Asher Homes, LLC                                                               Case number (if known)
             Name




         55.13Subdivision: HICKORY CREEK                  Fee Simple                   unknown                       $599,000.00
             OF JENKS (ALL OF THE SW NW
             & RESUB LT 3 BLK 2 POLLY T
             2ND ADDN) (60667) Legal: LOT 5
             BLOCK 9 Section: 36 Township:
             18 Range: 12 / 1608 W. 114th St Jenks,
             OK 74037


         55.14Subdivision: RESERVE AT                     Fee Simple                   unknown                       $659,000.00
             ADDISON CREEK (57954) Legal:
             LOT 3 BLOCK 5 Section: 02
             Township: 17 Range: 13 / 12772 S.
             66th E. Ave Bixby, OK 74008


         55.15LOT 14 BLOCK 4 DEER RUN AT                  Fee Simple                   unknown                       $800,000.00
             STONE CANYON PHASE IV
             Rogers County Oklahoma / 18956
             E White WIllow Pass Owasso, OK 74055


         55.16Subdivision: DELAWARE PARK                  Fee Simple                   unknown                       $659,000.00
             (70518) Legal: LOT 5 BLOCK 2
             Section: 33 Township: 18 Range:
             13 / 11535 S. Marion Ave Tulsa, OK 74137

         55.17Subdivision: RESERVE AT                     Fee Simple                   unknown                       $575,000.00
             ADDISON CREEK (57954) Legal:
             LOT 1 BLOCK 1 Section: 02
             Township: 17 Range: 13 / 6511 E.
             127th St. S. Bixby, OK 74008


         55.18Subdivision: RESERVE AT                     Fee Simple                   unknown                       $715,000.00
             ADDISON CREEK (57954) Legal:
             LOT 18 BLOCK 4 Section: 02
             Township: 17 Range: 13 / 6640 E.
             127th Pl. S. Bixby, OK 74008


         55.19Subdivision: RESERVE AT                     Fee Simple                   unknown                       $750,000.00
             ADDISON CREEK (57954) Legal:
             LOT 13 BLOCK 4 Section: 02
             Township: 17 Range: 13 / 6776 E
             127th Pl. S. Bixby, OK 74008


         55.20Subdivision: ADDISON CREEK                  Fee Simple                   unknown                       $525,554.00
             CROSSING (86802) Legal: LOT
             16 BLOCK 3 Section: 03
             Township: 17 Range: 13 / 5907 E.
             126th St. S. Bixby, OK 74008


         55.21Subdivision: VILLAGE @                      Fee Simple                   unknown                       $429,000.00
             1ELEVEN (81833) Legal: LOT 8
             BLOCK 4 Section: 28 Township:
             18 Range: 14 / 2410 W. Charleston
             Broken Arrow, OK 74011


         55.22Subdivision: VILLAGE @                      Fee Simple                   unknown                       $429,000.00
             1ELEVEN (81833) Legal: LOT 7
             BLOCK 3 Section: 28 Township:
             18 Range: 14 / 2413 W. Charleston
             Broken Arrow, OK 74011



Official Form 206A/B                                Schedule A/B: Assets — Real and Personal Property                     page 8
              Case 25-10067-T Document 1 Filed in USBC ND/OK on 01/20/25 Page 14 of 191
Debtor         Asher Homes, LLC                                                                       Case number (if known)
              Name




         55.23Subdivision: VILLAGE @                         Fee Simple                         unknown                                          $359,000.00
              1ELEVEN (81833) Legal: LOT 2
              BLOCK 6 Section: 28 Township:
              18 Range: 14 / 4516 S. Dogwood
              Broken Arrow, OK 74011


         55.24Subdivision: ADDISON CREEK                     Fee Simple                         unknown        Zillow                            $389,000.00
              CROSSING (86802) Legal: LOT
              13 BLOCK 3 Section: 03
              Township: 17 Range: 13 / 5813 E.
              126th St S. Bixby, OK 74008


 56.     Total of Part 9
                                                                                                                                            $12,716,760.00
         Add the current value on lines 55.1 through 55.6 and entries from any additional sheets. Copy the total to line 88.


 57.     Is a depreciation schedule available for any of the property listed in Part 9?

         ✔ No
         ❑
         ❑ Yes
 58.     Has any of the property listed in Part 9 been appraised by a professional within the last year?

         ✔ No
         ❑
         ❑ Yes
  Part 10:          Intangibles and intellectual property

 59.     Does the debtor have any interests in intangibles or intellectual property?

         ❑ No. Go to Part 11.
         ✔ Yes. Fill in the information below.
         ❑
         General description                                                          Net book value of        Valuation method used   Current value of
                                                                                      debtor's interest        for current value       debtor’s interest

                                                                                      (Where available)

 60.     Patents, copyrights, trademarks, and trade secrets




 61.     Internet domain names and websites




 62.     Licenses, franchises, and royalties




 63.     Customer lists, mailing lists, or other compilations




 64.     Other intangibles, or intellectual property

         Copyrighted House Plans                                                                unknown                                             unknown

         https://asherhomesok.com/                                                              unknown                                             unknown


 65.     Goodwill




Official Form 206A/B                                   Schedule A/B: Assets — Real and Personal Property                                                   page 9
               Case 25-10067-T Document 1 Filed in USBC ND/OK on 01/20/25 Page 15 of 191
Debtor         Asher Homes, LLC                                                                        Case number (if known)
               Name




 66.     Total of Part 10
         Add lines 60 through 65. Copy the total to line 89.


 67.     Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C. §§ 101(41A) and 107)?

         ✔ No
         ❑
         ❑ Yes
 68.     Is there an amortization or other similar schedule available for any of the property listed in Part 10?

         ✔ No
         ❑
         ❑ Yes
 69.     Has any of the property listed in Part 10 been appraised by a professional within the last year?

         ✔ No
         ❑
         ❑ Yes
  Part 11:         All other assets

 70.     Does the debtor own any other assets that have not yet been reported on this form?
         Include all interests in executory contracts and unexpired leases not previously reported on this form.

         ❑ No. Go to Part 12.
         ✔ Yes. Fill in the information below.
         ❑
                                                                                                                                        Current value of
                                                                                                                                        debtor’s interest

 71.     Notes receivable

         Description (include name of obligor)

                                                                                      –                                         =   ➔
                                                               Total face amount          doubtful or uncollectible amount


 72.     Tax refunds and unused net operating losses (NOLs)

         Description (for example, federal, state, local)

                                                                                                         Tax year

                                                                                                         Tax year

                                                                                                         Tax year


 73.     Interests in insurance policies or annuities




 74.     Causes of action against third parties (whether or not a lawsuit has
         been filed)

         Countersuit v. Executive Homes LLC                                                                                                          unknown

         Nature of claim              CJ 2023-2191

         Amount requested                      unknown


 75.     Other contingent and unliquidated claims or causes of action of
         every nature, including counterclaims of the debtor and rights to
         set off claims




Official Form 206A/B                                    Schedule A/B: Assets — Real and Personal Property                                               page 10
                Case 25-10067-T Document 1 Filed in USBC ND/OK on 01/20/25 Page 16 of 191
Debtor           Asher Homes, LLC                                                                                                    Case number (if known)
                Name




         Nature of claim

         Amount requested


 76.     Trusts, equitable or future interests in property




 77.     Other property of any kind not already listed Examples: Season
         tickets, country club membership




 78.     Total of Part 11
         Add lines 71 through 77. Copy the total to line 90.


 79.     Has any of the property listed in Part 11 been appraised by a professional within the last year?

         ✔ No
         ❑
         ❑ Yes
  Part 12:            Summary


 In Part 12 copy all of the totals from the earlier parts of the form.


         Type of property                                                                                Current value of                           Current value
                                                                                                         personal property                          of real property

 80.     Cash, cash equivalents, and financial assets. Copy line 5, Part 1.                                               unknown

 81.     Deposits and prepayments. Copy line 9, Part 2.

 82.     Accounts receivable. Copy line 12, Part 3.                                                                       unknown

 83.     Investments. Copy line 17, Part 4.

 84.     Inventory. Copy line 23, Part 5.

 85.     Farming and fishing-related assets. Copy line 33, Part 6.

 86.     Office furniture, fixtures, and equipment; and collectibles.
                                                                                                                        $20,000.00
         Copy line 43, Part 7.

 87.     Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                        unknown


         ➔
         Real property. Copy line 56, Part 9..........................................................................................                 $12,716,760.00
 88.


 89.     Intangibles and intellectual property. Copy line 66, Part 10.                                                    unknown

 90.     All other assets. Copy line 78, Part 11.                                                    +                    unknown

         Total. Add lines 80 through 90 for each                                                                        $20,000.00                     $12,716,760.00
 91.
         column............................91a.
                                                                                                                                           + 91b.


 92.     Total of all property on Schedule A/B. Lines 91a + 91b = 92. .....................................................................................................   $12,736,760.00




Official Form 206A/B                                                 Schedule A/B: Assets — Real and Personal Property                                                               page 11
                Case 25-10067-T Document 1 Filed in USBC ND/OK on 01/20/25 Page 17 of 191
 Fill in this information to identify the case:

     Debtor name     Asher Homes, LLC

     United States Bankruptcy Court for the:                Northern                 District of        Oklahoma
                                                                                                   (State)
     Case number (if known):                                                                                                                         ❑ Check if this is an
                                                                                                                                                         amended filing

Official Form 206D

Schedule D: Creditors Who Have Claims Secured by Property                                                                                                                 12/15

Be as complete and accurate as possible.

1.     Do any creditors have claims secured by debtor’s property?
       ❑ No. Check this box and submit page 1 of this form to the court with debtor’s other schedules. Debtor has nothing else to report on this form.
       ✔ Yes. Fill in all of the information below.
       ❑
      Part 1:       List Creditors Who Have Secured Claims

 2.     List in alphabetical order all creditors who have secured claims. If a creditor has more than one                  Column A                       Column B
        secured claim, list the creditor separately for each claim.                                                        Amount of claim                Value of collateral
                                                                                                                           Do not deduct the value        that supports this
                                                                                                                           of collateral.                 claim

 2.1 Creditor’s name                                         Describe debtor’s property that is subject to a lien
         Anthony's Painting LLC                              Subdivision: VILLAGE @ 1ELEVEN (81833) Legal:                              $15,427.00               $429,000.00
                                                             LOT 7 BLOCK 3 Section: 28 Township: 18 Range: 14
        Creditor’s mailing address
                                                             Describe the lien
         2301 N Lewis
                                                             Mechanic's or Materialman's Lien
         Tulsa, OK 74110
                                                             Is the creditor an insider or related party?
        Creditor’s email address, if known                   ✔ No
                                                             ❑
                                                             ❑ Yes
        Date debt was incurred            7/8/2024           Is anyone else liable on this claim?
                                                             ✔ No
                                                             ❑
        Last 4 digits of account                             ❑ Yes. Fill out Schedule H: Codebtors (Official Form 206H).
        number
                                                             As of the petition filing date, the claim is:
        Do multiple creditors have an interest in
                                                             Check all that apply.
        the same property?
                                                             ❑ Contingent
        ❑ No
        ✔ Yes. Specify each creditor, including this         ❑ Unliquidated
        ❑                                                    ✔ Disputed
                 creditor, and its relative priority.        ❑
                 1) Anthony's Painting LLC; 2)
                 Spiritbank




 3.     Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional                              $10,736,096.37
        Page, if any.


Official Form 206D                                      Schedule D: Creditors Who Have Claims Secured by Property                                                  page of
           Case 25-10067-T Document 1 Filed in USBC ND/OK on 01/20/25 Page 18 of 191
2.2 Creditor’s name                                Describe debtor’s property that is subject to a lien
    City National Bank and Trust                   Subdivision: RESERVE AT ADDISON CREEK (57954)                 $549,500.00   $750,000.00
    Company                                        Legal: LOT 13 BLOCK 4 Section: 02 Township: 17
                                                   Range: 13
    Creditor’s mailing address
                                                   Describe the lien
    500 SW D Ave.                                  Mortgage
    Lawton, OK 73501
                                                   Is the creditor an insider or related party?
    Creditor’s email address, if known             ✔ No
                                                   ❑
                                                   ❑ Yes
                                                   Is anyone else liable on this claim?
    Date debt was incurred         6/20/2023
                                                   ❑ No
    Last 4 digits of account                       ✔ Yes. Fill out Schedule H: Codebtors (Official Form 206H).
                                                   ❑
    number
                                                   As of the petition filing date, the claim is:
    Do multiple creditors have an interest in      Check all that apply.
    the same property?
                                                   ❑ Contingent
    ❑ No                                           ✔ Unliquidated
                                                   ❑
    ✔ Yes. Have you already specified the
    ❑
            relative priority?
                                                   ❑ Disputed
       ✔ No. Specify each creditor, including
       ❑
                this creditor, and its relative
                priority.
                1) Emily and Spencer Roberts;
                2) Millcreek Lumber & Supply
                Company; 3) Mill Creek Carpet
                and Tile Company; 4) COP
                Hometown Service, Inc.; 5)
                Renaissance, Inc.; 6)
                Stresscon, Inc.; 7)
                Hummingbird Electric Inc; 8)
                Frankenfield Capital, Inc. dba
                iFoam Insulation 102; 9)
                Watkins Sand Co, Inc.; 10) City
                National Bank and Trust
                Company
       ❑ Yes. The relative priority of creditors
                is specified on lines
              Case 25-10067-T Document 1 Filed in USBC ND/OK on 01/20/25 Page 19 of 191
Debtor       Asher Homes, LLC                                                                      Case number (if known)
          Name




   Part 1:       Additional Page                                                                                    Column A                  Column B
                                                                                                                    Amount of claim           Value of collateral
 Copy this page only if more space is needed. Continue numbering the lines sequentially from the                    Do not deduct the value   that supports this
 previous page.                                                                                                     of collateral.            claim

2.3 Creditor’s name                                   Describe debtor’s property that is subject to a lien
      City National Bank and Trust                    Subdivision: ADDISON CREEK CROSSING (86802)                              $378,500.00          $525,554.00
      Company                                         Legal: LOT 16 BLOCK 3 Section: 03 Township: 17
                                                      Range: 13
     Creditor’s mailing address
                                                      Describe the lien
      500 SW D Ave.                                   Mortgage
      Lawton, OK 73501
                                                      Is the creditor an insider or related party?
     Creditor’s email address, if known               ✔ No
                                                      ❑
                                                      ❑ Yes
                                                      Is anyone else liable on this claim?
     Date debt was incurred          10/9/2023
                                                      ❑ No
     Last 4 digits of account                         ✔ Yes. Fill out Schedule H: Codebtors (Official Form 206H).
                                                      ❑
     number
                                                      As of the petition filing date, the claim is:
     Do multiple creditors have an interest in        Check all that apply.
     the same property?
                                                      ❑ Contingent
     ❑ No                                             ✔ Unliquidated
                                                      ❑
     ✔ Yes. Have you already specified the
     ❑
              relative priority?
                                                      ❑ Disputed
         ✔ No. Specify each creditor, including
         ❑
                  this creditor, and its relative
                  priority.
                  1) Ultimate Cabinets; 2)
                  Millcreek Lumber & Supply
                  Company; 3) Insulation
                  Services of Tulsa, LLC; 4) COP
                  Hometown Service, Inc.; 5)
                  Esteban Contreras; 6) Watkins
                  Sand Co, Inc.; 7) City National
                  Bank and Trust Company
         ❑ Yes. The relative priority of creditors
                  is specified on lines




Official Form 206D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                               page      of
              Case 25-10067-T Document 1 Filed in USBC ND/OK on 01/20/25 Page 20 of 191
Debtor       Asher Homes, LLC                                                                      Case number (if known)
          Name




   Part 1:       Additional Page                                                                                    Column A                  Column B
                                                                                                                    Amount of claim           Value of collateral
 Copy this page only if more space is needed. Continue numbering the lines sequentially from the                    Do not deduct the value   that supports this
 previous page.                                                                                                     of collateral.            claim

2.4 Creditor’s name                                   Describe debtor’s property that is subject to a lien
      City National Bank and Trust                    Subdivision: ADDISON CREEK CROSSING (86802)                              $433,629.00          $389,000.00
      Company                                         Legal: LOT 13 BLOCK 3 Section: 03 Township: 17
                                                      Range: 13
     Creditor’s mailing address
                                                      Describe the lien
      500 SW D Ave.
      Lawton, OK 73501
                                                      Is the creditor an insider or related party?
     Creditor’s email address, if known               ✔ No
                                                      ❑
                                                      ❑ Yes
                                                      Is anyone else liable on this claim?
     Date debt was incurred          7/28/2023
                                                      ❑ No
     Last 4 digits of account                         ✔ Yes. Fill out Schedule H: Codebtors (Official Form 206H).
                                                      ❑
     number
                                                      As of the petition filing date, the claim is:
     Do multiple creditors have an interest in        Check all that apply.
     the same property?
                                                      ❑ Contingent
     ❑ No                                             ❑ Unliquidated
     ✔ Yes. Have you already specified the
     ❑                                                ❑ Disputed
              relative priority?
         ✔ No. Specify each creditor, including
         ❑
                  this creditor, and its relative
                  priority.
                  1) City National Bank and
                  Trust Company; 2) Watkins
                  Sand Co, Inc.; 3) Insulation
                  Services of Tulsa, LLC; 4)
                  Ultimate Cabinets; 5) Millcreek
                  Lumber & Supply Company
         ❑ Yes. The relative priority of creditors
                  is specified on lines




Official Form 206D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                               page      of
              Case 25-10067-T Document 1 Filed in USBC ND/OK on 01/20/25 Page 21 of 191
Debtor       Asher Homes, LLC                                                                      Case number (if known)
          Name




   Part 1:       Additional Page                                                                                    Column A                  Column B
                                                                                                                    Amount of claim           Value of collateral
 Copy this page only if more space is needed. Continue numbering the lines sequentially from the                    Do not deduct the value   that supports this
 previous page.                                                                                                     of collateral.            claim

2.5 Creditor’s name                                   Describe debtor’s property that is subject to a lien
      COP Hometown Service, Inc.                      Subdivision: RETREAT BLOCKS 1-15, THE (80864)                               $5,758.40         $435,720.00
                                                      Legal: LOT 20 BLOCK 7 Section: 28 Township: 18
     Creditor’s mailing address                       Range: 14
      c/o Robinett Swartz and Duren                   Describe the lien
      401 S. Boston 1600                              Mechanic's or Materialman's Lien

      Tulsa, OK 74103                                 Is the creditor an insider or related party?

     Creditor’s email address, if known
                                                      ✔ No
                                                      ❑
                                                      ❑ Yes
                                                      Is anyone else liable on this claim?
     Date debt was incurred           4/8/2024        ✔ No
                                                      ❑
     Last 4 digits of account
                                                      ❑ Yes. Fill out Schedule H: Codebtors (Official Form 206H).
     number
                                                      As of the petition filing date, the claim is:
     Do multiple creditors have an interest in        Check all that apply.
     the same property?                               ❑ Contingent
     ❑ No                                             ❑ Unliquidated
     ✔ Yes. Have you already specified the
     ❑                                                ✔ Disputed
                                                      ❑
              relative priority?
         ✔ No. Specify each creditor, including
         ❑
                  this creditor, and its relative
                  priority.
                  1) DP Custom Trim Carpentry
                  LLC; 2) Custom Cut Woodwork
                  LLC; 3) Millcreek Lumber &
                  Supply Company; 4) COP
                  Hometown Service, Inc.; 5)
                  Frankenfield Capital, Inc. dba
                  iFoam Insulation 102; 6) GP
                  Stone LLC; 7) Executive
                  Homes, LLC; 8) Spiritbank
         ❑ Yes. The relative priority of creditors
                  is specified on lines




Official Form 206D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                               page      of
              Case 25-10067-T Document 1 Filed in USBC ND/OK on 01/20/25 Page 22 of 191
Debtor       Asher Homes, LLC                                                                      Case number (if known)
          Name




   Part 1:       Additional Page                                                                                    Column A                  Column B
                                                                                                                    Amount of claim           Value of collateral
 Copy this page only if more space is needed. Continue numbering the lines sequentially from the                    Do not deduct the value   that supports this
 previous page.                                                                                                     of collateral.            claim

2.6 Creditor’s name                                   Describe debtor’s property that is subject to a lien
      COP Hometown Service, Inc.                      Subdivision: RETREAT BLOCKS 1-15, THE (80864)                               $5,384.40         $566,821.00
                                                      Legal: LOT 8 BLOCK 12 Section: 28 Township: 18
     Creditor’s mailing address                       Range: 14
      c/o Robinett Swartz and Duren                   Describe the lien
      401 S. Boston 1600                              Mechanic's or Materialman's Lien

      Tulsa, OK 74103                                 Is the creditor an insider or related party?

     Creditor’s email address, if known
                                                      ✔ No
                                                      ❑
                                                      ❑ Yes
                                                      Is anyone else liable on this claim?
     Date debt was incurred           4/8/2024        ✔ No
                                                      ❑
     Last 4 digits of account
                                                      ❑ Yes. Fill out Schedule H: Codebtors (Official Form 206H).
     number
                                                      As of the petition filing date, the claim is:
     Do multiple creditors have an interest in        Check all that apply.
     the same property?                               ❑ Contingent
     ❑ No                                             ❑ Unliquidated
     ✔ Yes. Have you already specified the
     ❑                                                ✔ Disputed
                                                      ❑
              relative priority?
         ✔ No. Specify each creditor, including
         ❑
                  this creditor, and its relative
                  priority.
                  1) Custom Cut Woodwork LLC;
                  2) Millcreek Lumber & Supply
                  Company; 3) COP Hometown
                  Service, Inc.; 4) Resaissance,
                  Inc.; 5) Frankenfield Capital,
                  Inc. dba iFoam Insulation 102;
                  6) GP Stone LLC; 7) Executive
                  Homes, LLC; 8) Spiritbank
         ❑ Yes. The relative priority of creditors
                  is specified on lines




Official Form 206D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                               page      of
              Case 25-10067-T Document 1 Filed in USBC ND/OK on 01/20/25 Page 23 of 191
Debtor       Asher Homes, LLC                                                                      Case number (if known)
          Name




   Part 1:       Additional Page                                                                                    Column A                  Column B
                                                                                                                    Amount of claim           Value of collateral
 Copy this page only if more space is needed. Continue numbering the lines sequentially from the                    Do not deduct the value   that supports this
 previous page.                                                                                                     of collateral.            claim

2.7 Creditor’s name                                   Describe debtor’s property that is subject to a lien
      COP Hometown Service, Inc.                      Subdivision: RESERVE AT ADDISON CREEK (57954)                               $1,417.00         $659,000.00
                                                      Legal: LOT 3 BLOCK 5 Section: 02 Township: 17
     Creditor’s mailing address                       Range: 13
      c/o Robinett Swartz and Duren                   Describe the lien
      401 S. Boston 1600                              Mechanic's or Materialman's Lien

      Tulsa, OK 74103                                 Is the creditor an insider or related party?

     Creditor’s email address, if known
                                                      ✔ No
                                                      ❑
                                                      ❑ Yes
                                                      Is anyone else liable on this claim?
     Date debt was incurred           4/8/2024        ✔ No
                                                      ❑
     Last 4 digits of account
                                                      ❑ Yes. Fill out Schedule H: Codebtors (Official Form 206H).
     number
                                                      As of the petition filing date, the claim is:
     Do multiple creditors have an interest in        Check all that apply.
     the same property?                               ❑ Contingent
     ❑ No                                             ❑ Unliquidated
     ✔ Yes. Have you already specified the
     ❑                                                ✔ Disputed
                                                      ❑
              relative priority?
         ✔ No. Specify each creditor, including
         ❑
                  this creditor, and its relative
                  priority.
                  1) Emily and Spencer Roberts;
                  2) COP Hometown Service,
                  Inc.; 3) J Team Pools and
                  Spas, Inc; 4) Mabrey Bank
         ❑ Yes. The relative priority of creditors
                  is specified on lines




Official Form 206D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                               page      of
              Case 25-10067-T Document 1 Filed in USBC ND/OK on 01/20/25 Page 24 of 191
Debtor       Asher Homes, LLC                                                                      Case number (if known)
          Name




   Part 1:       Additional Page                                                                                    Column A                  Column B
                                                                                                                    Amount of claim           Value of collateral
 Copy this page only if more space is needed. Continue numbering the lines sequentially from the                    Do not deduct the value   that supports this
 previous page.                                                                                                     of collateral.            claim

2.8 Creditor’s name                                   Describe debtor’s property that is subject to a lien
      COP Hometown Service, Inc.                      Subdivision: RESERVE AT ADDISON CREEK (57954)                               $8,767.00         $750,000.00
                                                      Legal: LOT 13 BLOCK 4 Section: 02 Township: 17
     Creditor’s mailing address                       Range: 13
      c/o Robinett Swartz and Duren                   Describe the lien
      401 S. Boston 1600                              Mechanic's or Materialman's Lien

      Tulsa, OK 74103                                 Is the creditor an insider or related party?

     Creditor’s email address, if known
                                                      ✔ No
                                                      ❑
                                                      ❑ Yes
                                                      Is anyone else liable on this claim?
     Date debt was incurred          4/17/2024        ✔ No
                                                      ❑
     Last 4 digits of account
                                                      ❑ Yes. Fill out Schedule H: Codebtors (Official Form 206H).
     number
                                                      As of the petition filing date, the claim is:
     Do multiple creditors have an interest in        Check all that apply.
     the same property?                               ❑ Contingent
     ❑ No                                             ❑ Unliquidated
     ✔ Yes. Have you already specified the
     ❑                                                ✔ Disputed
                                                      ❑
              relative priority?
         ❑ No. Specify each creditor, including
                  this creditor, and its relative
                  priority.



         ✔ Yes. The relative priority of creditors
         ❑
                  is specified on lines 2.2




Official Form 206D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                               page      of
              Case 25-10067-T Document 1 Filed in USBC ND/OK on 01/20/25 Page 25 of 191
Debtor       Asher Homes, LLC                                                                      Case number (if known)
          Name




   Part 1:       Additional Page                                                                                    Column A                   Column B
                                                                                                                    Amount of claim            Value of collateral
 Copy this page only if more space is needed. Continue numbering the lines sequentially from the                    Do not deduct the value    that supports this
 previous page.                                                                                                     of collateral.             claim

2.9 Creditor’s name                                   Describe debtor’s property that is subject to a lien
      COP Hometown Service, Inc.                      Subdivision: ADDISON CREEK CROSSING (86802)                                    $881.80         $525,554.00
                                                      Legal: LOT 16 BLOCK 3 Section: 03 Township: 17
     Creditor’s mailing address                       Range: 13
      c/o Robinett Swartz and Duren                   Describe the lien
      401 S. Boston 1600                              Mechanic's or Materialman's Lien

      Tulsa, OK 74103                                 Is the creditor an insider or related party?

     Creditor’s email address, if known
                                                      ✔ No
                                                      ❑
                                                      ❑ Yes
                                                      Is anyone else liable on this claim?
     Date debt was incurred           4/8/2024        ✔ No
                                                      ❑
     Last 4 digits of account
                                                      ❑ Yes. Fill out Schedule H: Codebtors (Official Form 206H).
     number
                                                      As of the petition filing date, the claim is:
     Do multiple creditors have an interest in        Check all that apply.
     the same property?                               ❑ Contingent
     ❑ No                                             ❑ Unliquidated
     ✔ Yes. Have you already specified the
     ❑                                                ✔ Disputed
                                                      ❑
              relative priority?
         ❑ No. Specify each creditor, including
                  this creditor, and its relative
                  priority.



         ✔ Yes. The relative priority of creditors
         ❑
                  is specified on lines 2.3




Official Form 206D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                page      of
              Case 25-10067-T Document 1 Filed in USBC ND/OK on 01/20/25 Page 26 of 191
Debtor       Asher Homes, LLC                                                                       Case number (if known)
          Name




   Part 1:       Additional Page                                                                                     Column A                  Column B
                                                                                                                     Amount of claim           Value of collateral
 Copy this page only if more space is needed. Continue numbering the lines sequentially from the                     Do not deduct the value   that supports this
 previous page.                                                                                                      of collateral.            claim

2.10 Creditor’s name                                   Describe debtor’s property that is subject to a lien
      Custom Cut Woodwork LLC                          Subdivision: RETREAT BLOCKS 1-15, THE (80864)                               $1,913.75         $369,000.00
                                                       Legal: LOT 12 BLOCK 7 Section: 28 Township: 18
     Creditor’s mailing address                        Range: 14
      16500 S. Yale                                    Describe the lien
      Bixby, OK 74008                                  Mechanic's or Materialman's Lien

     Creditor’s email address, if known                Is the creditor an insider or related party?
                                                       ✔ No
                                                       ❑
                                                       ❑ Yes
     Date debt was incurred          4/29/2024
                                                       Is anyone else liable on this claim?
     Last 4 digits of account                          ✔ No
                                                       ❑
     number                                            ❑ Yes. Fill out Schedule H: Codebtors (Official Form 206H).
     Do multiple creditors have an interest in
                                                       As of the petition filing date, the claim is:
     the same property?
                                                       Check all that apply.
     ❑ No                                              ❑ Contingent
     ✔ Yes. Have you already specified the
     ❑                                                 ❑ Unliquidated
                                                       ✔ Disputed
              relative priority?
                                                       ❑
         ✔ No. Specify each creditor, including
         ❑
                  this creditor, and its relative
                  priority.
                  1) Custom Cut Woodwork
                  LLC; 2) Mill Creek Lumber Co.;
                  3) Frankenfield Capital, Inc. ; 4)
                  GP Stone LLC; 5) Executive
                  Homes, LLC; 6) Spiritbank
         ❑ Yes. The relative priority of creditors
                  is specified on lines




Official Form 206D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                page      of
              Case 25-10067-T Document 1 Filed in USBC ND/OK on 01/20/25 Page 27 of 191
Debtor       Asher Homes, LLC                                                                      Case number (if known)
          Name




   Part 1:       Additional Page                                                                                    Column A                  Column B
                                                                                                                    Amount of claim           Value of collateral
 Copy this page only if more space is needed. Continue numbering the lines sequentially from the                    Do not deduct the value   that supports this
 previous page.                                                                                                     of collateral.            claim

2.11 Creditor’s name                                  Describe debtor’s property that is subject to a lien
      Custom Cut Woodwork LLC                         Subdivision: RETREAT BLOCKS 1-15, THE (80864)                               $3,436.25         $435,720.00
                                                      Legal: LOT 20 BLOCK 7 Section: 28 Township: 18
     Creditor’s mailing address                       Range: 14
      16500 S. Yale                                   Describe the lien
      Bixby, OK 74008                                 Mechanic's or Materialman's Lien

     Creditor’s email address, if known               Is the creditor an insider or related party?
                                                      ✔ No
                                                      ❑
                                                      ❑ Yes
     Date debt was incurred          4/29/2024
                                                      Is anyone else liable on this claim?
     Last 4 digits of account                         ✔ No
                                                      ❑
     number                                           ❑ Yes. Fill out Schedule H: Codebtors (Official Form 206H).
     Do multiple creditors have an interest in
                                                      As of the petition filing date, the claim is:
     the same property?
                                                      Check all that apply.
     ❑ No                                             ❑ Contingent
     ✔ Yes. Have you already specified the
     ❑                                                ❑ Unliquidated
                                                      ✔ Disputed
              relative priority?
                                                      ❑
         ❑ No. Specify each creditor, including
                  this creditor, and its relative
                  priority.



         ✔ Yes. The relative priority of creditors
         ❑
                  is specified on lines 2.5




Official Form 206D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                               page      of
              Case 25-10067-T Document 1 Filed in USBC ND/OK on 01/20/25 Page 28 of 191
Debtor       Asher Homes, LLC                                                                      Case number (if known)
          Name




   Part 1:       Additional Page                                                                                    Column A                  Column B
                                                                                                                    Amount of claim           Value of collateral
 Copy this page only if more space is needed. Continue numbering the lines sequentially from the                    Do not deduct the value   that supports this
 previous page.                                                                                                     of collateral.            claim

2.12 Creditor’s name                                  Describe debtor’s property that is subject to a lien
      Custom Cut Woodwork LLC                         Subdivision: RETREAT BLOCKS 1-15, THE (80864)                               $5,667.50         $566,821.00
                                                      Legal: LOT 8 BLOCK 12 Section: 28 Township: 18
     Creditor’s mailing address                       Range: 14
      16500 S. Yale                                   Describe the lien
      Bixby, OK 74008                                 Mechanic's or Materialman's Lien

     Creditor’s email address, if known               Is the creditor an insider or related party?
                                                      ✔ No
                                                      ❑
                                                      ❑ Yes
     Date debt was incurred          4/29/2024
                                                      Is anyone else liable on this claim?
     Last 4 digits of account                         ✔ No
                                                      ❑
     number                                           ❑ Yes. Fill out Schedule H: Codebtors (Official Form 206H).
     Do multiple creditors have an interest in
                                                      As of the petition filing date, the claim is:
     the same property?
                                                      Check all that apply.
     ❑ No                                             ❑ Contingent
     ✔ Yes. Have you already specified the
     ❑                                                ❑ Unliquidated
                                                      ✔ Disputed
              relative priority?
                                                      ❑
         ❑ No. Specify each creditor, including
                  this creditor, and its relative
                  priority.



         ✔ Yes. The relative priority of creditors
         ❑
                  is specified on lines 2.6




Official Form 206D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                               page      of
              Case 25-10067-T Document 1 Filed in USBC ND/OK on 01/20/25 Page 29 of 191
Debtor       Asher Homes, LLC                                                                      Case number (if known)
          Name




   Part 1:       Additional Page                                                                                    Column A                   Column B
                                                                                                                    Amount of claim            Value of collateral
 Copy this page only if more space is needed. Continue numbering the lines sequentially from the                    Do not deduct the value    that supports this
 previous page.                                                                                                     of collateral.             claim

2.13 Creditor’s name                                  Describe debtor’s property that is subject to a lien
      DP Custom Trim Carpentry LLC                    Subdivision: RETREAT BLOCKS 1-15, THE (80864)                                  $450.00         $435,720.00
                                                      Legal: LOT 20 BLOCK 7 Section: 28 Township: 18
     Creditor’s mailing address                       Range: 14
      10725 Masters Circle Ave                        Describe the lien
      Jenks, OK 74037                                 Mechanic's or Materialman's Lien

     Creditor’s email address, if known               Is the creditor an insider or related party?
                                                      ✔ No
                                                      ❑
                                                      ❑ Yes
     Date debt was incurred          10/16/2024
                                                      Is anyone else liable on this claim?
     Last 4 digits of account                         ✔ No
                                                      ❑
     number                                           ❑ Yes. Fill out Schedule H: Codebtors (Official Form 206H).
     Do multiple creditors have an interest in
                                                      As of the petition filing date, the claim is:
     the same property?
                                                      Check all that apply.
     ❑ No                                             ❑ Contingent
     ✔ Yes. Have you already specified the
     ❑                                                ❑ Unliquidated
                                                      ✔ Disputed
              relative priority?
                                                      ❑
         ❑ No. Specify each creditor, including
                  this creditor, and its relative
                  priority.



         ✔ Yes. The relative priority of creditors
         ❑
                  is specified on lines 2.5




Official Form 206D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                page      of
              Case 25-10067-T Document 1 Filed in USBC ND/OK on 01/20/25 Page 30 of 191
Debtor       Asher Homes, LLC                                                                        Case number (if known)
          Name




   Part 1:       Additional Page                                                                                      Column A                  Column B
                                                                                                                      Amount of claim           Value of collateral
 Copy this page only if more space is needed. Continue numbering the lines sequentially from the                      Do not deduct the value   that supports this
 previous page.                                                                                                       of collateral.            claim

2.14 Creditor’s name                                    Describe debtor’s property that is subject to a lien
      Emily and Spencer Roberts                         Subdivision: PEORIA PARK ADDN (32525) Legal: LT                              unknown          $650,000.00
                                                        23 BK 3 Section: 24 Township: 19 Range: 12
     Creditor’s mailing address
                                                        Describe the lien
      111 W 5th St, Suite 500
                                                        Judgment Lien
      Tulsa, OK 74103
                                                        Is the creditor an insider or related party?
     Creditor’s email address, if known                 ✔ No
                                                        ❑
                                                        ❑ Yes
     Date debt was incurred          11/25/2024         Is anyone else liable on this claim?
                                                        ✔ No
                                                        ❑
     Last 4 digits of account      8      6   7     3   ❑ Yes. Fill out Schedule H: Codebtors (Official Form 206H).
     number
                                                        As of the petition filing date, the claim is:
     Do multiple creditors have an interest in
                                                        Check all that apply.
     the same property?
                                                        ❑ Contingent
     ❑ No                                               ✔ Unliquidated
     ✔ Yes. Have you already specified the              ❑
     ❑                                                  ✔ Disputed
              relative priority?                        ❑
         ✔ No. Specify each creditor, including
         ❑
                  this creditor, and its relative
                  priority.
                  1) Emily and Spencer
                  Roberts; 2) Mabrey Bank
         ❑ Yes. The relative priority of creditors
                  is specified on lines




Official Form 206D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                 page      of
              Case 25-10067-T Document 1 Filed in USBC ND/OK on 01/20/25 Page 31 of 191
Debtor       Asher Homes, LLC                                                                        Case number (if known)
          Name




   Part 1:       Additional Page                                                                                      Column A                  Column B
                                                                                                                      Amount of claim           Value of collateral
 Copy this page only if more space is needed. Continue numbering the lines sequentially from the                      Do not deduct the value   that supports this
 previous page.                                                                                                       of collateral.            claim

2.15 Creditor’s name                                    Describe debtor’s property that is subject to a lien
      Emily and Spencer Roberts                         Subdivision: HICKORY CREEK OF JENKS (ALL OF                                  unknown          $599,000.00
                                                        THE SW NW & RESUB LT 3 BLK 2 POLLY T 2ND
     Creditor’s mailing address                         ADDN) (60667) Legal: LOT 5 BLOCK 9 Section: 36
                                                        Township: 18 Range: 12
      111 W 5th St, Suite 500
                                                        Describe the lien
      Tulsa, OK 74103
                                                        Judgment Lien
     Creditor’s email address, if known
                                                        Is the creditor an insider or related party?
                                                        ✔ No
                                                        ❑
     Date debt was incurred          11/25/2024         ❑ Yes
     Last 4 digits of account                           Is anyone else liable on this claim?
                                   8      6   6     9
     number                                             ❑ No
                                                        ✔ Yes. Fill out Schedule H: Codebtors (Official Form 206H).
                                                        ❑
     Do multiple creditors have an interest in
     the same property?
                                                        As of the petition filing date, the claim is:
     ❑ No                                               Check all that apply.
     ✔ Yes. Have you already specified the
     ❑                                                  ❑ Contingent
              relative priority?                        ✔ Unliquidated
                                                        ❑
         ✔ No. Specify each creditor, including
         ❑                                              ✔ Disputed
                                                        ❑
                  this creditor, and its relative
                  priority.
                  1) Emily and Spencer
                  Roberts; 2) Mabrey Bank; 3)
                  Millcreek Lumber & Supply
                  Company; 4) Mabrey Bank
         ❑ Yes. The relative priority of creditors
                  is specified on lines




Official Form 206D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                 page      of
              Case 25-10067-T Document 1 Filed in USBC ND/OK on 01/20/25 Page 32 of 191
Debtor       Asher Homes, LLC                                                                        Case number (if known)
          Name




   Part 1:       Additional Page                                                                                      Column A                  Column B
                                                                                                                      Amount of claim           Value of collateral
 Copy this page only if more space is needed. Continue numbering the lines sequentially from the                      Do not deduct the value   that supports this
 previous page.                                                                                                       of collateral.            claim

2.16 Creditor’s name                                    Describe debtor’s property that is subject to a lien
      Emily and Spencer Roberts                         Subdivision: RESERVE AT ADDISON CREEK (57954)                                unknown          $659,000.00
                                                        Legal: LOT 3 BLOCK 5 Section: 02 Township: 17
     Creditor’s mailing address                         Range: 13
      111 W 5th St, Suite 500                           Describe the lien
      Tulsa, OK 74103

     Creditor’s email address, if known                 Is the creditor an insider or related party?
                                                        ✔ No
                                                        ❑
                                                        ❑ Yes
     Date debt was incurred          11/25/2024
                                                        Is anyone else liable on this claim?
     Last 4 digits of account      8    6   6       8   ❑ No
     number                                             ✔ Yes. Fill out Schedule H: Codebtors (Official Form 206H).
                                                        ❑
     Do multiple creditors have an interest in          As of the petition filing date, the claim is:
     the same property?                                 Check all that apply.
     ❑ No                                               ❑ Contingent
     ✔ Yes. Have you already specified the
     ❑                                                  ✔ Unliquidated
                                                        ❑
              relative priority?
                                                        ✔ Disputed
                                                        ❑
         ❑ No. Specify each creditor, including
                  this creditor, and its relative
                  priority.



         ✔ Yes. The relative priority of creditors
         ❑
                  is specified on lines 2.7




Official Form 206D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                 page      of
              Case 25-10067-T Document 1 Filed in USBC ND/OK on 01/20/25 Page 33 of 191
Debtor       Asher Homes, LLC                                                                        Case number (if known)
          Name




   Part 1:       Additional Page                                                                                      Column A                  Column B
                                                                                                                      Amount of claim           Value of collateral
 Copy this page only if more space is needed. Continue numbering the lines sequentially from the                      Do not deduct the value   that supports this
 previous page.                                                                                                       of collateral.            claim

2.17 Creditor’s name                                    Describe debtor’s property that is subject to a lien
      Emily and Spencer Roberts                         LOT 14 BLOCK 4 DEER RUN AT STONE CANYON                                      unknown          $800,000.00
                                                        PHASE IV Rogers County Oklahoma
     Creditor’s mailing address
                                                        Describe the lien
      111 W 5th St, Suite 500
                                                        Judgment Lien
      Tulsa, OK 74103
                                                        Is the creditor an insider or related party?
     Creditor’s email address, if known                 ✔ No
                                                        ❑
                                                        ❑ Yes
     Date debt was incurred          11/22/2024         Is anyone else liable on this claim?
                                                        ❑ No
     Last 4 digits of account      5      8   7     1   ✔ Yes. Fill out Schedule H: Codebtors (Official Form 206H).
                                                        ❑
     number
                                                        As of the petition filing date, the claim is:
     Do multiple creditors have an interest in
                                                        Check all that apply.
     the same property?
                                                        ❑ Contingent
     ❑ No                                               ✔ Unliquidated
     ✔ Yes. Have you already specified the              ❑
     ❑                                                  ✔ Disputed
              relative priority?                        ❑
         ✔ No. Specify each creditor, including
         ❑
                  this creditor, and its relative
                  priority.
                  1) Emily and Spencer
                  Roberts; 2) Stone Canyon
                  Community Association, Inc; 3)
                  Mabrey Bank
         ❑ Yes. The relative priority of creditors
                  is specified on lines




Official Form 206D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                 page      of
              Case 25-10067-T Document 1 Filed in USBC ND/OK on 01/20/25 Page 34 of 191
Debtor       Asher Homes, LLC                                                                        Case number (if known)
          Name




   Part 1:       Additional Page                                                                                      Column A                  Column B
                                                                                                                      Amount of claim           Value of collateral
 Copy this page only if more space is needed. Continue numbering the lines sequentially from the                      Do not deduct the value   that supports this
 previous page.                                                                                                       of collateral.            claim

2.18 Creditor’s name                                    Describe debtor’s property that is subject to a lien
      Emily and Spencer Roberts                         Subdivision: DELAWARE PARK (70518) Legal: LOT 5                              unknown          $659,000.00
                                                        BLOCK 2 Section: 33 Township: 18 Range: 13
     Creditor’s mailing address
                                                        Describe the lien
      111 W 5th St, Suite 500
                                                        Judgment Lien
      Tulsa, OK 74103
                                                        Is the creditor an insider or related party?
     Creditor’s email address, if known                 ✔ No
                                                        ❑
                                                        ❑ Yes
     Date debt was incurred          11/25/2024         Is anyone else liable on this claim?
                                                        ❑ No
     Last 4 digits of account      8      6   7     0   ✔ Yes. Fill out Schedule H: Codebtors (Official Form 206H).
                                                        ❑
     number
                                                        As of the petition filing date, the claim is:
     Do multiple creditors have an interest in
                                                        Check all that apply.
     the same property?
                                                        ❑ Contingent
     ❑ No
     ✔ Yes. Have you already specified the              ❑ Unliquidated
     ❑                                                  ✔ Disputed
              relative priority?                        ❑
         ✔ No. Specify each creditor, including
         ❑
                  this creditor, and its relative
                  priority.
                  1) Emily and Spencer
                  Roberts; 2) Millcreek Lumber &
                  Supply Company; 3) Mabrey
                  Bank
         ❑ Yes. The relative priority of creditors
                  is specified on lines




Official Form 206D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                 page      of
              Case 25-10067-T Document 1 Filed in USBC ND/OK on 01/20/25 Page 35 of 191
Debtor       Asher Homes, LLC                                                                        Case number (if known)
          Name




   Part 1:       Additional Page                                                                                      Column A                  Column B
                                                                                                                      Amount of claim           Value of collateral
 Copy this page only if more space is needed. Continue numbering the lines sequentially from the                      Do not deduct the value   that supports this
 previous page.                                                                                                       of collateral.            claim

2.19 Creditor’s name                                    Describe debtor’s property that is subject to a lien
      Emily and Spencer Roberts                         Subdivision: RESERVE AT ADDISON CREEK (57954)                                unknown          $575,000.00
                                                        Legal: LOT 1 BLOCK 1 Section: 02 Township: 17
     Creditor’s mailing address                         Range: 13
      111 W 5th St, Suite 500                           Describe the lien
      Tulsa, OK 74103

     Creditor’s email address, if known                 Is the creditor an insider or related party?
                                                        ✔ No
                                                        ❑
                                                        ❑ Yes
     Date debt was incurred          11/25/2024
                                                        Is anyone else liable on this claim?
     Last 4 digits of account      8      6   7     2   ❑ No
     number                                             ✔ Yes. Fill out Schedule H: Codebtors (Official Form 206H).
                                                        ❑
     Do multiple creditors have an interest in          As of the petition filing date, the claim is:
     the same property?                                 Check all that apply.
     ❑ No                                               ❑ Contingent
     ✔ Yes. Have you already specified the
     ❑                                                  ❑ Unliquidated
              relative priority?
                                                        ✔ Disputed
                                                        ❑
         ✔ No. Specify each creditor, including
         ❑
                  this creditor, and its relative
                  priority.
                  1) Emily and Spencer
                  Roberts; 2) Sublime
                  Constractors Inc; 3) Mabrey
                  Bank
         ❑ Yes. The relative priority of creditors
                  is specified on lines




Official Form 206D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                 page      of
              Case 25-10067-T Document 1 Filed in USBC ND/OK on 01/20/25 Page 36 of 191
Debtor       Asher Homes, LLC                                                                      Case number (if known)
          Name




   Part 1:       Additional Page                                                                                    Column A                  Column B
                                                                                                                    Amount of claim           Value of collateral
 Copy this page only if more space is needed. Continue numbering the lines sequentially from the                    Do not deduct the value   that supports this
 previous page.                                                                                                     of collateral.            claim

2.20 Creditor’s name                                  Describe debtor’s property that is subject to a lien
      Emily and Spencer Roberts                       Subdivision: RESERVE AT ADDISON CREEK (57954)                                unknown          $715,000.00
                                                      Legal: LOT 18 BLOCK 4 Section: 02 Township: 17
     Creditor’s mailing address                       Range: 13
      111 W 5th St, Suite 500                         Describe the lien
      Tulsa, OK 74103                                 Judgment Lien

     Creditor’s email address, if known               Is the creditor an insider or related party?
                                                      ✔ No
                                                      ❑
                                                      ❑ Yes
     Date debt was incurred          11/25/2024
                                                      Is anyone else liable on this claim?
     Last 4 digits of account                         ❑ No
     number                                           ✔ Yes. Fill out Schedule H: Codebtors (Official Form 206H).
                                                      ❑
     Do multiple creditors have an interest in
                                                      As of the petition filing date, the claim is:
     the same property?
                                                      Check all that apply.
     ❑ No                                             ❑ Contingent
     ✔ Yes. Have you already specified the
     ❑                                                ❑ Unliquidated
                                                      ✔ Disputed
              relative priority?
                                                      ❑
         ✔ No. Specify each creditor, including
         ❑
                  this creditor, and its relative
                  priority.
                  1) Emily and Spencer
                  Roberts; 2) Mabrey Bank
         ❑ Yes. The relative priority of creditors
                  is specified on lines




Official Form 206D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                               page      of
              Case 25-10067-T Document 1 Filed in USBC ND/OK on 01/20/25 Page 37 of 191
Debtor       Asher Homes, LLC                                                                      Case number (if known)
          Name




   Part 1:       Additional Page                                                                                    Column A                  Column B
                                                                                                                    Amount of claim           Value of collateral
 Copy this page only if more space is needed. Continue numbering the lines sequentially from the                    Do not deduct the value   that supports this
 previous page.                                                                                                     of collateral.            claim

2.21 Creditor’s name                                  Describe debtor’s property that is subject to a lien
      Emily and Spencer Roberts                       Subdivision: RESERVE AT ADDISON CREEK (57954)                                unknown          $750,000.00
                                                      Legal: LOT 13 BLOCK 4 Section: 02 Township: 17
     Creditor’s mailing address                       Range: 13
      111 W 5th St, Suite 500                         Describe the lien
      Tulsa, OK 74103                                 Judgment Lien

     Creditor’s email address, if known               Is the creditor an insider or related party?
                                                      ✔ No
                                                      ❑
                                                      ❑ Yes
     Date debt was incurred          11/25/2024
                                                      Is anyone else liable on this claim?
     Last 4 digits of account                         ❑ No
     number                                           ✔ Yes. Fill out Schedule H: Codebtors (Official Form 206H).
                                                      ❑
     Do multiple creditors have an interest in
                                                      As of the petition filing date, the claim is:
     the same property?
                                                      Check all that apply.
     ❑ No                                             ❑ Contingent
     ✔ Yes. Have you already specified the
     ❑                                                ❑ Unliquidated
                                                      ✔ Disputed
              relative priority?
                                                      ❑
         ❑ No. Specify each creditor, including
                  this creditor, and its relative
                  priority.



         ✔ Yes. The relative priority of creditors
         ❑
                  is specified on lines 2.2




Official Form 206D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                               page      of
              Case 25-10067-T Document 1 Filed in USBC ND/OK on 01/20/25 Page 38 of 191
Debtor       Asher Homes, LLC                                                                      Case number (if known)
          Name




   Part 1:       Additional Page                                                                                    Column A                  Column B
                                                                                                                    Amount of claim           Value of collateral
 Copy this page only if more space is needed. Continue numbering the lines sequentially from the                    Do not deduct the value   that supports this
 previous page.                                                                                                     of collateral.            claim

2.22 Creditor’s name                                  Describe debtor’s property that is subject to a lien
      Esteban Contreras                               Subdivision: ADDISON CREEK CROSSING (86802)                                $20,220.00         $525,554.00
                                                      Legal: LOT 16 BLOCK 3 Section: 03 Township: 17
     Creditor’s mailing address                       Range: 13
      10114 E 47th St.                                Describe the lien
      Tulsa, OK 74146                                 Mechanic's or Materialman's Lien

     Creditor’s email address, if known               Is the creditor an insider or related party?
                                                      ✔ No
                                                      ❑
                                                      ❑ Yes
     Date debt was incurred           4/5/2024
                                                      Is anyone else liable on this claim?
     Last 4 digits of account                         ✔ No
                                                      ❑
     number                                           ❑ Yes. Fill out Schedule H: Codebtors (Official Form 206H).
     Do multiple creditors have an interest in
                                                      As of the petition filing date, the claim is:
     the same property?
                                                      Check all that apply.
     ❑ No                                             ❑ Contingent
     ✔ Yes. Have you already specified the
     ❑                                                ❑ Unliquidated
                                                      ✔ Disputed
              relative priority?
                                                      ❑
         ❑ No. Specify each creditor, including
                  this creditor, and its relative
                  priority.



         ✔ Yes. The relative priority of creditors
         ❑
                  is specified on lines 2.3




Official Form 206D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                               page      of
              Case 25-10067-T Document 1 Filed in USBC ND/OK on 01/20/25 Page 39 of 191
Debtor       Asher Homes, LLC                                                                        Case number (if known)
          Name




   Part 1:       Additional Page                                                                                      Column A                  Column B
                                                                                                                      Amount of claim           Value of collateral
 Copy this page only if more space is needed. Continue numbering the lines sequentially from the                      Do not deduct the value   that supports this
 previous page.                                                                                                       of collateral.            claim

2.23 Creditor’s name                                    Describe debtor’s property that is subject to a lien
      Executive Homes, LLC                              Subdivision: RETREAT BLOCKS 1-15, THE (80864)                                unknown          $608,073.00
                                                        Legal: LOT 4 BLOCK 12 Section: 28 Township: 18
     Creditor’s mailing address                         Range: 14
      2529 E. Northampton St.                           Describe the lien
      Broken Arrow, OK 74014                            Lis Pendens

     Creditor’s email address, if known                 Is the creditor an insider or related party?
                                                        ✔ No
                                                        ❑
                                                        ❑ Yes
     Date debt was incurred            7/13/2023
                                                        Is anyone else liable on this claim?
     Last 4 digits of account      2      1   9     1   ✔ No
                                                        ❑
     number                                             ❑ Yes. Fill out Schedule H: Codebtors (Official Form 206H).
     Do multiple creditors have an interest in
                                                        As of the petition filing date, the claim is:
     the same property?
                                                        Check all that apply.
     ❑ No                                               ❑ Contingent
     ✔ Yes. Have you already specified the
     ❑                                                  ✔ Unliquidated
                                                        ❑
                                                        ✔ Disputed
              relative priority?
                                                        ❑
         ✔ No. Specify each creditor, including
         ❑
                  this creditor, and its relative
                  priority.
                  1) Tulsa Fireplace Supply; 2)
                  Millcreek Lumber & Supply
                  Company; 3) Watkins Sand Co,
                  Inc.; 4) Executive Homes,
                  LLC; 5) Spiritbank
         ❑ Yes. The relative priority of creditors
                  is specified on lines




Official Form 206D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                 page      of
              Case 25-10067-T Document 1 Filed in USBC ND/OK on 01/20/25 Page 40 of 191
Debtor       Asher Homes, LLC                                                                      Case number (if known)
          Name




   Part 1:       Additional Page                                                                                    Column A                  Column B
                                                                                                                    Amount of claim           Value of collateral
 Copy this page only if more space is needed. Continue numbering the lines sequentially from the                    Do not deduct the value   that supports this
 previous page.                                                                                                     of collateral.            claim

2.24 Creditor’s name                                  Describe debtor’s property that is subject to a lien
      Executive Homes, LLC                            Subdivision: RETREAT BLOCKS 1-15, THE (80864)                                unknown          $369,000.00
                                                      Legal: LOT 12 BLOCK 7 Section: 28 Township: 18
     Creditor’s mailing address                       Range: 14
      2529 E. Northampton St.                         Describe the lien
      Broken Arrow, OK 74014                          Lis Pendens

     Creditor’s email address, if known               Is the creditor an insider or related party?
                                                      ✔ No
                                                      ❑
                                                      ❑ Yes
     Date debt was incurred
                                                      Is anyone else liable on this claim?
     Last 4 digits of account                         ✔ No
                                                      ❑
     number
                                                      ❑ Yes. Fill out Schedule H: Codebtors (Official Form 206H).
     Do multiple creditors have an interest in
                                                      As of the petition filing date, the claim is:
     the same property?
                                                      Check all that apply.
     ❑ No
     ✔ Yes. Have you already specified the            ❑ Contingent
     ❑                                                ✔ Unliquidated
              relative priority?                      ❑
                                                      ✔ Disputed
                                                      ❑
         ❑ No. Specify each creditor, including
                  this creditor, and its relative
                  priority.



         ✔ Yes. The relative priority of creditors
         ❑
                  is specified on lines 2.10




Official Form 206D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                               page      of
              Case 25-10067-T Document 1 Filed in USBC ND/OK on 01/20/25 Page 41 of 191
Debtor       Asher Homes, LLC                                                                      Case number (if known)
          Name




   Part 1:       Additional Page                                                                                    Column A                  Column B
                                                                                                                    Amount of claim           Value of collateral
 Copy this page only if more space is needed. Continue numbering the lines sequentially from the                    Do not deduct the value   that supports this
 previous page.                                                                                                     of collateral.            claim

2.25 Creditor’s name                                  Describe debtor’s property that is subject to a lien
      Executive Homes, LLC                            Subdivision: RETREAT BLOCKS 1-15, THE (80864)                                unknown          $435,720.00
                                                      Legal: LOT 20 BLOCK 7 Section: 28 Township: 18
     Creditor’s mailing address                       Range: 14
      2529 E. Northampton St.                         Describe the lien
      Broken Arrow, OK 74014                          lis pendens

     Creditor’s email address, if known               Is the creditor an insider or related party?
                                                      ✔ No
                                                      ❑
                                                      ❑ Yes
     Date debt was incurred          7/13/2023
                                                      Is anyone else liable on this claim?
     Last 4 digits of account                         ✔ No
                                                      ❑
     number                                           ❑ Yes. Fill out Schedule H: Codebtors (Official Form 206H).
     Do multiple creditors have an interest in
                                                      As of the petition filing date, the claim is:
     the same property?
                                                      Check all that apply.
     ❑ No                                             ❑ Contingent
     ✔ Yes. Have you already specified the
     ❑                                                ✔ Unliquidated
                                                      ❑
                                                      ✔ Disputed
              relative priority?
                                                      ❑
         ❑ No. Specify each creditor, including
                  this creditor, and its relative
                  priority.



         ✔ Yes. The relative priority of creditors
         ❑
                  is specified on lines 2.5




Official Form 206D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                               page      of
              Case 25-10067-T Document 1 Filed in USBC ND/OK on 01/20/25 Page 42 of 191
Debtor       Asher Homes, LLC                                                                      Case number (if known)
          Name




   Part 1:       Additional Page                                                                                    Column A                  Column B
                                                                                                                    Amount of claim           Value of collateral
 Copy this page only if more space is needed. Continue numbering the lines sequentially from the                    Do not deduct the value   that supports this
 previous page.                                                                                                     of collateral.            claim

2.26 Creditor’s name                                  Describe debtor’s property that is subject to a lien
      Executive Homes, LLC                            Subdivision: RETREAT BLOCKS 1-15, THE (80864)                                unknown          $488,809.00
                                                      Legal: LOT 9 BLOCK 12 Section: 28 Township: 18
     Creditor’s mailing address                       Range: 14
      2529 E. Northampton St.                         Describe the lien
      Broken Arrow, OK 74014                          lis pendens

     Creditor’s email address, if known               Is the creditor an insider or related party?
                                                      ✔ No
                                                      ❑
                                                      ❑ Yes
     Date debt was incurred          7/13/2023
                                                      Is anyone else liable on this claim?
     Last 4 digits of account                         ✔ No
                                                      ❑
     number                                           ❑ Yes. Fill out Schedule H: Codebtors (Official Form 206H).
     Do multiple creditors have an interest in
                                                      As of the petition filing date, the claim is:
     the same property?
                                                      Check all that apply.
     ❑ No                                             ❑ Contingent
     ✔ Yes. Have you already specified the
     ❑                                                ✔ Unliquidated
                                                      ❑
                                                      ✔ Disputed
              relative priority?
                                                      ❑
         ✔ No. Specify each creditor, including
         ❑
                  this creditor, and its relative
                  priority.
                  1) Fransisco Torres; 2)
                  Millcreek Lumber & Supply
                  Company; 3) Executive
                  Homes, LLC; 4) Spiritbank
         ❑ Yes. The relative priority of creditors
                  is specified on lines




Official Form 206D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                               page      of
              Case 25-10067-T Document 1 Filed in USBC ND/OK on 01/20/25 Page 43 of 191
Debtor       Asher Homes, LLC                                                                      Case number (if known)
          Name




   Part 1:       Additional Page                                                                                    Column A                  Column B
                                                                                                                    Amount of claim           Value of collateral
 Copy this page only if more space is needed. Continue numbering the lines sequentially from the                    Do not deduct the value   that supports this
 previous page.                                                                                                     of collateral.            claim

2.27 Creditor’s name                                  Describe debtor’s property that is subject to a lien
      Executive Homes, LLC                            Subdivision: RETREAT BLOCKS 1-15, THE (80864)                                unknown          $566,821.00
                                                      Legal: LOT 8 BLOCK 12 Section: 28 Township: 18
     Creditor’s mailing address                       Range: 14
      2529 E. Northampton St.                         Describe the lien
      Broken Arrow, OK 74014                          lis pendens

     Creditor’s email address, if known               Is the creditor an insider or related party?
                                                      ✔ No
                                                      ❑
                                                      ❑ Yes
     Date debt was incurred          7/13/2023
                                                      Is anyone else liable on this claim?
     Last 4 digits of account                         ✔ No
                                                      ❑
     number                                           ❑ Yes. Fill out Schedule H: Codebtors (Official Form 206H).
     Do multiple creditors have an interest in
                                                      As of the petition filing date, the claim is:
     the same property?
                                                      Check all that apply.
     ❑ No                                             ❑ Contingent
     ✔ Yes. Have you already specified the
     ❑                                                ✔ Unliquidated
                                                      ❑
                                                      ✔ Disputed
              relative priority?
                                                      ❑
         ❑ No. Specify each creditor, including
                  this creditor, and its relative
                  priority.



         ✔ Yes. The relative priority of creditors
         ❑
                  is specified on lines 2.6




Official Form 206D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                               page      of
              Case 25-10067-T Document 1 Filed in USBC ND/OK on 01/20/25 Page 44 of 191
Debtor       Asher Homes, LLC                                                                      Case number (if known)
          Name




   Part 1:       Additional Page                                                                                    Column A                  Column B
                                                                                                                    Amount of claim           Value of collateral
 Copy this page only if more space is needed. Continue numbering the lines sequentially from the                    Do not deduct the value   that supports this
 previous page.                                                                                                     of collateral.            claim

2.28 Creditor’s name                                  Describe debtor’s property that is subject to a lien
      Executive Homes, LLC                            Subdivision: RETREAT BLOCKS 1-15, THE (80864)                                unknown          $440,000.00
                                                      Legal: LOT 19 BLOCK 7 Section: 28 Township: 18
     Creditor’s mailing address                       Range: 14
      2529 E. Northampton St.                         Describe the lien
      Broken Arrow, OK 74014                          lis pendens

     Creditor’s email address, if known               Is the creditor an insider or related party?
                                                      ✔ No
                                                      ❑
                                                      ❑ Yes
     Date debt was incurred          7/13/2023
                                                      Is anyone else liable on this claim?
     Last 4 digits of account                         ✔ No
                                                      ❑
     number                                           ❑ Yes. Fill out Schedule H: Codebtors (Official Form 206H).
     Do multiple creditors have an interest in
                                                      As of the petition filing date, the claim is:
     the same property?
                                                      Check all that apply.
     ❑ No                                             ❑ Contingent
     ✔ Yes. Have you already specified the
     ❑                                                ✔ Unliquidated
                                                      ❑
                                                      ✔ Disputed
              relative priority?
                                                      ❑
         ✔ No. Specify each creditor, including
         ❑
                  this creditor, and its relative
                  priority.
                  1) Millcreek Lumber & Supply
                  Company; 2) Executive
                  Homes, LLC; 3) Spiritbank
         ❑ Yes. The relative priority of creditors
                  is specified on lines




Official Form 206D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                               page      of
              Case 25-10067-T Document 1 Filed in USBC ND/OK on 01/20/25 Page 45 of 191
Debtor       Asher Homes, LLC                                                                      Case number (if known)
          Name




   Part 1:       Additional Page                                                                                    Column A                  Column B
                                                                                                                    Amount of claim           Value of collateral
 Copy this page only if more space is needed. Continue numbering the lines sequentially from the                    Do not deduct the value   that supports this
 previous page.                                                                                                     of collateral.            claim

2.29 Creditor’s name                                  Describe debtor’s property that is subject to a lien
      Executive Homes, LLC                            Subdivision: RETREAT BLOCKS 1-15, THE (80864)                                unknown          $548,606.00
                                                      Legal: LOT 6 BLOCK 11 Section: 28 Township: 18
     Creditor’s mailing address                       Range: 14
      2529 E. Northampton St.                         Describe the lien
      Broken Arrow, OK 74014                          lis pendens

     Creditor’s email address, if known               Is the creditor an insider or related party?
                                                      ✔ No
                                                      ❑
                                                      ❑ Yes
     Date debt was incurred          7/13/2023
                                                      Is anyone else liable on this claim?
     Last 4 digits of account                         ✔ No
                                                      ❑
     number                                           ❑ Yes. Fill out Schedule H: Codebtors (Official Form 206H).
     Do multiple creditors have an interest in
                                                      As of the petition filing date, the claim is:
     the same property?
                                                      Check all that apply.
     ❑ No                                             ❑ Contingent
     ✔ Yes. Have you already specified the
     ❑                                                ✔ Unliquidated
                                                      ❑
                                                      ✔ Disputed
              relative priority?
                                                      ❑
         ✔ No. Specify each creditor, including
         ❑
                  this creditor, and its relative
                  priority.
                  1) Millcreek Lumber & Supply
                  Company; 2) Executive
                  Homes, LLC; 3) Spiritbank
         ❑ Yes. The relative priority of creditors
                  is specified on lines




Official Form 206D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                               page      of
              Case 25-10067-T Document 1 Filed in USBC ND/OK on 01/20/25 Page 46 of 191
Debtor       Asher Homes, LLC                                                                      Case number (if known)
          Name




   Part 1:       Additional Page                                                                                    Column A                  Column B
                                                                                                                    Amount of claim           Value of collateral
 Copy this page only if more space is needed. Continue numbering the lines sequentially from the                    Do not deduct the value   that supports this
 previous page.                                                                                                     of collateral.            claim

2.30 Creditor’s name                                  Describe debtor’s property that is subject to a lien
      Executive Homes, LLC                            Subdivision: RETREAT BLOCKS 1-15, THE (80864)                                unknown          $397,804.00
                                                      Legal: LOT 6 BLOCK 6 Section: 28 Township: 18
     Creditor’s mailing address                       Range: 14
      2529 E. Northampton St.                         Describe the lien
      Broken Arrow, OK 74014                          lis pendens

     Creditor’s email address, if known               Is the creditor an insider or related party?
                                                      ✔ No
                                                      ❑
                                                      ❑ Yes
     Date debt was incurred          7/13/2023
                                                      Is anyone else liable on this claim?
     Last 4 digits of account                         ✔ No
                                                      ❑
     number                                           ❑ Yes. Fill out Schedule H: Codebtors (Official Form 206H).
     Do multiple creditors have an interest in
                                                      As of the petition filing date, the claim is:
     the same property?
                                                      Check all that apply.
     ❑ No                                             ❑ Contingent
     ✔ Yes. Have you already specified the
     ❑                                                ✔ Unliquidated
                                                      ❑
                                                      ✔ Disputed
              relative priority?
                                                      ❑
         ✔ No. Specify each creditor, including
         ❑
                  this creditor, and its relative
                  priority.
                  1) Millcreek Lumber & Supply
                  Company; 2) Millcreek Lumber
                  & Supply Company; 3) Mill
                  Creek Carpet and Tile
                  Company; 4) Insulation
                  Services of Tulsa, LLC; 5)
                  Executive Homes, LLC; 6)
                  Spiritbank
         ❑ Yes. The relative priority of creditors
                  is specified on lines




Official Form 206D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                               page      of
              Case 25-10067-T Document 1 Filed in USBC ND/OK on 01/20/25 Page 47 of 191
Debtor       Asher Homes, LLC                                                                      Case number (if known)
          Name




   Part 1:       Additional Page                                                                                    Column A                  Column B
                                                                                                                    Amount of claim           Value of collateral
 Copy this page only if more space is needed. Continue numbering the lines sequentially from the                    Do not deduct the value   that supports this
 previous page.                                                                                                     of collateral.            claim

2.31 Creditor’s name                                  Describe debtor’s property that is subject to a lien
      Executive Homes, LLC                            Subdivision: RETREAT BLOCKS 1-15, THE (80864)                                unknown          $445,012.00
                                                      Legal: LOT 7 BLOCK 6 Section: 28 Township: 18
     Creditor’s mailing address                       Range: 14
      2529 E. Northampton St.                         Describe the lien
      Broken Arrow, OK 74014                          lis pendens

     Creditor’s email address, if known               Is the creditor an insider or related party?
                                                      ✔ No
                                                      ❑
                                                      ❑ Yes
     Date debt was incurred          7/13/2023
                                                      Is anyone else liable on this claim?
     Last 4 digits of account                         ✔ No
                                                      ❑
     number                                           ❑ Yes. Fill out Schedule H: Codebtors (Official Form 206H).
     Do multiple creditors have an interest in
                                                      As of the petition filing date, the claim is:
     the same property?
                                                      Check all that apply.
     ❑ No                                             ❑ Contingent
     ✔ Yes. Have you already specified the
     ❑                                                ✔ Unliquidated
                                                      ❑
                                                      ✔ Disputed
              relative priority?
                                                      ❑
         ✔ No. Specify each creditor, including
         ❑
                  this creditor, and its relative
                  priority.
                  1) Executive Homes, LLC; 2)
                  Spirit Bank
         ❑ Yes. The relative priority of creditors
                  is specified on lines




Official Form 206D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                               page      of
              Case 25-10067-T Document 1 Filed in USBC ND/OK on 01/20/25 Page 48 of 191
Debtor       Asher Homes, LLC                                                                      Case number (if known)
          Name




   Part 1:       Additional Page                                                                                    Column A                  Column B
                                                                                                                    Amount of claim           Value of collateral
 Copy this page only if more space is needed. Continue numbering the lines sequentially from the                    Do not deduct the value   that supports this
 previous page.                                                                                                     of collateral.            claim

2.32 Creditor’s name                                  Describe debtor’s property that is subject to a lien
      Executive Homes, LLC                            Subdivision: RETREAT BLOCKS 1-15, THE (80864)                                unknown          $531,549.00
                                                      Legal: LOT 8 BLOCK 6 Section: 28 Township: 18
     Creditor’s mailing address                       Range: 14
      2529 E. Northampton St.                         Describe the lien
      Broken Arrow, OK 74014                          lis pendens

     Creditor’s email address, if known               Is the creditor an insider or related party?
                                                      ✔ No
                                                      ❑
                                                      ❑ Yes
     Date debt was incurred          7/13/2023
                                                      Is anyone else liable on this claim?
     Last 4 digits of account                         ✔ No
                                                      ❑
     number                                           ❑ Yes. Fill out Schedule H: Codebtors (Official Form 206H).
     Do multiple creditors have an interest in
                                                      As of the petition filing date, the claim is:
     the same property?
                                                      Check all that apply.
     ❑ No                                             ❑ Contingent
     ✔ Yes. Have you already specified the
     ❑                                                ✔ Unliquidated
                                                      ❑
                                                      ✔ Disputed
              relative priority?
                                                      ❑
         ✔ No. Specify each creditor, including
         ❑
                  this creditor, and its relative
                  priority.
                  1) Ultimate Cabinets; 2)
                  Millcreek Lumber & Supply
                  Company; 3) Insulation
                  Services of Tulsa, LLC; 4)
                  Watkins Sand Co, Inc.; 5)
                  Executive Homes, LLC; 6)
                  Spiritbank
         ❑ Yes. The relative priority of creditors
                  is specified on lines




Official Form 206D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                               page      of
              Case 25-10067-T Document 1 Filed in USBC ND/OK on 01/20/25 Page 49 of 191
Debtor       Asher Homes, LLC                                                                      Case number (if known)
          Name




   Part 1:       Additional Page                                                                                    Column A                  Column B
                                                                                                                    Amount of claim           Value of collateral
 Copy this page only if more space is needed. Continue numbering the lines sequentially from the                    Do not deduct the value   that supports this
 previous page.                                                                                                     of collateral.            claim

2.33 Creditor’s name                                  Describe debtor’s property that is subject to a lien
      Frankenfield Capital, Inc.                      Subdivision: RETREAT BLOCKS 1-15, THE (80864)                               $3,750.95         $369,000.00
                                                      Legal: LOT 12 BLOCK 7 Section: 28 Township: 18
     Creditor’s mailing address                       Range: 14
      dba iFoam Insulation 102                        Describe the lien
      1080 E 11th Street B 203                        Mechanic's or Materialman's Lien

      Tulsa, OK 74128                                 Is the creditor an insider or related party?

     Creditor’s email address, if known
                                                      ✔ No
                                                      ❑
                                                      ❑ Yes
                                                      Is anyone else liable on this claim?
     Date debt was incurred          2/13/2024        ✔ No
                                                      ❑
     Last 4 digits of account
                                                      ❑ Yes. Fill out Schedule H: Codebtors (Official Form 206H).
     number
                                                      As of the petition filing date, the claim is:
     Do multiple creditors have an interest in        Check all that apply.
     the same property?                               ❑ Contingent
     ❑ No                                             ❑ Unliquidated
     ✔ Yes. Have you already specified the
     ❑                                                ✔ Disputed
                                                      ❑
              relative priority?
         ❑ No. Specify each creditor, including
                  this creditor, and its relative
                  priority.



         ✔ Yes. The relative priority of creditors
         ❑
                  is specified on lines 2.10




Official Form 206D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                               page      of
              Case 25-10067-T Document 1 Filed in USBC ND/OK on 01/20/25 Page 50 of 191
Debtor       Asher Homes, LLC                                                                      Case number (if known)
          Name




   Part 1:       Additional Page                                                                                    Column A                  Column B
                                                                                                                    Amount of claim           Value of collateral
 Copy this page only if more space is needed. Continue numbering the lines sequentially from the                    Do not deduct the value   that supports this
 previous page.                                                                                                     of collateral.            claim

2.34 Creditor’s name                                  Describe debtor’s property that is subject to a lien
      Frankenfield Capital, Inc. dba                  Subdivision: RETREAT BLOCKS 1-15, THE (80864)                               $5,853.05         $435,720.00
      iFoam Insulation 102                            Legal: LOT 20 BLOCK 7 Section: 28 Township: 18
                                                      Range: 14
     Creditor’s mailing address
                                                      Describe the lien
      1080 E 11th Street B 203                        Mechanic's or Materialman's Lien
      Tulsa, OK 74128
                                                      Is the creditor an insider or related party?
     Creditor’s email address, if known               ✔ No
                                                      ❑
                                                      ❑ Yes
                                                      Is anyone else liable on this claim?
     Date debt was incurred          2/13/2024
                                                      ✔ No
                                                      ❑
     Last 4 digits of account                         ❑ Yes. Fill out Schedule H: Codebtors (Official Form 206H).
     number
                                                      As of the petition filing date, the claim is:
     Do multiple creditors have an interest in        Check all that apply.
     the same property?
                                                      ❑ Contingent
     ❑ No                                             ❑ Unliquidated
     ✔ Yes. Have you already specified the
     ❑                                                ✔ Disputed
              relative priority?
                                                      ❑
         ❑ No. Specify each creditor, including
                  this creditor, and its relative
                  priority.



         ✔ Yes. The relative priority of creditors
         ❑
                  is specified on lines 2.5




Official Form 206D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                               page      of
              Case 25-10067-T Document 1 Filed in USBC ND/OK on 01/20/25 Page 51 of 191
Debtor       Asher Homes, LLC                                                                      Case number (if known)
          Name




   Part 1:       Additional Page                                                                                    Column A                  Column B
                                                                                                                    Amount of claim           Value of collateral
 Copy this page only if more space is needed. Continue numbering the lines sequentially from the                    Do not deduct the value   that supports this
 previous page.                                                                                                     of collateral.            claim

2.35 Creditor’s name                                  Describe debtor’s property that is subject to a lien
      Frankenfield Capital, Inc. dba                  Subdivision: RETREAT BLOCKS 1-15, THE (80864)                               $5,561.50         $566,821.00
      iFoam Insulation 102                            Legal: LOT 8 BLOCK 12 Section: 28 Township: 18
                                                      Range: 14
     Creditor’s mailing address
                                                      Describe the lien
      1080 E 11th Street B 203
      Tulsa, OK 74128
                                                      Is the creditor an insider or related party?
     Creditor’s email address, if known               ✔ No
                                                      ❑
                                                      ❑ Yes
                                                      Is anyone else liable on this claim?
     Date debt was incurred          2/13/2024
                                                      ✔ No
                                                      ❑
     Last 4 digits of account                         ❑ Yes. Fill out Schedule H: Codebtors (Official Form 206H).
     number
                                                      As of the petition filing date, the claim is:
     Do multiple creditors have an interest in        Check all that apply.
     the same property?
                                                      ❑ Contingent
     ❑ No                                             ❑ Unliquidated
     ✔ Yes. Have you already specified the
     ❑                                                ✔ Disputed
                                                      ❑
              relative priority?
         ❑ No. Specify each creditor, including
                  this creditor, and its relative
                  priority.



         ✔ Yes. The relative priority of creditors
         ❑
                  is specified on lines 2.6




Official Form 206D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                               page      of
              Case 25-10067-T Document 1 Filed in USBC ND/OK on 01/20/25 Page 52 of 191
Debtor       Asher Homes, LLC                                                                      Case number (if known)
          Name




   Part 1:       Additional Page                                                                                    Column A                  Column B
                                                                                                                    Amount of claim           Value of collateral
 Copy this page only if more space is needed. Continue numbering the lines sequentially from the                    Do not deduct the value   that supports this
 previous page.                                                                                                     of collateral.            claim

2.36 Creditor’s name                                  Describe debtor’s property that is subject to a lien
      Frankenfield Capital, Inc. dba                  Subdivision: RESERVE AT ADDISON CREEK (57954)                               $7,718.85         $750,000.00
      iFoam Insulation 102                            Legal: LOT 13 BLOCK 4 Section: 02 Township: 17
                                                      Range: 13
     Creditor’s mailing address
                                                      Describe the lien
      1080 E 11th Street B 203                        Mechanic's or Materialman's Lien
      Tulsa, OK 74128
                                                      Is the creditor an insider or related party?
     Creditor’s email address, if known               ✔ No
                                                      ❑
                                                      ❑ Yes
                                                      Is anyone else liable on this claim?
     Date debt was incurred          2/13/2024
                                                      ✔ No
                                                      ❑
     Last 4 digits of account                         ❑ Yes. Fill out Schedule H: Codebtors (Official Form 206H).
     number
                                                      As of the petition filing date, the claim is:
     Do multiple creditors have an interest in        Check all that apply.
     the same property?
                                                      ❑ Contingent
     ❑ No                                             ❑ Unliquidated
     ✔ Yes. Have you already specified the
     ❑                                                ✔ Disputed
              relative priority?
                                                      ❑
         ❑ No. Specify each creditor, including
                  this creditor, and its relative
                  priority.



         ✔ Yes. The relative priority of creditors
         ❑
                  is specified on lines 2.2




Official Form 206D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                               page      of
              Case 25-10067-T Document 1 Filed in USBC ND/OK on 01/20/25 Page 53 of 191
Debtor       Asher Homes, LLC                                                                      Case number (if known)
          Name




   Part 1:       Additional Page                                                                                    Column A                  Column B
                                                                                                                    Amount of claim           Value of collateral
 Copy this page only if more space is needed. Continue numbering the lines sequentially from the                    Do not deduct the value   that supports this
 previous page.                                                                                                     of collateral.            claim

2.37 Creditor’s name                                  Describe debtor’s property that is subject to a lien
      Fransisco Torres                                Subdivision: RETREAT BLOCKS 1-15, THE (80864)                               $7,223.00         $488,809.00
                                                      Legal: LOT 9 BLOCK 12 Section: 28 Township: 18
     Creditor’s mailing address                       Range: 14
      9128 S. Braden Ave. 201                         Describe the lien
      Tulsa, OK 74137

     Creditor’s email address, if known               Is the creditor an insider or related party?
                                                      ✔ No
                                                      ❑
                                                      ❑ Yes
     Date debt was incurred           8/1/2024
                                                      Is anyone else liable on this claim?
     Last 4 digits of account                         ✔ No
                                                      ❑
     number                                           ❑ Yes. Fill out Schedule H: Codebtors (Official Form 206H).
     Do multiple creditors have an interest in        As of the petition filing date, the claim is:
     the same property?                               Check all that apply.
     ❑ No                                             ❑ Contingent
     ✔ Yes. Have you already specified the
     ❑                                                ❑ Unliquidated
              relative priority?
                                                      ✔ Disputed
                                                      ❑
         ❑ No. Specify each creditor, including
                  this creditor, and its relative
                  priority.



         ✔ Yes. The relative priority of creditors
         ❑
                  is specified on lines 2.26




Official Form 206D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                               page      of
              Case 25-10067-T Document 1 Filed in USBC ND/OK on 01/20/25 Page 54 of 191
Debtor       Asher Homes, LLC                                                                      Case number (if known)
          Name




   Part 1:       Additional Page                                                                                    Column A                  Column B
                                                                                                                    Amount of claim           Value of collateral
 Copy this page only if more space is needed. Continue numbering the lines sequentially from the                    Do not deduct the value   that supports this
 previous page.                                                                                                     of collateral.            claim

2.38 Creditor’s name                                  Describe debtor’s property that is subject to a lien
      GP Stone LLC                                    Subdivision: RETREAT BLOCKS 1-15, THE (80864)                               $6,078.31         $369,000.00
                                                      Legal: LOT 12 BLOCK 7 Section: 28 Township: 18
     Creditor’s mailing address                       Range: 14
      dba Granite Planet                              Describe the lien
      2232 N. Harvard Ave                             Mechanic's or Materialman's Lien

      Tulsa, OK 74115                                 Is the creditor an insider or related party?

     Creditor’s email address, if known
                                                      ✔ No
                                                      ❑
                                                      ❑ Yes
                                                      Is anyone else liable on this claim?
     Date debt was incurred           2/5/2024        ✔ No
                                                      ❑
     Last 4 digits of account
                                                      ❑ Yes. Fill out Schedule H: Codebtors (Official Form 206H).
     number
                                                      As of the petition filing date, the claim is:
     Do multiple creditors have an interest in        Check all that apply.
     the same property?                               ❑ Contingent
     ❑ No                                             ❑ Unliquidated
     ✔ Yes. Have you already specified the
     ❑                                                ✔ Disputed
                                                      ❑
              relative priority?
         ❑ No. Specify each creditor, including
                  this creditor, and its relative
                  priority.



         ✔ Yes. The relative priority of creditors
         ❑
                  is specified on lines 2.10




Official Form 206D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                               page      of
              Case 25-10067-T Document 1 Filed in USBC ND/OK on 01/20/25 Page 55 of 191
Debtor       Asher Homes, LLC                                                                      Case number (if known)
          Name




   Part 1:       Additional Page                                                                                    Column A                  Column B
                                                                                                                    Amount of claim           Value of collateral
 Copy this page only if more space is needed. Continue numbering the lines sequentially from the                    Do not deduct the value   that supports this
 previous page.                                                                                                     of collateral.            claim

2.39 Creditor’s name                                  Describe debtor’s property that is subject to a lien
      GP Stone LLC                                    Subdivision: RETREAT BLOCKS 1-15, THE (80864)                               $8,849.82         $435,720.00
                                                      Legal: LOT 20 BLOCK 7 Section: 28 Township: 18
     Creditor’s mailing address                       Range: 14
      dba Granite Planet                              Describe the lien
      2232 N. Harvard Ave                             Mechanic's or Materialman's Lien

      Tulsa, OK 74115                                 Is the creditor an insider or related party?

     Creditor’s email address, if known
                                                      ✔ No
                                                      ❑
                                                      ❑ Yes
                                                      Is anyone else liable on this claim?
     Date debt was incurred           2/5/2024        ✔ No
                                                      ❑
     Last 4 digits of account
                                                      ❑ Yes. Fill out Schedule H: Codebtors (Official Form 206H).
     number
                                                      As of the petition filing date, the claim is:
     Do multiple creditors have an interest in        Check all that apply.
     the same property?                               ❑ Contingent
     ❑ No                                             ❑ Unliquidated
     ✔ Yes. Have you already specified the
     ❑                                                ✔ Disputed
                                                      ❑
              relative priority?
         ❑ No. Specify each creditor, including
                  this creditor, and its relative
                  priority.



         ✔ Yes. The relative priority of creditors
         ❑
                  is specified on lines 2.5




Official Form 206D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                               page      of
              Case 25-10067-T Document 1 Filed in USBC ND/OK on 01/20/25 Page 56 of 191
Debtor       Asher Homes, LLC                                                                      Case number (if known)
          Name




   Part 1:       Additional Page                                                                                    Column A                  Column B
                                                                                                                    Amount of claim           Value of collateral
 Copy this page only if more space is needed. Continue numbering the lines sequentially from the                    Do not deduct the value   that supports this
 previous page.                                                                                                     of collateral.            claim

2.40 Creditor’s name                                  Describe debtor’s property that is subject to a lien
      GP Stone LLC                                    Subdivision: RETREAT BLOCKS 1-15, THE (80864)                              $11,380.89         $566,821.00
                                                      Legal: LOT 8 BLOCK 12 Section: 28 Township: 18
     Creditor’s mailing address                       Range: 14
      dba Granite Planet                              Describe the lien
      2232 N. Harvard Ave                             Mechanic's or Materialman's Lien

      Tulsa, OK 74115                                 Is the creditor an insider or related party?

     Creditor’s email address, if known
                                                      ✔ No
                                                      ❑
                                                      ❑ Yes
                                                      Is anyone else liable on this claim?
     Date debt was incurred           2/5/2024        ✔ No
                                                      ❑
     Last 4 digits of account
                                                      ❑ Yes. Fill out Schedule H: Codebtors (Official Form 206H).
     number
                                                      As of the petition filing date, the claim is:
     Do multiple creditors have an interest in        Check all that apply.
     the same property?                               ❑ Contingent
     ❑ No                                             ❑ Unliquidated
     ✔ Yes. Have you already specified the
     ❑                                                ✔ Disputed
                                                      ❑
              relative priority?
         ❑ No. Specify each creditor, including
                  this creditor, and its relative
                  priority.



         ✔ Yes. The relative priority of creditors
         ❑
                  is specified on lines 2.6




Official Form 206D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                               page      of
              Case 25-10067-T Document 1 Filed in USBC ND/OK on 01/20/25 Page 57 of 191
Debtor       Asher Homes, LLC                                                                      Case number (if known)
          Name




   Part 1:       Additional Page                                                                                    Column A                  Column B
                                                                                                                    Amount of claim           Value of collateral
 Copy this page only if more space is needed. Continue numbering the lines sequentially from the                    Do not deduct the value   that supports this
 previous page.                                                                                                     of collateral.            claim

2.41 Creditor’s name                                  Describe debtor’s property that is subject to a lien
      Hummingbird Electric Inc                        Subdivision: RESERVE AT ADDISON CREEK (57954)                              $12,227.16         $750,000.00
                                                      Legal: LOT 13 BLOCK 4 Section: 02 Township: 17
     Creditor’s mailing address                       Range: 13
      c/o Joseph Hull PLLC                            Describe the lien
      1717 S. Cheyenne                                Mechanic's or Materialman's Lien

      Tulsa, OK 74119                                 Is the creditor an insider or related party?

     Creditor’s email address, if known
                                                      ✔ No
                                                      ❑
                                                      ❑ Yes
                                                      Is anyone else liable on this claim?
     Date debt was incurred          2/23/2024        ❑ No
                                                      ✔ Yes. Fill out Schedule H: Codebtors (Official Form 206H).
                                                      ❑
     Last 4 digits of account
     number
                                                      As of the petition filing date, the claim is:
     Do multiple creditors have an interest in        Check all that apply.
     the same property?                               ❑ Contingent
     ❑ No                                             ❑ Unliquidated
     ✔ Yes. Have you already specified the
     ❑                                                ✔ Disputed
                                                      ❑
              relative priority?
         ❑ No. Specify each creditor, including
                  this creditor, and its relative
                  priority.



         ✔ Yes. The relative priority of creditors
         ❑
                  is specified on lines 2.2




Official Form 206D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                               page      of
              Case 25-10067-T Document 1 Filed in USBC ND/OK on 01/20/25 Page 58 of 191
Debtor       Asher Homes, LLC                                                                      Case number (if known)
          Name




   Part 1:       Additional Page                                                                                    Column A                  Column B
                                                                                                                    Amount of claim           Value of collateral
 Copy this page only if more space is needed. Continue numbering the lines sequentially from the                    Do not deduct the value   that supports this
 previous page.                                                                                                     of collateral.            claim

2.42 Creditor’s name                                  Describe debtor’s property that is subject to a lien
      Insulation Services of Tulsa, LLC               Subdivision: RETREAT BLOCKS 1-15, THE (80864)                               $5,865.60         $397,804.00
                                                      Legal: LOT 6 BLOCK 6 Section: 28 Township: 18
     Creditor’s mailing address                       Range: 14
      c/o Robinett Swartz & Duren                     Describe the lien
      401 S. Boston 1600                              Mechanic's or Materialman's Lien

      Tulsa, OK 74103                                 Is the creditor an insider or related party?

     Creditor’s email address, if known
                                                      ✔ No
                                                      ❑
                                                      ❑ Yes
                                                      Is anyone else liable on this claim?
     Date debt was incurred            4/12/24        ✔ No
                                                      ❑
     Last 4 digits of account
                                                      ❑ Yes. Fill out Schedule H: Codebtors (Official Form 206H).
     number
                                                      As of the petition filing date, the claim is:
     Do multiple creditors have an interest in        Check all that apply.
     the same property?                               ❑ Contingent
     ❑ No                                             ❑ Unliquidated
     ✔ Yes. Have you already specified the
     ❑                                                ✔ Disputed
                                                      ❑
              relative priority?
         ❑ No. Specify each creditor, including
                  this creditor, and its relative
                  priority.



         ✔ Yes. The relative priority of creditors
         ❑
                  is specified on lines 2.30




Official Form 206D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                               page      of
              Case 25-10067-T Document 1 Filed in USBC ND/OK on 01/20/25 Page 59 of 191
Debtor       Asher Homes, LLC                                                                      Case number (if known)
          Name




   Part 1:       Additional Page                                                                                    Column A                  Column B
                                                                                                                    Amount of claim           Value of collateral
 Copy this page only if more space is needed. Continue numbering the lines sequentially from the                    Do not deduct the value   that supports this
 previous page.                                                                                                     of collateral.            claim

2.43 Creditor’s name                                  Describe debtor’s property that is subject to a lien
      Insulation Services of Tulsa, LLC               Subdivision: RETREAT BLOCKS 1-15, THE (80864)                               $6,357.60         $531,549.00
                                                      Legal: LOT 8 BLOCK 6 Section: 28 Township: 18
     Creditor’s mailing address                       Range: 14
      c/o Robinett Swartz & Duren                     Describe the lien
      401 S. Boston 1600                              Mechanic's or Materialman's Lien

      Tulsa, OK 74103                                 Is the creditor an insider or related party?

     Creditor’s email address, if known
                                                      ✔ No
                                                      ❑
                                                      ❑ Yes
                                                      Is anyone else liable on this claim?
     Date debt was incurred          4/12/2024        ✔ No
                                                      ❑
     Last 4 digits of account
                                                      ❑ Yes. Fill out Schedule H: Codebtors (Official Form 206H).
     number
                                                      As of the petition filing date, the claim is:
     Do multiple creditors have an interest in        Check all that apply.
     the same property?                               ❑ Contingent
     ❑ No                                             ❑ Unliquidated
     ✔ Yes. Have you already specified the
     ❑                                                ✔ Disputed
                                                      ❑
              relative priority?
         ❑ No. Specify each creditor, including
                  this creditor, and its relative
                  priority.



         ✔ Yes. The relative priority of creditors
         ❑
                  is specified on lines 2.32




Official Form 206D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                               page      of
              Case 25-10067-T Document 1 Filed in USBC ND/OK on 01/20/25 Page 60 of 191
Debtor       Asher Homes, LLC                                                                      Case number (if known)
          Name




   Part 1:       Additional Page                                                                                    Column A                   Column B
                                                                                                                    Amount of claim            Value of collateral
 Copy this page only if more space is needed. Continue numbering the lines sequentially from the                    Do not deduct the value    that supports this
 previous page.                                                                                                     of collateral.             claim

2.44 Creditor’s name                                  Describe debtor’s property that is subject to a lien
      Insulation Services of Tulsa, LLC               Subdivision: ADDISON CREEK CROSSING (86802)                                  $6,211.20         $525,554.00
                                                      Legal: LOT 16 BLOCK 3 Section: 03 Township: 17
     Creditor’s mailing address                       Range: 13
      c/o Robinett Swartz & Duren                     Describe the lien
      401 S. Boston 1600                              Mechanic's or Materialman's Lien

      Tulsa, OK 74103                                 Is the creditor an insider or related party?

     Creditor’s email address, if known
                                                      ✔ No
                                                      ❑
                                                      ❑ Yes
                                                      Is anyone else liable on this claim?
     Date debt was incurred          4/12/2024        ✔ No
                                                      ❑
     Last 4 digits of account
                                                      ❑ Yes. Fill out Schedule H: Codebtors (Official Form 206H).
     number
                                                      As of the petition filing date, the claim is:
     Do multiple creditors have an interest in        Check all that apply.
     the same property?                               ❑ Contingent
     ❑ No                                             ❑ Unliquidated
     ✔ Yes. Have you already specified the
     ❑                                                ✔ Disputed
                                                      ❑
              relative priority?
         ❑ No. Specify each creditor, including
                  this creditor, and its relative
                  priority.



         ✔ Yes. The relative priority of creditors
         ❑
                  is specified on lines 2.3




Official Form 206D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                page      of
              Case 25-10067-T Document 1 Filed in USBC ND/OK on 01/20/25 Page 61 of 191
Debtor       Asher Homes, LLC                                                                      Case number (if known)
          Name




   Part 1:       Additional Page                                                                                    Column A                  Column B
                                                                                                                    Amount of claim           Value of collateral
 Copy this page only if more space is needed. Continue numbering the lines sequentially from the                    Do not deduct the value   that supports this
 previous page.                                                                                                     of collateral.            claim

2.45 Creditor’s name                                  Describe debtor’s property that is subject to a lien
      Insulation Services of Tulsa, LLC               Subdivision: ADDISON CREEK CROSSING (86802)                                 $4,840.80         $389,000.00
                                                      Legal: LOT 13 BLOCK 3 Section: 03 Township: 17
     Creditor’s mailing address                       Range: 13
      c/o Robinett Swartz & Duren                     Describe the lien
      401 S. Boston 1600                              Mechanic's or Materialman's Lien

      Tulsa, OK 74103                                 Is the creditor an insider or related party?

     Creditor’s email address, if known
                                                      ✔ No
                                                      ❑
                                                      ❑ Yes
                                                      Is anyone else liable on this claim?
     Date debt was incurred          4/12/2024        ✔ No
                                                      ❑
     Last 4 digits of account
                                                      ❑ Yes. Fill out Schedule H: Codebtors (Official Form 206H).
     number
                                                      As of the petition filing date, the claim is:
     Do multiple creditors have an interest in        Check all that apply.
     the same property?                               ❑ Contingent
     ❑ No                                             ❑ Unliquidated
     ✔ Yes. Have you already specified the
     ❑                                                ✔ Disputed
                                                      ❑
              relative priority?
         ❑ No. Specify each creditor, including
                  this creditor, and its relative
                  priority.



         ✔ Yes. The relative priority of creditors
         ❑
                  is specified on lines 2.4




Official Form 206D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                               page      of
              Case 25-10067-T Document 1 Filed in USBC ND/OK on 01/20/25 Page 62 of 191
Debtor       Asher Homes, LLC                                                                      Case number (if known)
          Name




   Part 1:       Additional Page                                                                                    Column A                  Column B
                                                                                                                    Amount of claim           Value of collateral
 Copy this page only if more space is needed. Continue numbering the lines sequentially from the                    Do not deduct the value   that supports this
 previous page.                                                                                                     of collateral.            claim

2.46 Creditor’s name                                  Describe debtor’s property that is subject to a lien
      J Team Pools and Spas, Inc                      Subdivision: RESERVE AT ADDISON CREEK (57954)                              $29,250.00         $659,000.00
                                                      Legal: LOT 3 BLOCK 5 Section: 02 Township: 17
     Creditor’s mailing address                       Range: 13
      4009 South Sycamore Ave                         Describe the lien
      Broken Arrow, OK 74011                          Mechanic's or Materialman's Lien

     Creditor’s email address, if known               Is the creditor an insider or related party?
                                                      ✔ No
                                                      ❑
                                                      ❑ Yes
     Date debt was incurred           2/9/2024
                                                      Is anyone else liable on this claim?
     Last 4 digits of account                         ✔ No
                                                      ❑
     number                                           ❑ Yes. Fill out Schedule H: Codebtors (Official Form 206H).
     Do multiple creditors have an interest in
                                                      As of the petition filing date, the claim is:
     the same property?
                                                      Check all that apply.
     ❑ No                                             ❑ Contingent
     ✔ Yes. Have you already specified the
     ❑                                                ❑ Unliquidated
                                                      ✔ Disputed
              relative priority?
                                                      ❑
         ❑ No. Specify each creditor, including
                  this creditor, and its relative
                  priority.



         ✔ Yes. The relative priority of creditors
         ❑
                  is specified on lines 2.7




Official Form 206D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                               page      of
              Case 25-10067-T Document 1 Filed in USBC ND/OK on 01/20/25 Page 63 of 191
Debtor       Asher Homes, LLC                                                                        Case number (if known)
          Name




   Part 1:       Additional Page                                                                                      Column A                  Column B
                                                                                                                      Amount of claim           Value of collateral
 Copy this page only if more space is needed. Continue numbering the lines sequentially from the                      Do not deduct the value   that supports this
 previous page.                                                                                                       of collateral.            claim

2.47 Creditor’s name                                    Describe debtor’s property that is subject to a lien
      Mabrey Bank                                       Subdivision: KIRKPATRICK HGTS (21500) Legal: LT 19                       $242,363.32          $346,812.00
                                                        BLK 1 Section: 35 Township: 20 Range: 12
     Creditor’s mailing address
                                                        Describe the lien
      Yale Market
                                                        Mortgage
      8085 S. Yale
                                                        Is the creditor an insider or related party?
      Tulsa, OK 74136
                                                        ✔ No
                                                        ❑
     Creditor’s email address, if known                 ❑ Yes
                                                        Is anyone else liable on this claim?
                                                        ✔ No
                                                        ❑
     Date debt was incurred            7/24/2023
                                                        ❑ Yes. Fill out Schedule H: Codebtors (Official Form 206H).
     Last 4 digits of account      1      7   8     7   As of the petition filing date, the claim is:
     number
                                                        Check all that apply.
     Do multiple creditors have an interest in          ❑ Contingent
     the same property?                                 ❑ Unliquidated
     ❑ No                                               ❑ Disputed
     ✔ Yes. Have you already specified the
     ❑
              relative priority?
         ✔ No. Specify each creditor, including
         ❑
                  this creditor, and its relative
                  priority.
                  1) Ryder Brick Inc; 2) Millcreek
                  Lumber & Supply Company; 3)
                  Mill Creek Carpet and Tile
                  Company; 4) Watkins Sand Co,
                  Inc.; 5) Mabrey Bank
         ❑ Yes. The relative priority of creditors
                  is specified on lines




Official Form 206D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                 page      of
              Case 25-10067-T Document 1 Filed in USBC ND/OK on 01/20/25 Page 64 of 191
Debtor       Asher Homes, LLC                                                                        Case number (if known)
          Name




   Part 1:       Additional Page                                                                                      Column A                  Column B
                                                                                                                      Amount of claim           Value of collateral
 Copy this page only if more space is needed. Continue numbering the lines sequentially from the                      Do not deduct the value   that supports this
 previous page.                                                                                                       of collateral.            claim

2.48 Creditor’s name                                    Describe debtor’s property that is subject to a lien
      Mabrey Bank                                       Subdivision: PEORIA PARK ADDN (32525) Legal: LT                          $580,125.00          $650,000.00
                                                        23 BK 3 Section: 24 Township: 19 Range: 12
     Creditor’s mailing address
                                                        Describe the lien
      Yale Market
                                                        Mortgage
      8085 S. Yale
                                                        Is the creditor an insider or related party?
      Tulsa, OK 74136
                                                        ✔ No
                                                        ❑
     Creditor’s email address, if known                 ❑ Yes
                                                        Is anyone else liable on this claim?
                                                        ✔ No
                                                        ❑
     Date debt was incurred            7/14/2021
                                                        ❑ Yes. Fill out Schedule H: Codebtors (Official Form 206H).
     Last 4 digits of account      0    3   5       3   As of the petition filing date, the claim is:
     number
                                                        Check all that apply.
     Do multiple creditors have an interest in          ❑ Contingent
     the same property?                                 ❑ Unliquidated
     ❑ No                                               ❑ Disputed
     ✔ Yes. Have you already specified the
     ❑
              relative priority?
         ❑ No. Specify each creditor, including
                  this creditor, and its relative
                  priority.



         ✔ Yes. The relative priority of creditors
         ❑
                  is specified on lines 2.14




Official Form 206D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                 page      of
              Case 25-10067-T Document 1 Filed in USBC ND/OK on 01/20/25 Page 65 of 191
Debtor       Asher Homes, LLC                                                                      Case number (if known)
          Name




   Part 1:       Additional Page                                                                                    Column A                  Column B
                                                                                                                    Amount of claim           Value of collateral
 Copy this page only if more space is needed. Continue numbering the lines sequentially from the                    Do not deduct the value   that supports this
 previous page.                                                                                                     of collateral.            claim

2.49 Creditor’s name                                  Describe debtor’s property that is subject to a lien
      Mabrey Bank                                     Subdivision: HICKORY CREEK OF JENKS (ALL OF                                  unknown          $599,000.00
                                                      THE SW NW & RESUB LT 3 BLK 2 POLLY T 2ND
     Creditor’s mailing address                       ADDN) (60667) Legal: LOT 5 BLOCK 9 Section: 36
                                                      Township: 18 Range: 12
      8085 S. Yale
                                                      Describe the lien
      Tulsa, OK 74136-0000
                                                      lis pendens
     Creditor’s email address, if known
                                                      Is the creditor an insider or related party?
                                                      ✔ No
                                                      ❑
     Date debt was incurred            4/30/24        ❑ Yes
     Last 4 digits of account                         Is anyone else liable on this claim?
     number                                           ✔ No
                                                      ❑
     Do multiple creditors have an interest in
                                                      ❑ Yes. Fill out Schedule H: Codebtors (Official Form 206H).
     the same property?
                                                      As of the petition filing date, the claim is:
     ❑ No                                             Check all that apply.
     ✔ Yes. Have you already specified the
     ❑                                                ❑ Contingent
              relative priority?
                                                      ❑ Unliquidated
         ❑ No. Specify each creditor, including       ✔ Disputed
                                                      ❑
                  this creditor, and its relative
                  priority.



         ✔ Yes. The relative priority of creditors
         ❑
                  is specified on lines 2.15




Official Form 206D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                               page      of
              Case 25-10067-T Document 1 Filed in USBC ND/OK on 01/20/25 Page 66 of 191
Debtor       Asher Homes, LLC                                                                        Case number (if known)
          Name




   Part 1:       Additional Page                                                                                      Column A                  Column B
                                                                                                                      Amount of claim           Value of collateral
 Copy this page only if more space is needed. Continue numbering the lines sequentially from the                      Do not deduct the value   that supports this
 previous page.                                                                                                       of collateral.            claim

2.50 Creditor’s name                                    Describe debtor’s property that is subject to a lien
      Mabrey Bank                                       Subdivision: HICKORY CREEK OF JENKS (ALL OF                              $470,439.61          $599,000.00
                                                        THE SW NW & RESUB LT 3 BLK 2 POLLY T 2ND
     Creditor’s mailing address                         ADDN) (60667) Legal: LOT 5 BLOCK 9 Section: 36
                                                        Township: 18 Range: 12
      Yale Market
                                                        Describe the lien
      8085 S. Yale
                                                        Mortgage
      Tulsa, OK 74136
                                                        Is the creditor an insider or related party?
     Creditor’s email address, if known
                                                        ✔ No
                                                        ❑
                                                        ❑ Yes
     Date debt was incurred            12/1/2022        Is anyone else liable on this claim?
                                                        ✔ No
                                                        ❑
                                                        ❑ Yes. Fill out Schedule H: Codebtors (Official Form 206H).
     Last 4 digits of account      2    6   8       3
     number

     Do multiple creditors have an interest in          As of the petition filing date, the claim is:
     the same property?                                 Check all that apply.

     ❑ No                                               ❑ Contingent
     ✔ Yes. Have you already specified the
     ❑                                                  ❑ Unliquidated
              relative priority?                        ❑ Disputed
         ❑ No. Specify each creditor, including
                  this creditor, and its relative
                  priority.



         ✔ Yes. The relative priority of creditors
         ❑
                  is specified on lines 2.15




Official Form 206D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                 page      of
              Case 25-10067-T Document 1 Filed in USBC ND/OK on 01/20/25 Page 67 of 191
Debtor       Asher Homes, LLC                                                                        Case number (if known)
          Name




   Part 1:       Additional Page                                                                                      Column A                  Column B
                                                                                                                      Amount of claim           Value of collateral
 Copy this page only if more space is needed. Continue numbering the lines sequentially from the                      Do not deduct the value   that supports this
 previous page.                                                                                                       of collateral.            claim

2.51 Creditor’s name                                    Describe debtor’s property that is subject to a lien
      Mabrey Bank                                       Subdivision: RESERVE AT ADDISON CREEK (57954)                            $654,169.79          $659,000.00
                                                        Legal: LOT 3 BLOCK 5 Section: 02 Township: 17
     Creditor’s mailing address                         Range: 13
      Yale Market                                       Describe the lien
      8085 S. Yale                                      Mortgage

      Tulsa, OK 74136                                   Is the creditor an insider or related party?

     Creditor’s email address, if known
                                                        ✔ No
                                                        ❑
                                                        ❑ Yes
                                                        Is anyone else liable on this claim?
     Date debt was incurred            465449.25        ✔ No
                                                        ❑
     Last 4 digits of account      2    6   1       4
                                                        ❑ Yes. Fill out Schedule H: Codebtors (Official Form 206H).
     number
                                                        As of the petition filing date, the claim is:
     Do multiple creditors have an interest in          Check all that apply.
     the same property?                                 ❑ Contingent
     ❑ No                                               ❑ Unliquidated
     ✔ Yes. Have you already specified the
     ❑                                                  ❑ Disputed
              relative priority?
         ❑ No. Specify each creditor, including
                  this creditor, and its relative
                  priority.



         ✔ Yes. The relative priority of creditors
         ❑
                  is specified on lines 2.7




Official Form 206D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                 page      of
              Case 25-10067-T Document 1 Filed in USBC ND/OK on 01/20/25 Page 68 of 191
Debtor       Asher Homes, LLC                                                                        Case number (if known)
          Name




   Part 1:       Additional Page                                                                                      Column A                  Column B
                                                                                                                      Amount of claim           Value of collateral
 Copy this page only if more space is needed. Continue numbering the lines sequentially from the                      Do not deduct the value   that supports this
 previous page.                                                                                                       of collateral.            claim

2.52 Creditor’s name                                    Describe debtor’s property that is subject to a lien
      Mabrey Bank                                       LOT 14 BLOCK 4 DEER RUN AT STONE CANYON                                  $677,849.00          $800,000.00
                                                        PHASE IV Rogers County Oklahoma
     Creditor’s mailing address
                                                        Describe the lien
      Yale Market
                                                        Mortgage
      8085 S. Yale
                                                        Is the creditor an insider or related party?
      Tulsa, OK 74136
                                                        ✔ No
                                                        ❑
     Creditor’s email address, if known                 ❑ Yes
                                                        Is anyone else liable on this claim?
                                                        ✔ No
                                                        ❑
     Date debt was incurred             8/5/22
                                                        ❑ Yes. Fill out Schedule H: Codebtors (Official Form 206H).
     Last 4 digits of account      0    2   3       1   As of the petition filing date, the claim is:
     number
                                                        Check all that apply.
     Do multiple creditors have an interest in          ❑ Contingent
     the same property?                                 ❑ Unliquidated
     ❑ No                                               ❑ Disputed
     ✔ Yes. Have you already specified the
     ❑
              relative priority?
         ❑ No. Specify each creditor, including
                  this creditor, and its relative
                  priority.



         ✔ Yes. The relative priority of creditors
         ❑
                  is specified on lines 2.17




Official Form 206D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                 page      of
              Case 25-10067-T Document 1 Filed in USBC ND/OK on 01/20/25 Page 69 of 191
Debtor       Asher Homes, LLC                                                                        Case number (if known)
          Name




   Part 1:       Additional Page                                                                                      Column A                  Column B
                                                                                                                      Amount of claim           Value of collateral
 Copy this page only if more space is needed. Continue numbering the lines sequentially from the                      Do not deduct the value   that supports this
 previous page.                                                                                                       of collateral.            claim

2.53 Creditor’s name                                    Describe debtor’s property that is subject to a lien
      Mabrey Bank                                       Subdivision: DELAWARE PARK (70518) Legal: LOT 5                          $476,056.00          $659,000.00
                                                        BLOCK 2 Section: 33 Township: 18 Range: 13
     Creditor’s mailing address
                                                        Describe the lien
      Yale Market
                                                        Mortgage
      8085 S. Yale
                                                        Is the creditor an insider or related party?
      Tulsa, OK 74136
                                                        ✔ No
                                                        ❑
     Creditor’s email address, if known                 ❑ Yes
                                                        Is anyone else liable on this claim?
                                                        ✔ No
                                                        ❑
     Date debt was incurred            2/15/2022
                                                        ❑ Yes. Fill out Schedule H: Codebtors (Official Form 206H).
     Last 4 digits of account      1    0   0       9   As of the petition filing date, the claim is:
     number
                                                        Check all that apply.
     Do multiple creditors have an interest in          ❑ Contingent
     the same property?                                 ❑ Unliquidated
     ❑ No                                               ❑ Disputed
     ✔ Yes. Have you already specified the
     ❑
              relative priority?
         ❑ No. Specify each creditor, including
                  this creditor, and its relative
                  priority.



         ✔ Yes. The relative priority of creditors
         ❑
                  is specified on lines 2.18




Official Form 206D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                 page      of
              Case 25-10067-T Document 1 Filed in USBC ND/OK on 01/20/25 Page 70 of 191
Debtor       Asher Homes, LLC                                                                        Case number (if known)
          Name




   Part 1:       Additional Page                                                                                      Column A                  Column B
                                                                                                                      Amount of claim           Value of collateral
 Copy this page only if more space is needed. Continue numbering the lines sequentially from the                      Do not deduct the value   that supports this
 previous page.                                                                                                       of collateral.            claim

2.54 Creditor’s name                                    Describe debtor’s property that is subject to a lien
      Mabrey Bank                                       Subdivision: RESERVE AT ADDISON CREEK (57954)                            $467,500.00          $575,000.00
                                                        Legal: LOT 1 BLOCK 1 Section: 02 Township: 17
     Creditor’s mailing address                         Range: 13
      Yale Market                                       Describe the lien
      8085 S. Yale                                      Mortgage

      Tulsa, OK 74136                                   Is the creditor an insider or related party?

     Creditor’s email address, if known
                                                        ✔ No
                                                        ❑
                                                        ❑ Yes
                                                        Is anyone else liable on this claim?
     Date debt was incurred            2/1/2022         ✔ No
                                                        ❑
     Last 4 digits of account      0    9   8       9
                                                        ❑ Yes. Fill out Schedule H: Codebtors (Official Form 206H).
     number
                                                        As of the petition filing date, the claim is:
     Do multiple creditors have an interest in          Check all that apply.
     the same property?                                 ❑ Contingent
     ❑ No                                               ❑ Unliquidated
     ✔ Yes. Have you already specified the
     ❑                                                  ❑ Disputed
              relative priority?
         ❑ No. Specify each creditor, including
                  this creditor, and its relative
                  priority.



         ✔ Yes. The relative priority of creditors
         ❑
                  is specified on lines 2.19




Official Form 206D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                 page      of
              Case 25-10067-T Document 1 Filed in USBC ND/OK on 01/20/25 Page 71 of 191
Debtor       Asher Homes, LLC                                                                        Case number (if known)
          Name




   Part 1:       Additional Page                                                                                      Column A                  Column B
                                                                                                                      Amount of claim           Value of collateral
 Copy this page only if more space is needed. Continue numbering the lines sequentially from the                      Do not deduct the value   that supports this
 previous page.                                                                                                       of collateral.            claim

2.55 Creditor’s name                                    Describe debtor’s property that is subject to a lien
      Mabrey Bank                                       Subdivision: RESERVE AT ADDISON CREEK (57954)                            $511,288.88          $715,000.00
                                                        Legal: LOT 18 BLOCK 4 Section: 02 Township: 17
     Creditor’s mailing address                         Range: 13
      Yale Market                                       Describe the lien
      8085 S. Yale                                      Mortgage

      Tulsa, OK 74136                                   Is the creditor an insider or related party?

     Creditor’s email address, if known
                                                        ✔ No
                                                        ❑
                                                        ❑ Yes
                                                        Is anyone else liable on this claim?
     Date debt was incurred            7/1/2021         ✔ No
                                                        ❑
     Last 4 digits of account      1    9   4       2
                                                        ❑ Yes. Fill out Schedule H: Codebtors (Official Form 206H).
     number
                                                        As of the petition filing date, the claim is:
     Do multiple creditors have an interest in          Check all that apply.
     the same property?                                 ❑ Contingent
     ❑ No                                               ❑ Unliquidated
     ✔ Yes. Have you already specified the
     ❑                                                  ❑ Disputed
              relative priority?
         ❑ No. Specify each creditor, including
                  this creditor, and its relative
                  priority.



         ✔ Yes. The relative priority of creditors
         ❑
                  is specified on lines 2.20




Official Form 206D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                 page      of
              Case 25-10067-T Document 1 Filed in USBC ND/OK on 01/20/25 Page 72 of 191
Debtor       Asher Homes, LLC                                                                     Case number (if known)
          Name




   Part 1:       Additional Page                                                                                   Column A                  Column B
                                                                                                                   Amount of claim           Value of collateral
 Copy this page only if more space is needed. Continue numbering the lines sequentially from the                   Do not deduct the value   that supports this
 previous page.                                                                                                    of collateral.            claim

2.56 Creditor’s name                                 Describe debtor’s property that is subject to a lien
      Mill Creek Carpet and Tile                     Subdivision: RETREAT BLOCKS 1-15, THE (80864)                               $7,748.60         $397,804.00
      Company                                        Legal: LOT 6 BLOCK 6 Section: 28 Township: 18
                                                     Range: 14
     Creditor’s mailing address
                                                     Describe the lien
      c/o Robinett Swartz & Duren
      401 S. Boston 1600
                                                     Is the creditor an insider or related party?
      Tulsa, OK 74103                                ✔ No
                                                     ❑
     Creditor’s email address, if known
                                                     ❑ Yes
                                                     Is anyone else liable on this claim?
                                                     ✔ No
                                                     ❑
     Date debt was incurred         4/22/2024        ❑ Yes. Fill out Schedule H: Codebtors (Official Form 206H).
     Last 4 digits of account                        As of the petition filing date, the claim is:
     number                                          Check all that apply.

     Do multiple creditors have an interest in       ❑ Contingent
     the same property?                              ❑ Unliquidated
     ❑ No                                            ✔ Disputed
                                                     ❑
     ✔ Yes. Have you already specified the
     ❑
              relative priority?
         ❑ No. Specify each creditor, including
               this creditor, and its relative
               priority.



         ✔ Yes. The relative priority of creditors
         ❑
                  is specified on lines 2.30




Official Form 206D                    Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                page      of
              Case 25-10067-T Document 1 Filed in USBC ND/OK on 01/20/25 Page 73 of 191
Debtor       Asher Homes, LLC                                                                     Case number (if known)
          Name




   Part 1:       Additional Page                                                                                   Column A                  Column B
                                                                                                                   Amount of claim           Value of collateral
 Copy this page only if more space is needed. Continue numbering the lines sequentially from the                   Do not deduct the value   that supports this
 previous page.                                                                                                    of collateral.            claim

2.57 Creditor’s name                                 Describe debtor’s property that is subject to a lien
      Mill Creek Carpet and Tile                     Subdivision: KIRKPATRICK HGTS (21500) Legal: LT 19                          $5,932.40         $346,812.00
      Company                                        BLK 1 Section: 35 Township: 20 Range: 12

                                                     Describe the lien
     Creditor’s mailing address
                                                     Mechanic's or Materialman's Lien
      c/o Robinett Swartz & Duren
      401 S. Boston 1600                             Is the creditor an insider or related party?
                                                     ✔ No
                                                     ❑
      Tulsa, OK 74103
                                                     ❑ Yes
     Creditor’s email address, if known              Is anyone else liable on this claim?
                                                     ✔ No
                                                     ❑
     Date debt was incurred
                                                     ❑ Yes. Fill out Schedule H: Codebtors (Official Form 206H).
                                    4/22/2024
                                                     As of the petition filing date, the claim is:
     Last 4 digits of account                        Check all that apply.
     number
                                                     ❑ Contingent
     Do multiple creditors have an interest in       ❑ Unliquidated
     the same property?                              ✔ Disputed
                                                     ❑
     ❑ No
     ✔ Yes. Have you already specified the
     ❑
              relative priority?
         ❑ No. Specify each creditor, including
               this creditor, and its relative
               priority.



         ✔ Yes. The relative priority of creditors
         ❑
                  is specified on lines 2.47




Official Form 206D                    Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                page      of
              Case 25-10067-T Document 1 Filed in USBC ND/OK on 01/20/25 Page 74 of 191
Debtor       Asher Homes, LLC                                                                     Case number (if known)
          Name




   Part 1:       Additional Page                                                                                   Column A                  Column B
                                                                                                                   Amount of claim           Value of collateral
 Copy this page only if more space is needed. Continue numbering the lines sequentially from the                   Do not deduct the value   that supports this
 previous page.                                                                                                    of collateral.            claim

2.58 Creditor’s name                                 Describe debtor’s property that is subject to a lien
      Mill Creek Carpet and Tile                     Subdivision: RESERVE AT ADDISON CREEK (57954)                               $5,976.99         $750,000.00
      Company                                        Legal: LOT 13 BLOCK 4 Section: 02 Township: 17
                                                     Range: 13
     Creditor’s mailing address
                                                     Describe the lien
      c/o Robinett Swartz & Duren                    Mechanic's or Materialman's Lien
      401 S. Boston 1600
                                                     Is the creditor an insider or related party?
      Tulsa, OK 74103                                ✔ No
                                                     ❑
     Creditor’s email address, if known              ❑ Yes
                                                     Is anyone else liable on this claim?
                                                     ✔ No
                                                     ❑
     Date debt was incurred         4/22/2024        ❑ Yes. Fill out Schedule H: Codebtors (Official Form 206H).
     Last 4 digits of account                        As of the petition filing date, the claim is:
     number                                          Check all that apply.

     Do multiple creditors have an interest in       ❑ Contingent
     the same property?                              ❑ Unliquidated
     ❑ No                                            ✔ Disputed
                                                     ❑
     ✔ Yes. Have you already specified the
     ❑
              relative priority?
         ❑ No. Specify each creditor, including
               this creditor, and its relative
               priority.



         ✔ Yes. The relative priority of creditors
         ❑
                  is specified on lines 2.2




Official Form 206D                    Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                page      of
              Case 25-10067-T Document 1 Filed in USBC ND/OK on 01/20/25 Page 75 of 191
Debtor       Asher Homes, LLC                                                                      Case number (if known)
          Name




   Part 1:       Additional Page                                                                                    Column A                  Column B
                                                                                                                    Amount of claim           Value of collateral
 Copy this page only if more space is needed. Continue numbering the lines sequentially from the                    Do not deduct the value   that supports this
 previous page.                                                                                                     of collateral.            claim

2.59 Creditor’s name                                  Describe debtor’s property that is subject to a lien
      Mill Creek Lumber Co.                           Subdivision: RETREAT BLOCKS 1-15, THE (80864)                              $29,243.99         $369,000.00
                                                      Legal: LOT 12 BLOCK 7 Section: 28 Township: 18
     Creditor’s mailing address                       Range: 14
      PO Box 4770                                     Describe the lien
      Tulsa, OK 74159-0000                            Mechanic's or Materialman's Lien

     Creditor’s email address, if known               Is the creditor an insider or related party?
                                                      ✔ No
                                                      ❑
                                                      ❑ Yes
     Date debt was incurred          4/22/2024
                                                      Is anyone else liable on this claim?
     Last 4 digits of account                         ✔ No
                                                      ❑
     number                                           ❑ Yes. Fill out Schedule H: Codebtors (Official Form 206H).
     Do multiple creditors have an interest in
                                                      As of the petition filing date, the claim is:
     the same property?
                                                      Check all that apply.
     ❑ No                                             ❑ Contingent
     ✔ Yes. Have you already specified the
     ❑                                                ❑ Unliquidated
                                                      ✔ Disputed
              relative priority?
                                                      ❑
         ❑ No. Specify each creditor, including
                  this creditor, and its relative
                  priority.



         ✔ Yes. The relative priority of creditors
         ❑
                  is specified on lines 2.10




Official Form 206D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                               page      of
              Case 25-10067-T Document 1 Filed in USBC ND/OK on 01/20/25 Page 76 of 191
Debtor       Asher Homes, LLC                                                                      Case number (if known)
          Name




   Part 1:       Additional Page                                                                                    Column A                  Column B
                                                                                                                    Amount of claim           Value of collateral
 Copy this page only if more space is needed. Continue numbering the lines sequentially from the                    Do not deduct the value   that supports this
 previous page.                                                                                                     of collateral.            claim

2.60 Creditor’s name                                  Describe debtor’s property that is subject to a lien
      Millcreek Lumber & Supply                       Subdivision: RETREAT BLOCKS 1-15, THE (80864)                              $30,548.65         $608,073.00
      Company                                         Legal: LOT 4 BLOCK 12 Section: 28 Township: 18
                                                      Range: 14
     Creditor’s mailing address
                                                      Describe the lien
      P.O. Box 4770                                   Mechanic's or Materialman's Lien
      Tulsa, OK 74159-0000
                                                      Is the creditor an insider or related party?
     Creditor’s email address, if known               ✔ No
                                                      ❑
                                                      ❑ Yes
                                                      Is anyone else liable on this claim?
     Date debt was incurred          4/22/2024
                                                      ✔ No
                                                      ❑
     Last 4 digits of account                         ❑ Yes. Fill out Schedule H: Codebtors (Official Form 206H).
     number
                                                      As of the petition filing date, the claim is:
     Do multiple creditors have an interest in        Check all that apply.
     the same property?
                                                      ❑ Contingent
     ❑ No                                             ❑ Unliquidated
     ✔ Yes. Have you already specified the
     ❑                                                ✔ Disputed
              relative priority?
                                                      ❑
         ❑ No. Specify each creditor, including
                  this creditor, and its relative
                  priority.



         ✔ Yes. The relative priority of creditors
         ❑
                  is specified on lines 2.23




Official Form 206D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                               page      of
              Case 25-10067-T Document 1 Filed in USBC ND/OK on 01/20/25 Page 77 of 191
Debtor       Asher Homes, LLC                                                                      Case number (if known)
          Name




   Part 1:       Additional Page                                                                                    Column A                  Column B
                                                                                                                    Amount of claim           Value of collateral
 Copy this page only if more space is needed. Continue numbering the lines sequentially from the                    Do not deduct the value   that supports this
 previous page.                                                                                                     of collateral.            claim

2.61 Creditor’s name                                  Describe debtor’s property that is subject to a lien
      Millcreek Lumber & Supply                       Subdivision: RETREAT BLOCKS 1-15, THE (80864)                               $1,859.09         $435,720.00
      Company                                         Legal: LOT 20 BLOCK 7 Section: 28 Township: 18
                                                      Range: 14
     Creditor’s mailing address
                                                      Describe the lien
      P.O. Box 4770                                   Mechanic's or Materialman's Lien
      Tulsa, OK 74159-0000
                                                      Is the creditor an insider or related party?
     Creditor’s email address, if known               ✔ No
                                                      ❑
                                                      ❑ Yes
                                                      Is anyone else liable on this claim?
     Date debt was incurred          4/22/2024
                                                      ✔ No
                                                      ❑
     Last 4 digits of account                         ❑ Yes. Fill out Schedule H: Codebtors (Official Form 206H).
     number
                                                      As of the petition filing date, the claim is:
     Do multiple creditors have an interest in        Check all that apply.
     the same property?
                                                      ❑ Contingent
     ❑ No                                             ❑ Unliquidated
     ✔ Yes. Have you already specified the
     ❑                                                ✔ Disputed
              relative priority?
                                                      ❑
         ❑ No. Specify each creditor, including
                  this creditor, and its relative
                  priority.



         ✔ Yes. The relative priority of creditors
         ❑
                  is specified on lines 2.5




Official Form 206D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                               page      of
              Case 25-10067-T Document 1 Filed in USBC ND/OK on 01/20/25 Page 78 of 191
Debtor       Asher Homes, LLC                                                                      Case number (if known)
          Name




   Part 1:       Additional Page                                                                                    Column A                  Column B
                                                                                                                    Amount of claim           Value of collateral
 Copy this page only if more space is needed. Continue numbering the lines sequentially from the                    Do not deduct the value   that supports this
 previous page.                                                                                                     of collateral.            claim

2.62 Creditor’s name                                  Describe debtor’s property that is subject to a lien
      Millcreek Lumber & Supply                       Subdivision: RETREAT BLOCKS 1-15, THE (80864)                              $35,184.92         $488,809.00
      Company                                         Legal: LOT 9 BLOCK 12 Section: 28 Township: 18
                                                      Range: 14
     Creditor’s mailing address
                                                      Describe the lien
      P.O. Box 4770                                   Mechanic's or Materialman's Lien
      Tulsa, OK 74159-0000
                                                      Is the creditor an insider or related party?
     Creditor’s email address, if known               ✔ No
                                                      ❑
                                                      ❑ Yes
                                                      Is anyone else liable on this claim?
     Date debt was incurred          4/22/2024
                                                      ✔ No
                                                      ❑
     Last 4 digits of account                         ❑ Yes. Fill out Schedule H: Codebtors (Official Form 206H).
     number
                                                      As of the petition filing date, the claim is:
     Do multiple creditors have an interest in        Check all that apply.
     the same property?
                                                      ❑ Contingent
     ❑ No                                             ❑ Unliquidated
     ✔ Yes. Have you already specified the
     ❑                                                ✔ Disputed
              relative priority?
                                                      ❑
         ❑ No. Specify each creditor, including
                  this creditor, and its relative
                  priority.



         ✔ Yes. The relative priority of creditors
         ❑
                  is specified on lines 2.26




Official Form 206D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                               page      of
              Case 25-10067-T Document 1 Filed in USBC ND/OK on 01/20/25 Page 79 of 191
Debtor       Asher Homes, LLC                                                                      Case number (if known)
          Name




   Part 1:       Additional Page                                                                                    Column A                  Column B
                                                                                                                    Amount of claim           Value of collateral
 Copy this page only if more space is needed. Continue numbering the lines sequentially from the                    Do not deduct the value   that supports this
 previous page.                                                                                                     of collateral.            claim

2.63 Creditor’s name                                  Describe debtor’s property that is subject to a lien
      Millcreek Lumber & Supply                       Subdivision: RETREAT BLOCKS 1-15, THE (80864)                              $40,376.62         $566,821.00
      Company                                         Legal: LOT 8 BLOCK 12 Section: 28 Township: 18
                                                      Range: 14
     Creditor’s mailing address
                                                      Describe the lien
      P.O. Box 4770                                   Mechanic's or Materialman's Lien
      Tulsa, OK 74159-0000
                                                      Is the creditor an insider or related party?
     Creditor’s email address, if known               ✔ No
                                                      ❑
                                                      ❑ Yes
                                                      Is anyone else liable on this claim?
     Date debt was incurred          4/22/2024
                                                      ✔ No
                                                      ❑
     Last 4 digits of account                         ❑ Yes. Fill out Schedule H: Codebtors (Official Form 206H).
     number
                                                      As of the petition filing date, the claim is:
     Do multiple creditors have an interest in        Check all that apply.
     the same property?
                                                      ❑ Contingent
     ❑ No                                             ❑ Unliquidated
     ✔ Yes. Have you already specified the
     ❑                                                ✔ Disputed
              relative priority?
                                                      ❑
         ❑ No. Specify each creditor, including
                  this creditor, and its relative
                  priority.



         ✔ Yes. The relative priority of creditors
         ❑
                  is specified on lines 2.6




Official Form 206D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                               page      of
              Case 25-10067-T Document 1 Filed in USBC ND/OK on 01/20/25 Page 80 of 191
Debtor       Asher Homes, LLC                                                                      Case number (if known)
          Name




   Part 1:       Additional Page                                                                                    Column A                  Column B
                                                                                                                    Amount of claim           Value of collateral
 Copy this page only if more space is needed. Continue numbering the lines sequentially from the                    Do not deduct the value   that supports this
 previous page.                                                                                                     of collateral.            claim

2.64 Creditor’s name                                  Describe debtor’s property that is subject to a lien
      Millcreek Lumber & Supply                       Subdivision: RETREAT BLOCKS 1-15, THE (80864)                              $39,698.61         $440,000.00
      Company                                         Legal: LOT 19 BLOCK 7 Section: 28 Township: 18
                                                      Range: 14
     Creditor’s mailing address
                                                      Describe the lien
      P.O. Box 4770                                   Mechanic's or Materialman's Lien
      Tulsa, OK 74159-0000
                                                      Is the creditor an insider or related party?
     Creditor’s email address, if known               ✔ No
                                                      ❑
                                                      ❑ Yes
                                                      Is anyone else liable on this claim?
     Date debt was incurred          4/22/2024
                                                      ✔ No
                                                      ❑
     Last 4 digits of account                         ❑ Yes. Fill out Schedule H: Codebtors (Official Form 206H).
     number
                                                      As of the petition filing date, the claim is:
     Do multiple creditors have an interest in        Check all that apply.
     the same property?
                                                      ❑ Contingent
     ❑ No                                             ❑ Unliquidated
     ✔ Yes. Have you already specified the
     ❑                                                ✔ Disputed
              relative priority?
                                                      ❑
         ❑ No. Specify each creditor, including
                  this creditor, and its relative
                  priority.



         ✔ Yes. The relative priority of creditors
         ❑
                  is specified on lines 2.28




Official Form 206D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                               page      of
              Case 25-10067-T Document 1 Filed in USBC ND/OK on 01/20/25 Page 81 of 191
Debtor       Asher Homes, LLC                                                                      Case number (if known)
          Name




   Part 1:       Additional Page                                                                                    Column A                  Column B
                                                                                                                    Amount of claim           Value of collateral
 Copy this page only if more space is needed. Continue numbering the lines sequentially from the                    Do not deduct the value   that supports this
 previous page.                                                                                                     of collateral.            claim

2.65 Creditor’s name                                  Describe debtor’s property that is subject to a lien
      Millcreek Lumber & Supply                       Subdivision: RETREAT BLOCKS 1-15, THE (80864)                              $39,698.61         $548,606.00
      Company                                         Legal: LOT 6 BLOCK 11 Section: 28 Township: 18
                                                      Range: 14
     Creditor’s mailing address
                                                      Describe the lien
      P.O. Box 4770                                   Mechanic's or Materialman's Lien
      Tulsa, OK 74159-0000
                                                      Is the creditor an insider or related party?
     Creditor’s email address, if known               ✔ No
                                                      ❑
                                                      ❑ Yes
                                                      Is anyone else liable on this claim?
     Date debt was incurred          4/22/2024
                                                      ✔ No
                                                      ❑
     Last 4 digits of account                         ❑ Yes. Fill out Schedule H: Codebtors (Official Form 206H).
     number
                                                      As of the petition filing date, the claim is:
     Do multiple creditors have an interest in        Check all that apply.
     the same property?
                                                      ❑ Contingent
     ❑ No                                             ❑ Unliquidated
     ✔ Yes. Have you already specified the
     ❑                                                ✔ Disputed
              relative priority?
                                                      ❑
         ❑ No. Specify each creditor, including
                  this creditor, and its relative
                  priority.



         ✔ Yes. The relative priority of creditors
         ❑
                  is specified on lines 2.29




Official Form 206D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                               page      of
              Case 25-10067-T Document 1 Filed in USBC ND/OK on 01/20/25 Page 82 of 191
Debtor       Asher Homes, LLC                                                                      Case number (if known)
          Name




   Part 1:       Additional Page                                                                                    Column A                  Column B
                                                                                                                    Amount of claim           Value of collateral
 Copy this page only if more space is needed. Continue numbering the lines sequentially from the                    Do not deduct the value   that supports this
 previous page.                                                                                                     of collateral.            claim

2.66 Creditor’s name                                  Describe debtor’s property that is subject to a lien
      Millcreek Lumber & Supply                       Subdivision: RETREAT BLOCKS 1-15, THE (80864)                              $22,683.92         $397,804.00
      Company                                         Legal: LOT 6 BLOCK 6 Section: 28 Township: 18
                                                      Range: 14
     Creditor’s mailing address
                                                      Describe the lien
      P.O. Box 4770                                   Mechanic's or Materialman's Lien
      Tulsa, OK 74159-0000
                                                      Is the creditor an insider or related party?
     Creditor’s email address, if known               ✔ No
                                                      ❑
                                                      ❑ Yes
                                                      Is anyone else liable on this claim?
     Date debt was incurred          4/22/2024
                                                      ✔ No
                                                      ❑
     Last 4 digits of account                         ❑ Yes. Fill out Schedule H: Codebtors (Official Form 206H).
     number
                                                      As of the petition filing date, the claim is:
     Do multiple creditors have an interest in        Check all that apply.
     the same property?
                                                      ❑ Contingent
     ❑ No                                             ❑ Unliquidated
     ✔ Yes. Have you already specified the
     ❑                                                ✔ Disputed
              relative priority?
                                                      ❑
         ❑ No. Specify each creditor, including
                  this creditor, and its relative
                  priority.



         ✔ Yes. The relative priority of creditors
         ❑
                  is specified on lines 2.30




Official Form 206D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                               page      of
              Case 25-10067-T Document 1 Filed in USBC ND/OK on 01/20/25 Page 83 of 191
Debtor       Asher Homes, LLC                                                                      Case number (if known)
          Name




   Part 1:       Additional Page                                                                                    Column A                  Column B
                                                                                                                    Amount of claim           Value of collateral
 Copy this page only if more space is needed. Continue numbering the lines sequentially from the                    Do not deduct the value   that supports this
 previous page.                                                                                                     of collateral.            claim

2.67 Creditor’s name                                  Describe debtor’s property that is subject to a lien
      Millcreek Lumber & Supply                       Subdivision: RETREAT BLOCKS 1-15, THE (80864)                              $32,561.79         $397,804.00
      Company                                         Legal: LOT 6 BLOCK 6 Section: 28 Township: 18
                                                      Range: 14
     Creditor’s mailing address
                                                      Describe the lien
      P.O. Box 4770                                   Mechanic's or Materialman's Lien
      Tulsa, OK 74159-0000
                                                      Is the creditor an insider or related party?
     Creditor’s email address, if known               ✔ No
                                                      ❑
                                                      ❑ Yes
                                                      Is anyone else liable on this claim?
     Date debt was incurred          4/22/2024
                                                      ✔ No
                                                      ❑
     Last 4 digits of account                         ❑ Yes. Fill out Schedule H: Codebtors (Official Form 206H).
     number
                                                      As of the petition filing date, the claim is:
     Do multiple creditors have an interest in        Check all that apply.
     the same property?
                                                      ❑ Contingent
     ❑ No                                             ❑ Unliquidated
     ✔ Yes. Have you already specified the
     ❑                                                ✔ Disputed
              relative priority?
                                                      ❑
         ❑ No. Specify each creditor, including
                  this creditor, and its relative
                  priority.



         ✔ Yes. The relative priority of creditors
         ❑
                  is specified on lines 2.30




Official Form 206D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                               page      of
              Case 25-10067-T Document 1 Filed in USBC ND/OK on 01/20/25 Page 84 of 191
Debtor       Asher Homes, LLC                                                                      Case number (if known)
          Name




   Part 1:       Additional Page                                                                                    Column A                  Column B
                                                                                                                    Amount of claim           Value of collateral
 Copy this page only if more space is needed. Continue numbering the lines sequentially from the                    Do not deduct the value   that supports this
 previous page.                                                                                                     of collateral.            claim

2.68 Creditor’s name                                  Describe debtor’s property that is subject to a lien
      Millcreek Lumber & Supply                       Subdivision: RETREAT BLOCKS 1-15, THE (80864)                              $38,250.72         $531,549.00
      Company                                         Legal: LOT 8 BLOCK 6 Section: 28 Township: 18
                                                      Range: 14
     Creditor’s mailing address
                                                      Describe the lien
      P.O. Box 4770                                   Mechanic's or Materialman's Lien
      Tulsa, OK 74159-0000
                                                      Is the creditor an insider or related party?
     Creditor’s email address, if known               ✔ No
                                                      ❑
                                                      ❑ Yes
                                                      Is anyone else liable on this claim?
     Date debt was incurred          4/22/2024
                                                      ✔ No
                                                      ❑
     Last 4 digits of account                         ❑ Yes. Fill out Schedule H: Codebtors (Official Form 206H).
     number
                                                      As of the petition filing date, the claim is:
     Do multiple creditors have an interest in        Check all that apply.
     the same property?
                                                      ❑ Contingent
     ❑ No                                             ❑ Unliquidated
     ✔ Yes. Have you already specified the
     ❑                                                ✔ Disputed
              relative priority?
                                                      ❑
         ❑ No. Specify each creditor, including
                  this creditor, and its relative
                  priority.



         ✔ Yes. The relative priority of creditors
         ❑
                  is specified on lines 2.32




Official Form 206D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                               page      of
              Case 25-10067-T Document 1 Filed in USBC ND/OK on 01/20/25 Page 85 of 191
Debtor       Asher Homes, LLC                                                                      Case number (if known)
          Name




   Part 1:       Additional Page                                                                                    Column A                  Column B
                                                                                                                    Amount of claim           Value of collateral
 Copy this page only if more space is needed. Continue numbering the lines sequentially from the                    Do not deduct the value   that supports this
 previous page.                                                                                                     of collateral.            claim

2.69 Creditor’s name                                  Describe debtor’s property that is subject to a lien
      Millcreek Lumber & Supply                       Subdivision: KIRKPATRICK HGTS (21500) Legal: LT 19                          $2,063.34         $346,812.00
      Company                                         BLK 1 Section: 35 Township: 20 Range: 12

                                                      Describe the lien
     Creditor’s mailing address
                                                      Mechanic's or Materialman's Lien
      P.O. Box 4770
      Tulsa, OK 74159-0000                            Is the creditor an insider or related party?
                                                      ✔ No
                                                      ❑
     Creditor’s email address, if known               ❑ Yes
                                                      Is anyone else liable on this claim?
     Date debt was incurred          4/22/2024        ✔ No
                                                      ❑
                                                      ❑ Yes. Fill out Schedule H: Codebtors (Official Form 206H).
     Last 4 digits of account
     number                                           As of the petition filing date, the claim is:
                                                      Check all that apply.
     Do multiple creditors have an interest in
     the same property?                               ❑ Contingent
                                                      ❑ Unliquidated
     ❑ No                                             ✔ Disputed
     ✔ Yes. Have you already specified the            ❑
     ❑
              relative priority?
         ❑ No. Specify each creditor, including
                  this creditor, and its relative
                  priority.



         ✔ Yes. The relative priority of creditors
         ❑
                  is specified on lines 2.47




Official Form 206D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                               page      of
              Case 25-10067-T Document 1 Filed in USBC ND/OK on 01/20/25 Page 86 of 191
Debtor       Asher Homes, LLC                                                                        Case number (if known)
          Name




   Part 1:       Additional Page                                                                                      Column A                  Column B
                                                                                                                      Amount of claim           Value of collateral
 Copy this page only if more space is needed. Continue numbering the lines sequentially from the                      Do not deduct the value   that supports this
 previous page.                                                                                                       of collateral.            claim

2.70 Creditor’s name                                    Describe debtor’s property that is subject to a lien
      Millcreek Lumber & Supply                         Subdivision: HICKORY CREEK OF JENKS (ALL OF                              $150,500.00          $599,000.00
      Company                                           THE SW NW & RESUB LT 3 BLK 2 POLLY T 2ND
                                                        ADDN) (60667) Legal: LOT 5 BLOCK 9 Section: 36
     Creditor’s mailing address                         Township: 18 Range: 12

      P.O. Box 4770                                     Describe the lien

      Tulsa, OK 74159-0000                              Mortgage

     Creditor’s email address, if known                 Is the creditor an insider or related party?
                                                        ✔ No
                                                        ❑
                                                        ❑ Yes
     Date debt was incurred          12/11/2023
                                                        Is anyone else liable on this claim?
     Last 4 digits of account      2    6   8       7   ✔ No
                                                        ❑
     number                                             ❑ Yes. Fill out Schedule H: Codebtors (Official Form 206H).
     Do multiple creditors have an interest in          As of the petition filing date, the claim is:
     the same property?                                 Check all that apply.
     ❑ No                                               ❑ Contingent
     ✔ Yes. Have you already specified the
     ❑                                                  ❑ Unliquidated
              relative priority?
                                                        ❑ Disputed
         ❑ No. Specify each creditor, including
                  this creditor, and its relative
                  priority.



         ✔ Yes. The relative priority of creditors
         ❑
                  is specified on lines 2.15




Official Form 206D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                 page      of
              Case 25-10067-T Document 1 Filed in USBC ND/OK on 01/20/25 Page 87 of 191
Debtor       Asher Homes, LLC                                                                        Case number (if known)
          Name




   Part 1:       Additional Page                                                                                      Column A                  Column B
                                                                                                                      Amount of claim           Value of collateral
 Copy this page only if more space is needed. Continue numbering the lines sequentially from the                      Do not deduct the value   that supports this
 previous page.                                                                                                       of collateral.            claim

2.71 Creditor’s name                                    Describe debtor’s property that is subject to a lien
      Millcreek Lumber & Supply                         Subdivision: DELAWARE PARK (70518) Legal: LOT 5                          $192,944.00          $659,000.00
      Company                                           BLOCK 2 Section: 33 Township: 18 Range: 13

                                                        Describe the lien
     Creditor’s mailing address
                                                        Mortgage
      P.O. Box 4770
      Tulsa, OK 74159-0000                              Is the creditor an insider or related party?
                                                        ✔ No
                                                        ❑
     Creditor’s email address, if known                 ❑ Yes
                                                        Is anyone else liable on this claim?
     Date debt was incurred          12/11/2023         ✔ No
                                                        ❑
                                                        ❑ Yes. Fill out Schedule H: Codebtors (Official Form 206H).
     Last 4 digits of account      2    6   8       6
     number                                             As of the petition filing date, the claim is:
                                                        Check all that apply.
     Do multiple creditors have an interest in
     the same property?                                 ❑ Contingent
                                                        ❑ Unliquidated
     ❑ No
     ✔ Yes. Have you already specified the              ❑ Disputed
     ❑
              relative priority?
         ❑ No. Specify each creditor, including
                  this creditor, and its relative
                  priority.



         ✔ Yes. The relative priority of creditors
         ❑
                  is specified on lines 2.18




Official Form 206D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                 page      of
              Case 25-10067-T Document 1 Filed in USBC ND/OK on 01/20/25 Page 88 of 191
Debtor       Asher Homes, LLC                                                                      Case number (if known)
          Name




   Part 1:       Additional Page                                                                                    Column A                  Column B
                                                                                                                    Amount of claim           Value of collateral
 Copy this page only if more space is needed. Continue numbering the lines sequentially from the                    Do not deduct the value   that supports this
 previous page.                                                                                                     of collateral.            claim

2.72 Creditor’s name                                  Describe debtor’s property that is subject to a lien
      Millcreek Lumber & Supply                       Subdivision: RESERVE AT ADDISON CREEK (57954)                              $28,686.06         $750,000.00
      Company                                         Legal: LOT 13 BLOCK 4 Section: 02 Township: 17
                                                      Range: 13
     Creditor’s mailing address
                                                      Describe the lien
      P.O. Box 4770                                   Mechanic's or Materialman's Lien
      Tulsa, OK 74159-0000
                                                      Is the creditor an insider or related party?
     Creditor’s email address, if known               ✔ No
                                                      ❑
                                                      ❑ Yes
                                                      Is anyone else liable on this claim?
     Date debt was incurred          4/22/2024
                                                      ✔ No
                                                      ❑
     Last 4 digits of account                         ❑ Yes. Fill out Schedule H: Codebtors (Official Form 206H).
     number
                                                      As of the petition filing date, the claim is:
     Do multiple creditors have an interest in        Check all that apply.
     the same property?
                                                      ❑ Contingent
     ❑ No                                             ❑ Unliquidated
     ✔ Yes. Have you already specified the
     ❑                                                ✔ Disputed
              relative priority?
                                                      ❑
         ❑ No. Specify each creditor, including
                  this creditor, and its relative
                  priority.



         ✔ Yes. The relative priority of creditors
         ❑
                  is specified on lines 2.2




Official Form 206D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                               page      of
              Case 25-10067-T Document 1 Filed in USBC ND/OK on 01/20/25 Page 89 of 191
Debtor       Asher Homes, LLC                                                                      Case number (if known)
          Name




   Part 1:       Additional Page                                                                                    Column A                  Column B
                                                                                                                    Amount of claim           Value of collateral
 Copy this page only if more space is needed. Continue numbering the lines sequentially from the                    Do not deduct the value   that supports this
 previous page.                                                                                                     of collateral.            claim

2.73 Creditor’s name                                  Describe debtor’s property that is subject to a lien
      Millcreek Lumber & Supply                       Subdivision: ADDISON CREEK CROSSING (86802)                                 $1,231.48         $525,554.00
      Company                                         Legal: LOT 16 BLOCK 3 Section: 03 Township: 17
                                                      Range: 13
     Creditor’s mailing address
                                                      Describe the lien
      P.O. Box 4770                                   Mechanic's or Materialman's Lien
      Tulsa, OK 74159-0000
                                                      Is the creditor an insider or related party?
     Creditor’s email address, if known               ✔ No
                                                      ❑
                                                      ❑ Yes
                                                      Is anyone else liable on this claim?
     Date debt was incurred          4/22/2024
                                                      ✔ No
                                                      ❑
     Last 4 digits of account                         ❑ Yes. Fill out Schedule H: Codebtors (Official Form 206H).
     number
                                                      As of the petition filing date, the claim is:
     Do multiple creditors have an interest in        Check all that apply.
     the same property?
                                                      ❑ Contingent
     ❑ No                                             ❑ Unliquidated
     ✔ Yes. Have you already specified the
     ❑                                                ✔ Disputed
              relative priority?
                                                      ❑
         ❑ No. Specify each creditor, including
                  this creditor, and its relative
                  priority.



         ✔ Yes. The relative priority of creditors
         ❑
                  is specified on lines 2.3




Official Form 206D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                               page      of
              Case 25-10067-T Document 1 Filed in USBC ND/OK on 01/20/25 Page 90 of 191
Debtor       Asher Homes, LLC                                                                      Case number (if known)
          Name




   Part 1:       Additional Page                                                                                    Column A                  Column B
                                                                                                                    Amount of claim           Value of collateral
 Copy this page only if more space is needed. Continue numbering the lines sequentially from the                    Do not deduct the value   that supports this
 previous page.                                                                                                     of collateral.            claim

2.74 Creditor’s name                                  Describe debtor’s property that is subject to a lien
      Millcreek Lumber & Supply                       Subdivision: ADDISON CREEK CROSSING (86802)                                $21,300.25         $389,000.00
      Company                                         Legal: LOT 13 BLOCK 3 Section: 03 Township: 17
                                                      Range: 13
     Creditor’s mailing address
                                                      Describe the lien
      P.O. Box 4770                                   Mechanic's or Materialman's Lien
      Tulsa, OK 74159-0000
                                                      Is the creditor an insider or related party?
     Creditor’s email address, if known               ✔ No
                                                      ❑
                                                      ❑ Yes
                                                      Is anyone else liable on this claim?
     Date debt was incurred          7/29/2024
                                                      ✔ No
                                                      ❑
     Last 4 digits of account                         ❑ Yes. Fill out Schedule H: Codebtors (Official Form 206H).
     number
                                                      As of the petition filing date, the claim is:
     Do multiple creditors have an interest in        Check all that apply.
     the same property?
                                                      ❑ Contingent
     ❑ No                                             ❑ Unliquidated
     ✔ Yes. Have you already specified the
     ❑                                                ✔ Disputed
              relative priority?
                                                      ❑
         ❑ No. Specify each creditor, including
                  this creditor, and its relative
                  priority.



         ✔ Yes. The relative priority of creditors
         ❑
                  is specified on lines 2.4




Official Form 206D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                               page      of
              Case 25-10067-T Document 1 Filed in USBC ND/OK on 01/20/25 Page 91 of 191
Debtor       Asher Homes, LLC                                                                      Case number (if known)
          Name




   Part 1:       Additional Page                                                                                    Column A                  Column B
                                                                                                                    Amount of claim           Value of collateral
 Copy this page only if more space is needed. Continue numbering the lines sequentially from the                    Do not deduct the value   that supports this
 previous page.                                                                                                     of collateral.            claim

2.75 Creditor’s name                                  Describe debtor’s property that is subject to a lien
      Renaissance, Inc.                               Subdivision: RESERVE AT ADDISON CREEK (57954)                              $13,525.72         $750,000.00
                                                      Legal: LOT 13 BLOCK 4 Section: 02 Township: 17
     Creditor’s mailing address                       Range: 13
      505 W 125th Pl S. 300                           Describe the lien
      Glenpool, OK 74033                              Mechanic's or Materialman's Lien

     Creditor’s email address, if known               Is the creditor an insider or related party?
                                                      ✔ No
                                                      ❑
                                                      ❑ Yes
     Date debt was incurred            3/19/24
                                                      Is anyone else liable on this claim?
     Last 4 digits of account                         ✔ No
                                                      ❑
     number                                           ❑ Yes. Fill out Schedule H: Codebtors (Official Form 206H).
     Do multiple creditors have an interest in
                                                      As of the petition filing date, the claim is:
     the same property?
                                                      Check all that apply.
     ❑ No                                             ❑ Contingent
     ✔ Yes. Have you already specified the
     ❑                                                ❑ Unliquidated
                                                      ✔ Disputed
              relative priority?
                                                      ❑
         ❑ No. Specify each creditor, including
                  this creditor, and its relative
                  priority.



         ✔ Yes. The relative priority of creditors
         ❑
                  is specified on lines 2.2




Official Form 206D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                               page      of
              Case 25-10067-T Document 1 Filed in USBC ND/OK on 01/20/25 Page 92 of 191
Debtor       Asher Homes, LLC                                                                      Case number (if known)
          Name




   Part 1:       Additional Page                                                                                    Column A                  Column B
                                                                                                                    Amount of claim           Value of collateral
 Copy this page only if more space is needed. Continue numbering the lines sequentially from the                    Do not deduct the value   that supports this
 previous page.                                                                                                     of collateral.            claim

2.76 Creditor’s name                                  Describe debtor’s property that is subject to a lien
      Resaissance, Inc.                               Subdivision: RETREAT BLOCKS 1-15, THE (80864)                               $9,059.70         $566,821.00
                                                      Legal: LOT 8 BLOCK 12 Section: 28 Township: 18
     Creditor’s mailing address                       Range: 14
      550 W. 125th Pl S 300                           Describe the lien
      Glenpool, OK 74033                              Mechanic's or Materialman's Lien

     Creditor’s email address, if known               Is the creditor an insider or related party?
                                                      ✔ No
                                                      ❑
                                                      ❑ Yes
     Date debt was incurred          3/19/2024
                                                      Is anyone else liable on this claim?
     Last 4 digits of account                         ✔ No
                                                      ❑
     number                                           ❑ Yes. Fill out Schedule H: Codebtors (Official Form 206H).
     Do multiple creditors have an interest in
                                                      As of the petition filing date, the claim is:
     the same property?
                                                      Check all that apply.
     ❑ No                                             ❑ Contingent
     ✔ Yes. Have you already specified the
     ❑
              relative priority?
                                                      ❑ Unliquidated
                                                      ❑ Disputed
         ❑ No. Specify each creditor, including
                  this creditor, and its relative
                  priority.



         ✔ Yes. The relative priority of creditors
         ❑
                  is specified on lines 2.6




Official Form 206D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                               page      of
               Case 25-10067-T Document 1 Filed in USBC ND/OK on 01/20/25 Page 93 of 191
Debtor       Asher Homes, LLC                                                                           Case number (if known)
             Name




   Part 1:          Additional Page                                                                                      Column A                  Column B
                                                                                                                         Amount of claim           Value of collateral
 Copy this page only if more space is needed. Continue numbering the lines sequentially from the                         Do not deduct the value   that supports this
 previous page.                                                                                                          of collateral.            claim

2.78 Creditor’s name                                       Describe debtor’s property that is subject to a lien
         Santhosh Umapathy and Lakshmi                                                                                                  unknown             unknown
         Nagarajan

         Creditor’s mailing address
         c/o Dean Foote                                    Describe the lien
         6914 S. Yorktown Ave. 102-A
         Tulsa, OK 74136                                   Is the creditor an insider or related party?

         Creditor’s email address, if known
                                                           ✔ No
                                                           ❑
                                                           ❑ Yes
                                                           Is anyone else liable on this claim?
         Date debt was incurred              2025          ❑ No
                                                           ✔ Yes. Fill out Schedule H: Codebtors (Official Form 206H).
                                                           ❑
         Last 4 digits of account     4      7   4     3
         number
                                                           As of the petition filing date, the claim is:
         Do multiple creditors have an interest in         Check all that apply.
         the same property?                                ❑ Contingent
         ✔ No
         ❑                                                 ✔ Unliquidated
                                                           ❑
         ❑ Yes. Have you already specified the             ✔ Disputed
                                                           ❑
                 relative priority?
            ❑ No. Specify each creditor, including
                  this creditor, and its relative
                  priority.



            ❑ Yes. The relative priority of creditors
                     is specified on lines

2.79 Creditor’s name                                       Describe debtor’s property that is subject to a lien
         Small Business Administration                     Accounts Receivable as of 1/15/2025, BancFirst, City                         unknown             unknown
                                                           National Bank, First Pryority Bank, Mabrey Bank, Spirit
         Creditor’s mailing address                        Bank
         409 3rd St.                                       Describe the lien
         Washington, DC 20416                              Business Debt

         Creditor’s email address, if known                Is the creditor an insider or related party?
                                                           ✔ No
                                                           ❑
                                                           ❑ Yes
         Date debt was incurred              2020
                                                           Is anyone else liable on this claim?
         Last 4 digits of account                          ✔ No
                                                           ❑
         number                                            ❑ Yes. Fill out Schedule H: Codebtors (Official Form 206H).
         Do multiple creditors have an interest in
                                                           As of the petition filing date, the claim is:
         the same property?
                                                           Check all that apply.
         ✔ No
         ❑                                                 ❑ Contingent
         ❑ Yes. Have you already specified the             ✔ Unliquidated
                                                           ❑
                 relative priority?
                                                           ❑ Disputed
            ❑ No. Specify each creditor, including
                     this creditor, and its relative
                     priority.



            ❑ Yes. The relative priority of creditors
                     is specified on lines

2.80 Creditor’s name                                       Describe debtor’s property that is subject to a lien
         Spirit Bank                                       Subdivision: RETREAT BLOCKS 1-15, THE (80864)                            $348,000.00          $445,012.00
                                                           Legal: LOT 7 BLOCK 6 Section: 28 Township: 18
     Creditor’s mailing address                        Range: 14
     1800 Case    25-10067-T Document
          S. Baltimore                  1 Filed in USBC ND/OK on 01/20/25 Page 94 of 191
                                  Describe the lien
     c/o Kenneth Wagner                                Mortgage
     Tulsa, OK 74119-0000                              Is the creditor an insider or related party?

     Creditor’s email address, if known
                                                       ✔ No
                                                       ❑
                                                       ❑ Yes
                                                       Is anyone else liable on this claim?
     Date debt was incurred           4/21/2023        ✔ No
                                                       ❑
     Last 4 digits of account     6    4   9       5   ❑ Yes. Fill out Schedule H: Codebtors (Official Form 206H).
     number
                                                       As of the petition filing date, the claim is:
     Do multiple creditors have an interest in         Check all that apply.
     the same property?                                ❑ Contingent
     ❑ No                                              ❑ Unliquidated
     ✔ Yes. Have you already specified the
     ❑                                                 ❑ Disputed
             relative priority?
        ❑ No. Specify each creditor, including
                 this creditor, and its relative
                 priority.



        ✔ Yes. The relative priority of creditors
        ❑
                 is specified on lines 2.31

2.81 Creditor’s name                                   Describe debtor’s property that is subject to a lien
     Spiritbank                                        Subdivision: RETREAT BLOCKS 1-15, THE (80864)                 $409,630.21   $608,073.00
                                                       Legal: LOT 4 BLOCK 12 Section: 28 Township: 18
     Creditor’s mailing address                        Range: 14
     1800 S Baltimore Ave 700                          Describe the lien
     Tulsa, OK 74119-5216                              Mortgage

     Creditor’s email address, if known                Is the creditor an insider or related party?
                                                       ✔ No
                                                       ❑
                                                       ❑ Yes
     Date debt was incurred           4/26/2023
                                                       Is anyone else liable on this claim?
     Last 4 digits of account     6    5   2       8   ✔ No
                                                       ❑
     number                                            ❑ Yes. Fill out Schedule H: Codebtors (Official Form 206H).
     Do multiple creditors have an interest in
                                                       As of the petition filing date, the claim is:
     the same property?
                                                       Check all that apply.
     ❑ No                                              ❑ Contingent
     ✔ Yes. Have you already specified the
     ❑
             relative priority?
                                                       ❑ Unliquidated
                                                       ❑ Disputed
        ❑ No. Specify each creditor, including
                 this creditor, and its relative
                 priority.



        ✔ Yes. The relative priority of creditors
        ❑
                 is specified on lines 2.23

2.82 Creditor’s name                                   Describe debtor’s property that is subject to a lien
     Spiritbank                                        Subdivision: RETREAT BLOCKS 1-15, THE (80864)                 $257,512.46   $369,000.00
                                                       Legal: LOT 12 BLOCK 7 Section: 28 Township: 18
     Creditor’s mailing address                        Range: 14
     1800 S Baltimore Ave 700                          Describe the lien
     Tulsa, OK 74119-5216                              Mortgage

     Creditor’s email address, if known                Is the creditor an insider or related party?
                                                       ✔ No
                                                       ❑
                                                       ❑ Yes
     Date debt was incurred           4/26/2023
                                                       Is anyone else liable on this claim?
     Last 4 digits of account     6    5   2       6   ✔ No
                                                       ❑
     number                                            ❑ Yes. Fill out Schedule H: Codebtors (Official Form 206H).
     Do multiple creditors have an interest in
                                                       As of the petition filing date, the claim is:
     the same property?
                                                       Check all that apply.
     ❑ No                                              ❑ Contingent
     ✔ Yes. Have you already specified the
     ❑                                                 ❑ Unliquidated
           Case
            relative25-10067-T
                    priority?       ❑ Disputed
                               Document   1 Filed in USBC ND/OK on 01/20/25 Page 95 of 191
        ❑ No. Specify each creditor, including
                 this creditor, and its relative
                 priority.



        ✔ Yes. The relative priority of creditors
        ❑
                 is specified on lines 2.10

2.83 Creditor’s name                                   Describe debtor’s property that is subject to a lien
     Spiritbank                                        Subdivision: RETREAT BLOCKS 1-15, THE (80864)                 $340,100.00   $435,720.00
                                                       Legal: LOT 20 BLOCK 7 Section: 28 Township: 18
     Creditor’s mailing address                        Range: 14
     1800 S Baltimore Ave 700                          Describe the lien
     Tulsa, OK 74119-5216                              Mortgage

     Creditor’s email address, if known                Is the creditor an insider or related party?
                                                       ✔ No
                                                       ❑
                                                       ❑ Yes
     Date debt was incurred           4/21/2023
                                                       Is anyone else liable on this claim?
     Last 4 digits of account     6    5   2       2   ✔ No
                                                       ❑
     number                                            ❑ Yes. Fill out Schedule H: Codebtors (Official Form 206H).
     Do multiple creditors have an interest in
                                                       As of the petition filing date, the claim is:
     the same property?
                                                       Check all that apply.
     ❑ No                                              ❑ Contingent
     ✔ Yes. Have you already specified the
     ❑
             relative priority?
                                                       ❑ Unliquidated
                                                       ❑ Disputed
        ❑ No. Specify each creditor, including
                 this creditor, and its relative
                 priority.



        ✔ Yes. The relative priority of creditors
        ❑
                 is specified on lines 2.5

2.84 Creditor’s name                                   Describe debtor’s property that is subject to a lien
     Spiritbank                                        Subdivision: RETREAT BLOCKS 1-15, THE (80864)                 $385,349.50   $488,809.00
                                                       Legal: LOT 9 BLOCK 12 Section: 28 Township: 18
     Creditor’s mailing address                        Range: 14
     1800 S Baltimore Ave 700                          Describe the lien
     Tulsa, OK 74119-5216                              Mortgage

     Creditor’s email address, if known                Is the creditor an insider or related party?
                                                       ✔ No
                                                       ❑
                                                       ❑ Yes
     Date debt was incurred           6/9/2023
                                                       Is anyone else liable on this claim?
     Last 4 digits of account     6    5   0       5   ✔ No
                                                       ❑
     number                                            ❑ Yes. Fill out Schedule H: Codebtors (Official Form 206H).
     Do multiple creditors have an interest in
                                                       As of the petition filing date, the claim is:
     the same property?
                                                       Check all that apply.
     ❑ No                                              ❑ Contingent
     ✔ Yes. Have you already specified the
     ❑
             relative priority?
                                                       ❑ Unliquidated
                                                       ❑ Disputed
        ❑ No. Specify each creditor, including
                 this creditor, and its relative
                 priority.



        ✔ Yes. The relative priority of creditors
        ❑
                 is specified on lines 2.26

2.85 Creditor’s name                                   Describe debtor’s property that is subject to a lien
     Spiritbank                                        Subdivision: RETREAT BLOCKS 1-15, THE (80864)                 $400,087.44   $566,821.00
                                                       Legal: LOT 8 BLOCK 12 Section: 28 Township: 18
     Creditor’s mailing address                        Range: 14
     1800 S Baltimore Ave 700                          Describe the lien
     Tulsa, OK 74119-5216                              Mortgage
     Creditor’s email address, if known                Is the creditor an insider or related party?
                                ✔ No 1 Filed in USBC ND/OK on 01/20/25 Page 96 of 191
           Case 25-10067-T Document
                                ❑
                                                       ❑ Yes
     Date debt was incurred           5/9/2023
                                                       Is anyone else liable on this claim?
     Last 4 digits of account     6    5   2       7   ✔ No
                                                       ❑
     number                                            ❑ Yes. Fill out Schedule H: Codebtors (Official Form 206H).
     Do multiple creditors have an interest in
                                                       As of the petition filing date, the claim is:
     the same property?
                                                       Check all that apply.
     ❑ No                                              ❑ Contingent
     ✔ Yes. Have you already specified the
     ❑
             relative priority?
                                                       ❑ Unliquidated
                                                       ❑ Disputed
        ❑ No. Specify each creditor, including
                 this creditor, and its relative
                 priority.



        ✔ Yes. The relative priority of creditors
        ❑
                 is specified on lines 2.6

2.86 Creditor’s name                                   Describe debtor’s property that is subject to a lien
     Spiritbank                                        Subdivision: RETREAT BLOCKS 1-15, THE (80864)                 $288,290.73   $440,000.00
                                                       Legal: LOT 19 BLOCK 7 Section: 28 Township: 18
     Creditor’s mailing address                        Range: 14
     1800 S Baltimore Ave 700                          Describe the lien
     Tulsa, OK 74119-5216                              Mortgage

     Creditor’s email address, if known                Is the creditor an insider or related party?
                                                       ✔ No
                                                       ❑
                                                       ❑ Yes
     Date debt was incurred           4/26/2023
                                                       Is anyone else liable on this claim?
     Last 4 digits of account     6    5   2       5   ✔ No
                                                       ❑
     number                                            ❑ Yes. Fill out Schedule H: Codebtors (Official Form 206H).
     Do multiple creditors have an interest in
                                                       As of the petition filing date, the claim is:
     the same property?
                                                       Check all that apply.
     ❑ No                                              ❑ Contingent
     ✔ Yes. Have you already specified the
     ❑
             relative priority?
                                                       ❑ Unliquidated
                                                       ❑ Disputed
        ❑ No. Specify each creditor, including
                 this creditor, and its relative
                 priority.



        ✔ Yes. The relative priority of creditors
        ❑
                 is specified on lines 2.28

2.87 Creditor’s name                                   Describe debtor’s property that is subject to a lien
     Spiritbank                                        Subdivision: RETREAT BLOCKS 1-15, THE (80864)                 $440,000.00   $548,606.00
                                                       Legal: LOT 6 BLOCK 11 Section: 28 Township: 18
     Creditor’s mailing address                        Range: 14
     1800 S Baltimore Ave 700                          Describe the lien
     Tulsa, OK 74119-5216                              Mortgage

     Creditor’s email address, if known                Is the creditor an insider or related party?
                                                       ✔ No
                                                       ❑
                                                       ❑ Yes
     Date debt was incurred           4/21/2023
                                                       Is anyone else liable on this claim?
     Last 4 digits of account     6    5   2       1   ✔ No
                                                       ❑
     number                                            ❑ Yes. Fill out Schedule H: Codebtors (Official Form 206H).
     Do multiple creditors have an interest in
                                                       As of the petition filing date, the claim is:
     the same property?
                                                       Check all that apply.
     ❑ No                                              ❑ Contingent
     ✔ Yes. Have you already specified the
     ❑
             relative priority?
                                                       ❑ Unliquidated
                                                       ❑ Disputed
        ❑ No. Specify each creditor, including
                 this creditor, and its relative
                 priority.
        ✔ Yes. The relative priority of creditors
        ❑
           Case   25-10067-T
              is specified on lines 2.29Document 1 Filed in USBC ND/OK on 01/20/25 Page 97 of 191

2.88 Creditor’s name                                   Describe debtor’s property that is subject to a lien
     Spiritbank                                        Subdivision: RETREAT BLOCKS 1-15, THE (80864)                 $354,158.79   $397,804.00
                                                       Legal: LOT 6 BLOCK 6 Section: 28 Township: 18
     Creditor’s mailing address                        Range: 14
     1800 S Baltimore Ave 700                          Describe the lien
     Tulsa, OK 74119-5216                              Mortgage

     Creditor’s email address, if known                Is the creditor an insider or related party?
                                                       ✔ No
                                                       ❑
                                                       ❑ Yes
     Date debt was incurred           3/18/2023
                                                       Is anyone else liable on this claim?
     Last 4 digits of account     6    5   2       3   ✔ No
                                                       ❑
     number                                            ❑ Yes. Fill out Schedule H: Codebtors (Official Form 206H).
     Do multiple creditors have an interest in
                                                       As of the petition filing date, the claim is:
     the same property?
                                                       Check all that apply.
     ❑ No                                              ❑ Contingent
     ✔ Yes. Have you already specified the
     ❑
             relative priority?
                                                       ❑ Unliquidated
                                                       ❑ Disputed
        ❑ No. Specify each creditor, including
                 this creditor, and its relative
                 priority.



        ✔ Yes. The relative priority of creditors
        ❑
                 is specified on lines 2.30

2.89 Creditor’s name                                   Describe debtor’s property that is subject to a lien
     Spiritbank                                        Subdivision: RETREAT BLOCKS 1-15, THE (80864)                 $363,117.13   $531,549.00
                                                       Legal: LOT 8 BLOCK 6 Section: 28 Township: 18
     Creditor’s mailing address                        Range: 14
     1800 S Baltimore Ave 700                          Describe the lien
     Tulsa, OK 74119-5216                              Mortgage

     Creditor’s email address, if known                Is the creditor an insider or related party?
                                                       ✔ No
                                                       ❑
                                                       ❑ Yes
     Date debt was incurred           5/18/2023
                                                       Is anyone else liable on this claim?
     Last 4 digits of account     6    5   2       4   ✔ No
                                                       ❑
     number                                            ❑ Yes. Fill out Schedule H: Codebtors (Official Form 206H).
     Do multiple creditors have an interest in
                                                       As of the petition filing date, the claim is:
     the same property?
                                                       Check all that apply.
     ❑ No                                              ❑ Contingent
     ✔ Yes. Have you already specified the
     ❑
             relative priority?
                                                       ❑ Unliquidated
                                                       ❑ Disputed
        ❑ No. Specify each creditor, including
                 this creditor, and its relative
                 priority.



        ✔ Yes. The relative priority of creditors
        ❑
                 is specified on lines 2.32

2.90 Creditor’s name                                   Describe debtor’s property that is subject to a lien
     Spiritbank                                        Subdivision: VILLAGE @ 1ELEVEN (81833) Legal:                 $333,711.16   $429,000.00
                                                       LOT 7 BLOCK 3 Section: 28 Township: 18 Range: 14
     Creditor’s mailing address
                                                       Describe the lien
     1800 S Baltimore Ave 700
                                                       Mortgage
     Tulsa, OK 74119-5216
                                                       Is the creditor an insider or related party?
     Creditor’s email address, if known                ✔ No
                                                       ❑
                                                       ❑ Yes
     Date debt was incurred           5/9/2023         Is anyone else liable on this claim?
                                                       ✔ No
                                                       ❑
     Last 4 digits of account     6    4   8       8   ❑ Yes. Fill out Schedule H: Codebtors (Official Form 206H).
     number
     Do multiple creditors have an interest in As of the petition filing date, the claim is:
           Case
     the same       25-10067-T Document
              property?                        Check all1that Filed
                                                              apply. in USBC ND/OK on 01/20/25                        Page 98 of 191
     ❑ No                                              ❑ Contingent
     ✔ Yes. Have you already specified the
     ❑                                                 ❑ Unliquidated
             relative priority?                        ❑ Disputed
        ❑ No. Specify each creditor, including
                 this creditor, and its relative
                 priority.



        ✔ Yes. The relative priority of creditors
        ❑
                 is specified on lines 2.1

2.91 Creditor’s name                                   Describe debtor’s property that is subject to a lien
     Spiritbank                                        Subdivision: VILLAGE @ 1ELEVEN (81833) Legal:                 $284,750.00   $359,000.00
                                                       LOT 2 BLOCK 6 Section: 28 Township: 18 Range: 14
     Creditor’s mailing address
                                                       Describe the lien
     1800 S Baltimore Ave 700
                                                       Mortgage
     Tulsa, OK 74119-5216
                                                       Is the creditor an insider or related party?
     Creditor’s email address, if known                ✔ No
                                                       ❑
                                                       ❑ Yes
     Date debt was incurred           1/6/2023         Is anyone else liable on this claim?
                                                       ✔ No
                                                       ❑
     Last 4 digits of account     6      3   0     4   ❑ Yes. Fill out Schedule H: Codebtors (Official Form 206H).
     number
                                                       As of the petition filing date, the claim is:
     Do multiple creditors have an interest in
                                                       Check all that apply.
     the same property?
     ✔ No                                              ❑ Contingent
     ❑
                                                       ❑ Unliquidated
     ❑ Yes. Have you already specified the
             relative priority?                        ❑ Disputed
        ❑ No. Specify each creditor, including
                 this creditor, and its relative
                 priority.



        ❑ Yes. The relative priority of creditors
                 is specified on lines

2.92 Creditor’s name                                   Describe debtor’s property that is subject to a lien
     Spiritbank                                                                                                       $71,641.77       unknown

     Creditor’s mailing address
     1800 S Baltimore Ave 700
     Tulsa, OK 74119-5216                              Describe the lien
                                                       Non-Purchase Money Security Interest
     Creditor’s email address, if known
                                                       Is the creditor an insider or related party?
                                                       ✔ No
                                                       ❑
                                                       ❑ Yes
     Date debt was incurred           2/1/2023

     Last 4 digits of account     6      3   7     2   Is anyone else liable on this claim?
     number                                            ✔ No
                                                       ❑
     Do multiple creditors have an interest in         ❑ Yes. Fill out Schedule H: Codebtors (Official Form 206H).
     the same property?
     ✔ No
     ❑
                                                       As of the petition filing date, the claim is:
                                                       Check all that apply.
     ❑ Yes. Have you already specified the
             relative priority?                        ❑ Contingent
                                                       ❑ Unliquidated
        ❑ No. Specify each creditor, including
                 this creditor, and its relative       ❑ Disputed
                 priority.



        ❑ Yes. The relative priority of creditors
                 is specified on lines

2.93 Creditor’s name                                   Describe debtor’s property that is subject to a lien
     Stone Canyon Community                            LOT 14 BLOCK 4 DEER RUN AT STONE CANYON                         $1,275.00   $800,000.00
     Association, Inc                                  PHASE IV Rogers County Oklahoma

                                                       Describe the lien
     Creditor’s mailing address                     Homeowner's Association Lien
         Case
     PO Box 111025-10067-T                   Document 1 Filed in USBC ND/OK on 01/20/25 Page 99 of 191
                                                    Is the creditor an insider or related party?
     Owasso, OK 74055                               ✔ No
                                                    ❑
     Creditor’s email address, if known
                                                    ❑ Yes
                                                    Is anyone else liable on this claim?
                                                    ✔ No
                                                    ❑
     Date debt was incurred         11/3/2024       ❑ Yes. Fill out Schedule H: Codebtors (Official Form 206H).
     Last 4 digits of account                       As of the petition filing date, the claim is:
     number                                         Check all that apply.

     Do multiple creditors have an interest in      ❑ Contingent
     the same property?                             ❑ Unliquidated
     ❑ No                                           ❑ Disputed
     ✔ Yes. Have you already specified the
     ❑
             relative priority?
        ❑ No. Specify each creditor, including
                 this creditor, and its relative
                 priority.



        ✔ Yes. The relative priority of creditors
        ❑
                 is specified on lines 2.17

2.94 Creditor’s name                                Describe debtor’s property that is subject to a lien
     Stresscon, Inc.                                Subdivision: RESERVE AT ADDISON CREEK (57954)                 $3,275.00   $750,000.00
                                                    Legal: LOT 13 BLOCK 4 Section: 02 Township: 17
     Creditor’s mailing address                     Range: 13
     6533 E 11th St                                 Describe the lien
     Tulsa, OK 74112-0000                           Mechanic's or Materialman's Lien

     Creditor’s email address, if known             Is the creditor an insider or related party?
                                                    ✔ No
                                                    ❑
                                                    ❑ Yes
     Date debt was incurred          3/1/2024
                                                    Is anyone else liable on this claim?
     Last 4 digits of account                       ✔ No
                                                    ❑
     number                                         ❑ Yes. Fill out Schedule H: Codebtors (Official Form 206H).
     Do multiple creditors have an interest in
                                                    As of the petition filing date, the claim is:
     the same property?
                                                    Check all that apply.
     ❑ No                                           ❑ Contingent
     ✔ Yes. Have you already specified the
     ❑                                              ❑ Unliquidated
                                                    ✔ Disputed
             relative priority?
                                                    ❑
        ❑ No. Specify each creditor, including
                 this creditor, and its relative
                 priority.



        ✔ Yes. The relative priority of creditors
        ❑
                 is specified on lines 2.2

2.95 Creditor’s name                                Describe debtor’s property that is subject to a lien
     Sublime Constractors Inc                       Subdivision: RESERVE AT ADDISON CREEK (57954)                 $9,100.00   $575,000.00
                                                    Legal: LOT 1 BLOCK 1 Section: 02 Township: 17
     Creditor’s mailing address                     Range: 13
     PO Box 2395                                    Describe the lien
     Sapulpa, OK 74067                              Mechanic's or Materialman's Lien

     Creditor’s email address, if known             Is the creditor an insider or related party?
                                                    ✔ No
                                                    ❑
                                                    ❑ Yes
     Date debt was incurred          4/5/2024
                                                    Is anyone else liable on this claim?
     Last 4 digits of account                       ✔ No
                                                    ❑
     number                                         ❑ Yes. Fill out Schedule H: Codebtors (Official Form 206H).
     Do multiple creditors have an interest in
                                                    As of the petition filing date, the claim is:
     the same property?
                                                    Check all that apply.
     ❑ No                                           ❑ Contingent
     ✔ Yes. Have you already specified the
     ❑                                              ❑ Unliquidated
                                                    ✔ Disputed
             relative priority?
                                                    ❑
        ❑ No. Specify each creditor, including
          Casethis25-10067-T             Document 1 Filed in USBC ND/OK on 01/20/25 Page 100 of 191
                   creditor, and its relative
                 priority.



        ✔ Yes. The relative priority of creditors
        ❑
                 is specified on lines 2.19

2.96 Creditor’s name                                Describe debtor’s property that is subject to a lien
     Tulsa Fireplace Supply                         Subdivision: RETREAT BLOCKS 1-15, THE (80864)                  $2,534.09   $608,073.00
                                                    Legal: LOT 4 BLOCK 12 Section: 28 Township: 18
     Creditor’s mailing address                     Range: 14
     PO Box Box 748                                 Describe the lien
     Broken Arrow, OK 74013                         Mechanic's or Materialman's Lien

     Creditor’s email address, if known             Is the creditor an insider or related party?
                                                    ✔ No
                                                    ❑
                                                    ❑ Yes
     Date debt was incurred         6/21/2024
                                                    Is anyone else liable on this claim?
     Last 4 digits of account                       ✔ No
                                                    ❑
     number                                         ❑ Yes. Fill out Schedule H: Codebtors (Official Form 206H).
     Do multiple creditors have an interest in
                                                    As of the petition filing date, the claim is:
     the same property?
                                                    Check all that apply.
     ❑ No                                           ❑ Contingent
     ✔ Yes. Have you already specified the
     ❑                                              ❑ Unliquidated
                                                    ✔ Disputed
             relative priority?
                                                    ❑
        ❑ No. Specify each creditor, including
                 this creditor, and its relative
                 priority.



        ✔ Yes. The relative priority of creditors
        ❑
                 is specified on lines 2.23

2.97 Creditor’s name                                Describe debtor’s property that is subject to a lien
     Ultimate Cabinets                              Subdivision: RETREAT BLOCKS 1-15, THE (80864)                 $13,796.00   $531,549.00
                                                    Legal: LOT 8 BLOCK 6 Section: 28 Township: 18
     Creditor’s mailing address                     Range: 14
     1810 N. 75th E. Ave                            Describe the lien
     Tulsa, OK 74115                                Mechanic's or Materialman's Lien

     Creditor’s email address, if known             Is the creditor an insider or related party?
                                                    ✔ No
                                                    ❑
                                                    ❑ Yes
     Date debt was incurred         6/25/2024
                                                    Is anyone else liable on this claim?
     Last 4 digits of account                       ✔ No
                                                    ❑
     number                                         ❑ Yes. Fill out Schedule H: Codebtors (Official Form 206H).
     Do multiple creditors have an interest in
                                                    As of the petition filing date, the claim is:
     the same property?
                                                    Check all that apply.
     ❑ No                                           ❑ Contingent
     ✔ Yes. Have you already specified the
     ❑                                              ❑ Unliquidated
                                                    ✔ Disputed
             relative priority?
                                                    ❑
        ❑ No. Specify each creditor, including
                 this creditor, and its relative
                 priority.



        ✔ Yes. The relative priority of creditors
        ❑
                 is specified on lines 2.32

2.98 Creditor’s name                                Describe debtor’s property that is subject to a lien
     Ultimate Cabinets                              Subdivision: ADDISON CREEK CROSSING (86802)                   $15,384.00   $525,554.00
                                                    Legal: LOT 16 BLOCK 3 Section: 03 Township: 17
     Creditor’s mailing address                     Range: 13
     1810 N. 75th E. Ave                            Describe the lien
     Tulsa, OK 74115                                Mechanic's or Materialman's Lien

     Creditor’s email address, if known             Is the creditor an insider or related party?
                                                     ✔ No
                                                     ❑
                                ❑ Yes1 Filed in USBC ND/OK on 01/20/25 Page 101 of 191
           Case 25-10067-T Document
      Date debt was incurred         6/18/2024
                                                     Is anyone else liable on this claim?
      Last 4 digits of account                       ✔ No
                                                     ❑
      number                                         ❑ Yes. Fill out Schedule H: Codebtors (Official Form 206H).
      Do multiple creditors have an interest in
                                                     As of the petition filing date, the claim is:
      the same property?
                                                     Check all that apply.
      ❑ No                                           ❑ Contingent
      ✔ Yes. Have you already specified the
      ❑
              relative priority?
                                                     ❑ Unliquidated
                                                     ✔ Disputed
                                                     ❑
         ❑ No. Specify each creditor, including
                  this creditor, and its relative
                  priority.



         ✔ Yes. The relative priority of creditors
         ❑
                  is specified on lines 2.3

2.99 Creditor’s name                                 Describe debtor’s property that is subject to a lien
      Ultimate Cabinets                              Subdivision: ADDISON CREEK CROSSING (86802)                   $11,583.00   $389,000.00
                                                     Legal: LOT 13 BLOCK 3 Section: 03 Township: 17
      Creditor’s mailing address                     Range: 13
      1810 N. 75th E. Ave                            Describe the lien
      Tulsa, OK 74115                                Mechanic's or Materialman's Lien

      Creditor’s email address, if known             Is the creditor an insider or related party?
                                                     ✔ No
                                                     ❑
                                                     ❑ Yes
      Date debt was incurred         6/25/2024
                                                     Is anyone else liable on this claim?
      Last 4 digits of account                       ✔ No
                                                     ❑
      number                                         ❑ Yes. Fill out Schedule H: Codebtors (Official Form 206H).
      Do multiple creditors have an interest in
                                                     As of the petition filing date, the claim is:
      the same property?
                                                     Check all that apply.
      ❑ No                                           ❑ Contingent
      ✔ Yes. Have you already specified the
      ❑                                              ❑ Unliquidated
                                                     ✔ Disputed
              relative priority?
                                                     ❑
         ❑ No. Specify each creditor, including
                  this creditor, and its relative
                  priority.



         ✔ Yes. The relative priority of creditors
         ❑
                  is specified on lines 2.4

2.100 Creditor’s name                                Describe debtor’s property that is subject to a lien
      Watkins Sand Co, Inc.                          Subdivision: RETREAT BLOCKS 1-15, THE (80864)                  $1,392.00   $608,073.00
                                                     Legal: LOT 4 BLOCK 12 Section: 28 Township: 18
      Creditor’s mailing address                     Range: 14
      PO Box Box 687                                 Describe the lien
      Bixby, OK 74008                                Mechanic's or Materialman's Lien

      Creditor’s email address, if known             Is the creditor an insider or related party?
                                                     ✔ No
                                                     ❑
                                                     ❑ Yes
      Date debt was incurred         2/12/2024
                                                     Is anyone else liable on this claim?
      Last 4 digits of account                       ✔ No
                                                     ❑
      number                                         ❑ Yes. Fill out Schedule H: Codebtors (Official Form 206H).
      Do multiple creditors have an interest in
                                                     As of the petition filing date, the claim is:
      the same property?
                                                     Check all that apply.
      ❑ No                                           ❑ Contingent
      ✔ Yes. Have you already specified the
      ❑                                              ❑ Unliquidated
                                                     ✔ Disputed
              relative priority?
                                                     ❑
         ❑ No. Specify each creditor, including
                  this creditor, and its relative
                  priority.
         ✔ Yes. The relative priority of creditors
         ❑
           Caseis specified
                  25-10067-T            Document 1 Filed in USBC ND/OK on 01/20/25 Page 102 of 191
                            on lines 2.23

2.101 Creditor’s name                                Describe debtor’s property that is subject to a lien
      Watkins Sand Co, Inc.                          Subdivision: RETREAT BLOCKS 1-15, THE (80864)                 $1,328.00   $531,549.00
                                                     Legal: LOT 8 BLOCK 6 Section: 28 Township: 18
      Creditor’s mailing address                     Range: 14
      PO Box Box 687                                 Describe the lien
      Bixby, OK 74008                                Mechanic's or Materialman's Lien

      Creditor’s email address, if known             Is the creditor an insider or related party?
                                                     ✔ No
                                                     ❑
                                                     ❑ Yes
      Date debt was incurred         2/13/2024
                                                     Is anyone else liable on this claim?
      Last 4 digits of account                       ✔ No
                                                     ❑
      number                                         ❑ Yes. Fill out Schedule H: Codebtors (Official Form 206H).
      Do multiple creditors have an interest in
                                                     As of the petition filing date, the claim is:
      the same property?
                                                     Check all that apply.
      ❑ No                                           ❑ Contingent
      ✔ Yes. Have you already specified the
      ❑                                              ❑ Unliquidated
                                                     ✔ Disputed
              relative priority?
                                                     ❑
         ❑ No. Specify each creditor, including
                  this creditor, and its relative
                  priority.



         ✔ Yes. The relative priority of creditors
         ❑
                  is specified on lines 2.32

2.102 Creditor’s name                                Describe debtor’s property that is subject to a lien
      Watkins Sand Co, Inc.                          Subdivision: KIRKPATRICK HGTS (21500) Legal: LT               $6,068.00   $346,812.00
                                                     19 BLK 1 Section: 35 Township: 20 Range: 12
      Creditor’s mailing address
                                                     Describe the lien
      PO Box Box 687
                                                     Mechanic's or Materialman's Lien
      Bixby, OK 74008
                                                     Is the creditor an insider or related party?
      Creditor’s email address, if known             ✔ No
                                                     ❑
                                                     ❑ Yes
      Date debt was incurred         2/13/2024       Is anyone else liable on this claim?
                                                     ✔ No
                                                     ❑
      Last 4 digits of account                       ❑ Yes. Fill out Schedule H: Codebtors (Official Form 206H).
      number
                                                     As of the petition filing date, the claim is:
      Do multiple creditors have an interest in
                                                     Check all that apply.
      the same property?
                                                     ❑ Contingent
      ❑ No
      ✔ Yes. Have you already specified the          ❑ Unliquidated
      ❑                                              ✔ Disputed
              relative priority?                     ❑
         ❑ No. Specify each creditor, including
                  this creditor, and its relative
                  priority.



         ✔ Yes. The relative priority of creditors
         ❑
                  is specified on lines 2.47

2.103 Creditor’s name                                Describe debtor’s property that is subject to a lien
      Watkins Sand Co, Inc.                          Subdivision: RESERVE AT ADDISON CREEK (57954)                  $448.00    $750,000.00
                                                     Legal: LOT 13 BLOCK 4 Section: 02 Township: 17
      Creditor’s mailing address                     Range: 13
      PO Box Box 687                                 Describe the lien
      Bixby, OK 74008                                Mechanic's or Materialman's Lien

      Creditor’s email address, if known             Is the creditor an insider or related party?
                                                     ✔ No
                                                     ❑
                                                     ❑ Yes
      Date debt was incurred           2/13/24
                                                     Is anyone else liable on this claim?
      Last 4 digits of account                       ✔ No
                                                     ❑
      number                                         ❑ Yes. Fill out Schedule H: Codebtors (Official Form 206H).
      Do multiple creditors have an interest in As of the petition filing date, the claim is:
           Case
      the same      25-10067-T Document
               property?                              1 thatFiled
                                                Check all   apply. in USBC ND/OK on 01/20/25                       Page 103 of 191
      ❑ No                                           ❑ Contingent
      ✔ Yes. Have you already specified the
      ❑                                              ❑ Unliquidated
              relative priority?                     ✔ Disputed
                                                     ❑
         ❑ No. Specify each creditor, including
                  this creditor, and its relative
                  priority.



         ✔ Yes. The relative priority of creditors
         ❑
                  is specified on lines 2.2

2.104 Creditor’s name                                Describe debtor’s property that is subject to a lien
      Watkins Sand Co, Inc.                          Subdivision: ADDISON CREEK CROSSING (86802)                   $1,120.00   $525,554.00
                                                     Legal: LOT 16 BLOCK 3 Section: 03 Township: 17
      Creditor’s mailing address                     Range: 13
      PO Box Box 687                                 Describe the lien
      Bixby, OK 74008                                Mechanic's or Materialman's Lien

      Creditor’s email address, if known             Is the creditor an insider or related party?
                                                     ✔ No
                                                     ❑
                                                     ❑ Yes
      Date debt was incurred         2/13/2024
                                                     Is anyone else liable on this claim?
      Last 4 digits of account                       ✔ No
                                                     ❑
      number                                         ❑ Yes. Fill out Schedule H: Codebtors (Official Form 206H).
      Do multiple creditors have an interest in
                                                     As of the petition filing date, the claim is:
      the same property?
                                                     Check all that apply.
      ❑ No                                           ❑ Contingent
      ✔ Yes. Have you already specified the
      ❑                                              ❑ Unliquidated
                                                     ✔ Disputed
              relative priority?
                                                     ❑
         ❑ No. Specify each creditor, including
                  this creditor, and its relative
                  priority.



         ✔ Yes. The relative priority of creditors
         ❑
                  is specified on lines 2.3

2.105 Creditor’s name                                Describe debtor’s property that is subject to a lien
      Watkins Sand Co, Inc.                          Subdivision: ADDISON CREEK CROSSING (86802)                   $2,047.00   $389,000.00
                                                     Legal: LOT 13 BLOCK 3 Section: 03 Township: 17
      Creditor’s mailing address                     Range: 13
      PO Box Box 687                                 Describe the lien
      Bixby, OK 74008                                Mechanic's or Materialman's Lien

      Creditor’s email address, if known             Is the creditor an insider or related party?
                                                     ✔ No
                                                     ❑
                                                     ❑ Yes
      Date debt was incurred         2/13/2024
                                                     Is anyone else liable on this claim?
      Last 4 digits of account                       ✔ No
                                                     ❑
      number                                         ❑ Yes. Fill out Schedule H: Codebtors (Official Form 206H).
      Do multiple creditors have an interest in
                                                     As of the petition filing date, the claim is:
      the same property?
                                                     Check all that apply.
      ❑ No                                           ❑ Contingent
      ✔ Yes. Have you already specified the
      ❑                                              ❑ Unliquidated
                                                     ✔ Disputed
              relative priority?
                                                     ❑
         ❑ No. Specify each creditor, including
                  this creditor, and its relative
                  priority.



         ✔ Yes. The relative priority of creditors
         ❑
                  is specified on lines 2.4
            Case 25-10067-T Document 1 Filed in USBC ND/OK on 01/20/25 Page 104 of 191
Debtor      Asher Homes, LLC                                                                 Case number (if known)
           Name




  Part 2:         List Others to Be Notified for a Debt Already Listed in Part 1

 List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection
 agencies, assignees of claims listed above, and attorneys for secured creditors.

 If no others need to be notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.


 Name and address                                                                                           On which line in Part 1     Last 4 digits of
                                                                                                            did you enter the           account number
                                                                                                            related creditor?           for this entity

 Joseph Hull
 1717 S. Cheyenne                                                                                           Line 2. 2
 Tulsa, OK 74119

 Shook and Johnson
 7420 S. Yale Ave.                                                                                          Line 2. 2
 Tulsa, OK 74136

 Crowe and Dunlevy
 222 N. Detroit 600                                                                                         Line 2. 2
 Tulsa, OK 74120

 Tulsa County District Attorney
 Ste 450
                                                                                                            Line 2. 2
 201 W. 5th St.
 Tulsa, OK 74103-0000

 Hall Estill
 521 E 2nd St Ste 1200                                                                                      Line 2. 2
 Tulsa, OK 74120-1855

 Julia Allen
 PO Box 995                                                                                                 Line 2. 14
 Ketchum, OK 74349

 Doerner Saunders Daniel and Anderson
 Two West Second Street Suite 700
                                                                                                            Line 2. 14
 Attn David Herrold
 Tulsa, OK 74103-0000

 Conner & Winter, LLP
 4100 First Place Tower
                                                                                                            Line 2. 23
 15 E 5th St
 Tulsa, OK 74103-4345

 Isaac Ellis
 PO Box 521209                                                                                              Line 2. 23
 Tulsa, OK 74152

 Gable Gotwals
 110 N Elgin Ave Ste 200                                                                                    Line 2. 23
 Tulsa, OK 74120-1495
Name and address                                                    On which line in Part 1   Last 4 digits of
          Case 25-10067-T Document 1 Filed in USBC ND/OK on 01/20/25
                                                              did you enterPage
                                                                            the 105account
                                                                                    of 191number
                                                                    related creditor?         for this entity

Hall Estill
521 E 2nd St Ste 1200                                               Line 2. 23
Tulsa, OK 74120-1855

Doerner Saunders Daniel and Anderson
Two West Second Street Suite 700
                                                                    Line 2. 49
Attn David Herrold
Tulsa, OK 74103-0000

Drummond Law Firm
320 S. Boulder 300                                                  Line 2. 49
Tulsa, OK 74103

Eller and Detrich
2727 E. 21st Street                                                 Line 2. 49
Tulsa, OK 74114

Rogers County District Attorney's Office
200 South Lynn Riggs Blvd                                           Line 2. 49
Claremore, OK 74017

Robinett, Swartz & Duren
624 S Boston, Suite 900                                             Line 2. 60
Tulsa, OK 74119-0000

Shena Elaine Burgess
9175 S. Yale Ave. 300                                               Line 2. 80
Tulsa, OK 74137-0000

James H. Ferris
401 S. Boston
                                                                    Line 2. 80
1100 Mid Continent Tower
Tulsa, OK 74103-0000

Gable Gotwals
110 N Elgin Ave Ste 200                                             Line 2. 80
Tulsa, OK 74120-1495

Crowe and Dunlevy
222 N. Detroit 600                                                  Line 2. 80
Tulsa, OK 74120

Oklahoma Tax Commission
2501 N Lincoln Blvd                                                 Line 2. 80
Oklahoma City, OK 73105-4508

Tulsa County District Attorney
Ste 450
                                                                    Line 2. 80
201 W. 5th St.
Tulsa, OK 74103-0000
Name and address                                                  On which line in Part 1   Last 4 digits of
        Case 25-10067-T Document 1 Filed in USBC ND/OK on 01/20/25
                                                            did you enterPage
                                                                          the 106account
                                                                                  of 191number
                                                                  related creditor?         for this entity

Moyers Martin LLP
401 S. Boston 1100                                                Line 2. 100
Tulsa, OK 74103
                 Case 25-10067-T Document 1 Filed in USBC ND/OK on 01/20/25 Page 107 of 191

 Fill in this information to identify the case:

 Debtor name                             Asher Homes, LLC

 United States Bankruptcy Court for the:
                          Northern District of Oklahoma

 Case number (if known):                                                                                                           ❑ Check if this is an
                                                                                                                                      amended filing

Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                             12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured
claims. List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets
- Real and Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases(Official Form 206G). Number the entries
in Parts 1 and 2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1: List All Creditors with PRIORITY Unsecured Claims

  1.    Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507)
        ✔ No. Go to Part 2.
        ❑
        ❑ Yes. Go to line 2.
 2.    List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
       with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                              Total claim                  Priority amount

       Priority creditor’s name and mailing address        As of the petition filing date, the claim is:
2.1                                                        Check all that apply.
                                                           ❑ Contingent
                                                           ❑ Unliquidated
                                                           ❑ Disputed
       Date or dates debt was incurred                     Basis for the claim:



       Last 4 digits of account                            Is the claim subject to offset?

       number                                              ❑ No
       Specify Code subsection of PRIORITY unsecured
                                                           ❑ Yes
       claim: 11 U.S.C. § 507(a)
       Priority creditor’s name and mailing address        As of the petition filing date, the claim is:
2.2                                                        Check all that apply.
                                                           ❑ Contingent
                                                           ❑ Unliquidated
                                                           ❑ Disputed
       Date or dates debt was incurred                     Basis for the claim:



       Last 4 digits of account                            Is the claim subject to offset?

       number                                              ❑ No
       Specify Code subsection of PRIORITY unsecured
                                                           ❑ Yes
       claim: 11 U.S.C. § 507(a)




Official Form 206E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                            page 1 of 23
                  Case 25-10067-T Document 1 Filed in USBC ND/OK on 01/20/25 Page 108 of 191

Debtor        Asher Homes, LLC                                                                                Case number (if known)
             Name

 Part 2: List All Creditors with NONPRIORITY Unsecured Claims

  3.     List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured
         claims, fill out and attach the Additional Page of Part 2.
                                                                                                                                       Amount of claim

3.1 Nonpriority creditor’s name and mailing address                         As of the petition filing date, the claim is:              unknown
                                                                            Check all that apply.
                                                                            ❑ Contingent
       1-800 Water Damage of Greater NW Tulsa

       421 S Lincoln Ave suite D                                            ✔ Unliquidated
                                                                            ❑
                                                                            ✔ Disputed
                                                                            ❑
       Sand Springs, OK 74063
                                                                            Basis for the claim: Business Debt

                                               2024                         Is the claim subject to offset?
                                                                            ✔ No
       Date or dates debt was incurred
                                                                            ❑
       Last 4 digits of account number         4   -   1    1               ❑ Yes
3.2 Nonpriority creditor’s name and mailing address                         As of the petition filing date, the claim is:              $73,694.47
                                                                            Check all that apply.
                                                                            ❑ Contingent
       ABC Supply Co., Inc.

       7333 E. 38th St.                                                     ❑ Unliquidated
       Tulsa, OK 74135-0000
                                                                            ❑ Disputed
                                                                            Basis for the claim: Business Debt

                                               2024                         Is the claim subject to offset?
                                                                            ✔ No
       Date or dates debt was incurred
                                                                            ❑
       Last 4 digits of account number                                      ❑ Yes
3.3 Nonpriority creditor’s name and mailing address                         As of the petition filing date, the claim is:              $149,636.90
                                                                            Check all that apply.
                                                                            ❑ Contingent
       AIRCO Service Inc

       1131 E 58th St                                                       ❑ Unliquidated
       Tulsa, OK 74146-0000
                                                                            ❑ Disputed
                                                                            Basis for the claim: Business Debt

                                               2024                         Is the claim subject to offset?
                                                                            ✔ No
       Date or dates debt was incurred
                                                                            ❑
       Last 4 digits of account number                                      ❑ Yes
       Nonpriority creditor’s name and mailing address                      As of the petition filing date, the claim is:              $350.00
3.4                                                                         Check all that apply.
                                                                            ❑ Contingent
       AL Electric LLC

       2804 St Hwy JJ                                                       ❑ Unliquidated
       Niangua, MO 65713-0000
                                                                            ❑ Disputed
                                                                            Basis for the claim: Business Debt

                                               2024                         Is the claim subject to offset?
                                                                            ✔ No
       Date or dates debt was incurred
                                                                            ❑
       Last 4 digits of account number                                      ❑ Yes




Official Form 206E/F                                       Schedule E/F: Creditors Who Have Unsecured Claims                                           page 2 of 23
                Case 25-10067-T Document 1 Filed in USBC ND/OK on 01/20/25 Page 109 of 191

Debtor      Asher Homes, LLC                                                                             Case number (if known)
           Name




 Part 2: Additional Page

3.5 Nonpriority creditor’s name and mailing address                    As of the petition filing date, the claim is:              $608.33
                                                                       Check all that apply.
                                                                       ❑ Contingent
      All Britton Plumbing Inc.

      3507 S 177th W Ave                                               ❑ Unliquidated
      Sand Springs, OK 74063
                                                                       ❑ Disputed
                                                                       Basis for the claim: Business Debt

                                           2024                        Is the claim subject to offset?
                                                                       ✔ No
      Date or dates debt was incurred
                                                                       ❑
      Last 4 digits of account number                                  ❑ Yes
3.6 Nonpriority creditor’s name and mailing address                    As of the petition filing date, the claim is:              $1,546.25
                                                                       Check all that apply.
                                                                       ❑ Contingent
      American Leak Detection of NE Okla

      123 N Birch St                                                   ❑ Unliquidated
      Jenks, OK 74037
                                                                       ❑ Disputed
                                                                       Basis for the claim: Business Debt

                                           2024                        Is the claim subject to offset?
                                                                       ✔ No
      Date or dates debt was incurred
                                                                       ❑
      Last 4 digits of account number                                  ❑ Yes
3.7 Nonpriority creditor’s name and mailing address                    As of the petition filing date, the claim is:              $573.53
                                                                       Check all that apply.
                                                                       ❑ Contingent
      American Waste Control

      1420 W 35th Street                                               ❑ Unliquidated
      Tulsa, OK 74107-0000
                                                                       ❑ Disputed
                                                                       Basis for the claim: Business Debt

                                           2024                        Is the claim subject to offset?
                                                                       ✔ No
      Date or dates debt was incurred
                                                                       ❑
      Last 4 digits of account number                                  ❑ Yes
      Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:              $9,500.00
3.8                                                                    Check all that apply.
                                                                       ❑ Contingent
      Armando;s Custom Painting

      320 S 63rd St.                                                   ❑ Unliquidated
      Broken Arrow, OK 74014
                                                                       ❑ Disputed
                                                                       Basis for the claim: Business Debt

                                           2024                        Is the claim subject to offset?
                                                                       ✔ No
      Date or dates debt was incurred
                                                                       ❑
      Last 4 digits of account number                                  ❑ Yes




Official Form 206E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                     page 3 of 23
                  Case 25-10067-T Document 1 Filed in USBC ND/OK on 01/20/25 Page 110 of 191

Debtor        Asher Homes, LLC                                                                           Case number (if known)
             Name




 Part 2: Additional Page

3.9      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:              $28,967.50
                                                                       Check all that apply.
                                                                       ❑ Contingent
         Baker Irrigation

         14700 S Harvard Ave                                           ❑ Unliquidated
         Bixby, OK 74008-0000
                                                                       ❑ Disputed
                                                                       Basis for the claim: Business Debt

                                              2024                     Is the claim subject to offset?
                                                                       ✔ No
         Date or dates debt was incurred
                                                                       ❑
         Last 4 digits of account number                               ❑ Yes
3.10 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              unknown
                                                                       Check all that apply.
                                                                       ❑ Contingent
         BancFirst

         PO Box 2003                                                   ✔ Unliquidated
                                                                       ❑
                                                                       ✔ Disputed
                                                                       ❑
         200 E. Main
                                                                       Basis for the claim: CJ 2024-3760
         Jenks, OK 74037-0000
                                                                       Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
         Date or dates debt was incurred      2024                     ❑ Yes
         Last 4 digits of account number

3.11 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              unknown
                                                                       Check all that apply.
                                                                       ❑ Contingent
         Bradley and Bailey Gaines

         c/o Julia Allen                                               ✔ Unliquidated
                                                                       ❑
                                                                       ✔ Disputed
                                                                       ❑
         PO Box 995
                                                                       Basis for the claim: CJ 2024-3308
         Ketchum, OK 74349
                                                                       Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
         Date or dates debt was incurred      2024                     ❑ Yes
         Last 4 digits of account number

         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:              $3,205.63
3.12                                                                   Check all that apply.
                                                                       ❑ Contingent
         Brundage Bone

         PO Box 203499                                                 ❑ Unliquidated
         Dallas, TX 75320-0000
                                                                       ❑ Disputed
                                                                       Basis for the claim: Business Debt

                                              2024                     Is the claim subject to offset?
                                                                       ✔ No
         Date or dates debt was incurred
                                                                       ❑
         Last 4 digits of account number                               ❑ Yes




Official Form 206E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                       page 4 of 23
                  Case 25-10067-T Document 1 Filed in USBC ND/OK on 01/20/25 Page 111 of 191

Debtor        Asher Homes, LLC                                                                           Case number (if known)
             Name




 Part 2: Additional Page

3.13 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $11,684.83
                                                                       Check all that apply.
                                                                       ❑ Contingent
         Builders First Source

         Ste 1600                                                      ❑ Unliquidated
                                                                       ❑ Disputed
         2001 Bryan St
                                                                       Basis for the claim: Business Debt
         Dallas, TX 75201-0000
                                                                       Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
         Date or dates debt was incurred      2024                     ❑ Yes
         Last 4 digits of account number

3.14 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $8,849.50
                                                                       Check all that apply.
                                                                       ❑ Contingent
         BWI Sanitation

         2203 N Brookline Ave,                                         ❑ Unliquidated
         Republic, MO 65738
                                                                       ❑ Disputed
                                                                       Basis for the claim: Business Debt

                                              2024                     Is the claim subject to offset?
                                                                       ✔ No
         Date or dates debt was incurred
                                                                       ❑
         Last 4 digits of account number                               ❑ Yes
3.15 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $6,268.75
                                                                       Check all that apply.
                                                                       ❑ Contingent
         DK Waste Water Services

         General Address                                               ❑ Unliquidated
         Talala, OK 74080
                                                                       ❑ Disputed
                                                                       Basis for the claim: Business Debt

                                              2024                     Is the claim subject to offset?
                                                                       ✔ No
         Date or dates debt was incurred
                                                                       ❑
         Last 4 digits of account number                               ❑ Yes
         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:              $900.00
3.16                                                                   Check all that apply.
                                                                       ❑ Contingent
         DP Custom Trim Carpentry LLC

         10725 Masters Circle Ave                                      ❑ Unliquidated
         Jenks, OK 74037
                                                                       ❑ Disputed
                                                                       Basis for the claim: Business Debt

                                              2024                     Is the claim subject to offset?
                                                                       ✔ No
         Date or dates debt was incurred
                                                                       ❑
         Last 4 digits of account number                               ❑ Yes




Official Form 206E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                       page 5 of 23
                  Case 25-10067-T Document 1 Filed in USBC ND/OK on 01/20/25 Page 112 of 191

Debtor        Asher Homes, LLC                                                                           Case number (if known)
             Name




 Part 2: Additional Page

3.17 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $1,735.00
                                                                       Check all that apply.
                                                                       ❑ Contingent
         Duster Cleaning Services LLC

         14665 S 330th East Ave                                        ❑ Unliquidated
         Coweta, OK 74429
                                                                       ❑ Disputed
                                                                       Basis for the claim: Business Debt

                                              2024                     Is the claim subject to offset?
                                                                       ✔ No
         Date or dates debt was incurred
                                                                       ❑
         Last 4 digits of account number                               ❑ Yes
3.18 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $15,300.00
                                                                       Check all that apply.
                                                                       ❑ Contingent
         EC Plumbing and Drain

         10114 E 47th St                                               ❑ Unliquidated
         Tulsa, OK 74146
                                                                       ❑ Disputed
                                                                       Basis for the claim: Business Debt

                                              2024                     Is the claim subject to offset?
                                                                       ✔ No
         Date or dates debt was incurred
                                                                       ❑
         Last 4 digits of account number                               ❑ Yes
3.19 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $819.55
                                                                       Check all that apply.
                                                                       ❑ Contingent
         Evolve Plumbing

         2201 S Rosedale Ave                                           ❑ Unliquidated
         Tulsa, OK 74107
                                                                       ❑ Disputed
                                                                       Basis for the claim: Business Debt

                                              2024                     Is the claim subject to offset?
                                                                       ✔ No
         Date or dates debt was incurred
                                                                       ❑
         Last 4 digits of account number                               ❑ Yes
         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:              unknown
3.20                                                                   Check all that apply.
                                                                       ❑ Contingent
         Fabian Pineda

         c/o Kathleen Pence                                            ✔ Unliquidated
                                                                       ❑
                                                                       ✔ Disputed
                                                                       ❑
         521 S. Main
                                                                       Basis for the claim: CJ 2024-3581
         Jenks, OK 74037
                                                                       Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
         Date or dates debt was incurred      2024                     ❑ Yes
         Last 4 digits of account number




Official Form 206E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                       page 6 of 23
                  Case 25-10067-T Document 1 Filed in USBC ND/OK on 01/20/25 Page 113 of 191

Debtor        Asher Homes, LLC                                                                              Case number (if known)
             Name




 Part 2: Additional Page

3.21 Nonpriority creditor’s name and mailing address                      As of the petition filing date, the claim is:              $1,578.07
                                                                          Check all that apply.
                                                                          ❑ Contingent
         FENSCO, INC.

         1983 N Birch St                                                  ❑ Unliquidated
         Jenks, OK 74037-0000
                                                                          ❑ Disputed
                                                                          Basis for the claim: Business Debt

                                              2024                        Is the claim subject to offset?
                                                                          ✔ No
         Date or dates debt was incurred
                                                                          ❑
         Last 4 digits of account number                                  ❑ Yes
3.22 Nonpriority creditor’s name and mailing address                      As of the petition filing date, the claim is:              $1,052.43
                                                                          Check all that apply.
                                                                          ❑ Contingent
         Floor and Decor Outlets of America, Inc

         2500 Windy Ridge Pkwy SE                                         ❑ Unliquidated
         Atlanta, GA 30339
                                                                          ❑ Disputed
                                                                          Basis for the claim: Business Debt

                                              2024                        Is the claim subject to offset?
                                                                          ✔ No
         Date or dates debt was incurred
                                                                          ❑
         Last 4 digits of account number                                  ❑ Yes
3.23 Nonpriority creditor’s name and mailing address                      As of the petition filing date, the claim is:              unknown
                                                                          Check all that apply.
                                                                          ❑ Contingent
         Free Willy Trust

         c/o Zachary Enlow                                                ✔ Unliquidated
                                                                          ❑
                                                                          ✔ Disputed
                                                                          ❑
         2626 E. 21st Street 1
                                                                          Basis for the claim: Business Debt
         Tulsa, OK 74114
                                                                          Is the claim subject to offset?
                                                                          ✔ No
                                                                          ❑
         Date or dates debt was incurred                                  ❑ Yes
         Last 4 digits of account number      1   4   0     7

         Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:              $1,036.40
3.24                                                                      Check all that apply.
                                                                          ❑ Contingent
         Graphic Resources and Reproduction

         4251 W Albany St                                                 ❑ Unliquidated
         Broken Arrow, OK 74012-0000
                                                                          ❑ Disputed
                                                                          Basis for the claim: Business Debt

                                              2024                        Is the claim subject to offset?
                                                                          ✔ No
         Date or dates debt was incurred
                                                                          ❑
         Last 4 digits of account number                                  ❑ Yes




Official Form 206E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                      page 7 of 23
                  Case 25-10067-T Document 1 Filed in USBC ND/OK on 01/20/25 Page 114 of 191

Debtor        Asher Homes, LLC                                                                           Case number (if known)
             Name




 Part 2: Additional Page

3.25 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $1,546.25
                                                                       Check all that apply.
                                                                       ❑ Contingent
         Green Country Plumbing

         15167 W 18th Pl S,                                            ❑ Unliquidated
         Sand Springs, OK 74063
                                                                       ❑ Disputed
                                                                       Basis for the claim: Business Debt

                                              2024                     Is the claim subject to offset?
                                                                       ✔ No
         Date or dates debt was incurred
                                                                       ❑
         Last 4 digits of account number                               ❑ Yes
3.26 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $10,247.22
                                                                       Check all that apply.
                                                                       ❑ Contingent
         Hardscape

         11610 S. Memorial Rd                                          ❑ Unliquidated
         Bixby, OK 74008-0000
                                                                       ❑ Disputed
                                                                       Basis for the claim: Business Debt

                                              2024                     Is the claim subject to offset?
                                                                       ✔ No
         Date or dates debt was incurred
                                                                       ❑
         Last 4 digits of account number                               ❑ Yes
3.27 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $1,055.99
                                                                       Check all that apply.
                                                                       ❑ Contingent
         Indian Nation Fire Sprinkler

         2300 N. Yellowood Ave                                         ❑ Unliquidated
         Broken Arrow, OK 74012-0000
                                                                       ❑ Disputed
                                                                       Basis for the claim: Business Debt

                                              2024                     Is the claim subject to offset?
                                                                       ✔ No
         Date or dates debt was incurred
                                                                       ❑
         Last 4 digits of account number                               ❑ Yes
         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:              $10,220.46
3.28                                                                   Check all that apply.
                                                                       ❑ Contingent
         Infinity Home Solutions LLC

         12806 South Memorial Drive Suite 113                          ❑ Unliquidated
         Bixby, OK 74008
                                                                       ❑ Disputed
                                                                       Basis for the claim: Business Debt

                                              2024                     Is the claim subject to offset?
                                                                       ✔ No
         Date or dates debt was incurred
                                                                       ❑
         Last 4 digits of account number                               ❑ Yes




Official Form 206E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                       page 8 of 23
                  Case 25-10067-T Document 1 Filed in USBC ND/OK on 01/20/25 Page 115 of 191

Debtor        Asher Homes, LLC                                                                           Case number (if known)
             Name




 Part 2: Additional Page

3.29 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $10,678.50
                                                                       Check all that apply.
                                                                       ❑ Contingent
         Installed Building Products of Tulsa

         5634 S 122nd E Ave,                                           ❑ Unliquidated
         Tulsa, OK 74146
                                                                       ❑ Disputed
                                                                       Basis for the claim: Business Debt

                                              2024                     Is the claim subject to offset?
                                                                       ✔ No
         Date or dates debt was incurred
                                                                       ❑
         Last 4 digits of account number                               ❑ Yes
3.30 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $14,019.87
                                                                       Check all that apply.
                                                                       ❑ Contingent
         J&E Concrete

         1912 East 58TH Street                                         ❑ Unliquidated
         Tulsa, OK 74105
                                                                       ❑ Disputed
                                                                       Basis for the claim: Business Debt
                                                                       Is the claim subject to offset?
                                                                       ✔ No
         Date or dates debt was incurred
                                                                       ❑
         Last 4 digits of account number                               ❑ Yes
3.31 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $5,000.00
                                                                       Check all that apply.
                                                                       ❑ Contingent
         James Cinocca III

         c/o Holly Cinocca                                             ❑ Unliquidated
                                                                       ❑ Disputed
         6440 S. Lewis 100
                                                                       Basis for the claim: SC 2024-12852
         Tulsa, OK 74136
                                                                       Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
         Date or dates debt was incurred      2024                     ❑ Yes
         Last 4 digits of account number

         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:              $4,969.43
3.32                                                                   Check all that apply.
                                                                       ❑ Contingent
         JDW Plumbing

         1204 w Knoxville St                                           ❑ Unliquidated
         Broken Arrow, OK 74012
                                                                       ❑ Disputed
                                                                       Basis for the claim: Business Debt

                                              2024                     Is the claim subject to offset?
                                                                       ✔ No
         Date or dates debt was incurred
                                                                       ❑
         Last 4 digits of account number                               ❑ Yes




Official Form 206E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                       page 9 of 23
                  Case 25-10067-T Document 1 Filed in USBC ND/OK on 01/20/25 Page 116 of 191

Debtor        Asher Homes, LLC                                                                           Case number (if known)
             Name




 Part 2: Additional Page

3.33 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $2,200.00
                                                                       Check all that apply.
                                                                       ❑ Contingent
         Jetta Corporation

         PO Box 26243                                                  ❑ Unliquidated
         Oklahoma City, OK 73126-0000
                                                                       ❑ Disputed
                                                                       Basis for the claim: Business Debt

                                              2024                     Is the claim subject to offset?
                                                                       ✔ No
         Date or dates debt was incurred
                                                                       ❑
         Last 4 digits of account number                               ❑ Yes
3.34 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $2,200.00
                                                                       Check all that apply.
                                                                       ❑ Contingent
         Johnson Wood Works LLC

         S Maybelle Ave, Tulsa, OK 74107                               ❑ Unliquidated
         Tulsa, OK 74107
                                                                       ❑ Disputed
                                                                       Basis for the claim: Business Debt

                                              2024                     Is the claim subject to offset?
                                                                       ✔ No
         Date or dates debt was incurred
                                                                       ❑
         Last 4 digits of account number                               ❑ Yes
3.35 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $6,124.00
                                                                       Check all that apply.
                                                                       ❑ Contingent
         Julio and Sons Painting

         444 S 79th E. Ave.                                            ❑ Unliquidated
         Tulsa, OK 74112
                                                                       ❑ Disputed
                                                                       Basis for the claim: Business Debt

                                              2024                     Is the claim subject to offset?
                                                                       ✔ No
         Date or dates debt was incurred
                                                                       ❑
         Last 4 digits of account number                               ❑ Yes
         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:              unknown
3.36                                                                   Check all that apply.
                                                                       ❑ Contingent
         Justin and Marissa Fengler, Trustees

         c/o Brian Rayment                                             ✔ Unliquidated
                                                                       ❑
                                                                       ✔ Disputed
                                                                       ❑
         7666 East 61st St 550
                                                                       Basis for the claim: CJ 2023-2763
         Tulsa, OK 74133
                                                                       Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
         Date or dates debt was incurred      2023                     ❑ Yes
         Last 4 digits of account number




Official Form 206E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                      page 10 of 23
                  Case 25-10067-T Document 1 Filed in USBC ND/OK on 01/20/25 Page 117 of 191

Debtor        Asher Homes, LLC                                                                              Case number (if known)
             Name




 Part 2: Additional Page

3.37 Nonpriority creditor’s name and mailing address                      As of the petition filing date, the claim is:              unknown
                                                                          Check all that apply.
                                                                          ❑ Contingent
         Kalli Hannah and Kyle WIlber

         c/o Jonathan Nation                                              ✔ Unliquidated
                                                                          ❑
                                                                          ✔ Disputed
                                                                          ❑
         624 S. Denver 300
                                                                          Basis for the claim: Business Debt
         Tulsa, OK 74119
                                                                          Is the claim subject to offset?
                                                                          ✔ No
                                                                          ❑
         Date or dates debt was incurred      2024                        ❑ Yes
         Last 4 digits of account number      1   1   6     8

3.38 Nonpriority creditor’s name and mailing address                      As of the petition filing date, the claim is:              $1,700.00
                                                                          Check all that apply.
                                                                          ❑ Contingent
         L&R Custom Painting LLC

         12655 E. 16TH ST                                                 ❑ Unliquidated
         Tulsa, OK 74128
                                                                          ❑ Disputed
                                                                          Basis for the claim: Business Debt
                                                                          Is the claim subject to offset?
                                                                          ✔ No
         Date or dates debt was incurred
                                                                          ❑
         Last 4 digits of account number                                  ❑ Yes
3.39 Nonpriority creditor’s name and mailing address                      As of the petition filing date, the claim is:              $21,067.21
                                                                          Check all that apply.
                                                                          ❑ Contingent
         L&S Overhead Door

         7338 E 38th St                                                   ❑ Unliquidated
         Tulsa, OK 74145
                                                                          ❑ Disputed
                                                                          Basis for the claim: Business Debt

                                              2024                        Is the claim subject to offset?
                                                                          ✔ No
         Date or dates debt was incurred
                                                                          ❑
         Last 4 digits of account number                                  ❑ Yes
         Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:              $80,395.26
3.40                                                                      Check all that apply.
                                                                          ❑ Contingent
         L&W Supply

         12595 E 61st St                                                  ❑ Unliquidated
         Broken Arrow, OK 74012-0000
                                                                          ❑ Disputed
                                                                          Basis for the claim: Business Debt

                                              2024                        Is the claim subject to offset?
                                                                          ✔ No
         Date or dates debt was incurred
                                                                          ❑
         Last 4 digits of account number                                  ❑ Yes




Official Form 206E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                       page 11 of 23
                  Case 25-10067-T Document 1 Filed in USBC ND/OK on 01/20/25 Page 118 of 191

Debtor        Asher Homes, LLC                                                                           Case number (if known)
             Name




 Part 2: Additional Page

3.41 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $28,517.61
                                                                       Check all that apply.
                                                                       ❑ Contingent
         LifeStyles Stores, Inc.

         1801 W 33rd St                                                ❑ Unliquidated
         Edmond, OK 73013-0000
                                                                       ❑ Disputed
                                                                       Basis for the claim: Business Debt

                                              2024                     Is the claim subject to offset?
                                                                       ✔ No
         Date or dates debt was incurred
                                                                       ❑
         Last 4 digits of account number                               ❑ Yes
3.42 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $5,934.22
                                                                       Check all that apply.
                                                                       ❑ Contingent
         Locke Supply

         PO Box 24980                                                  ❑ Unliquidated
         Oklahoma City, OK 73124-0000
                                                                       ❑ Disputed
                                                                       Basis for the claim: Business Debt

                                              2024                     Is the claim subject to offset?
                                                                       ✔ No
         Date or dates debt was incurred
                                                                       ❑
         Last 4 digits of account number                               ❑ Yes
3.43 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              unknown
                                                                       Check all that apply.
                                                                       ❑ Contingent
         Lucas Raith and Jennifer Abernathy

         c/o Julia Allen                                               ✔ Unliquidated
                                                                       ❑
                                                                       ✔ Disputed
                                                                       ❑
         PO Box 995
                                                                       Basis for the claim: CJ 2024-3309
         Ketchum, OK 74349
                                                                       Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
         Date or dates debt was incurred      2024                     ❑ Yes
         Last 4 digits of account number

         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:              $188.14
3.44                                                                   Check all that apply.
                                                                       ❑ Contingent
         M&M Lumber Company

         4711 South Mingo                                              ❑ Unliquidated
         Tulsa, OK 74146-0000
                                                                       ❑ Disputed
                                                                       Basis for the claim: Business Debt

                                              2024                     Is the claim subject to offset?
                                                                       ✔ No
         Date or dates debt was incurred
                                                                       ❑
         Last 4 digits of account number                               ❑ Yes




Official Form 206E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                       page 12 of 23
                  Case 25-10067-T Document 1 Filed in USBC ND/OK on 01/20/25 Page 119 of 191

Debtor        Asher Homes, LLC                                                                           Case number (if known)
             Name




 Part 2: Additional Page

3.45 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $31,035.58
                                                                       Check all that apply.
                                                                       ❑ Contingent
         Metro Appliances & More

         5313 S Mingo Rd                                               ❑ Unliquidated
         Tulsa, OK 74146-0000
                                                                       ❑ Disputed
                                                                       Basis for the claim: Business Debt

                                              2024                     Is the claim subject to offset?
                                                                       ✔ No
         Date or dates debt was incurred
                                                                       ❑
         Last 4 digits of account number                               ❑ Yes
3.46 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $178,399.66
                                                                       Check all that apply.
                                                                       ❑ Contingent
         Mill Creek Lumber Co.

         PO Box 4770                                                   ❑ Unliquidated
         Tulsa, OK 74159-0000
                                                                       ❑ Disputed
                                                                       Basis for the claim: Promissory Note

                                              11/27/2023               Is the claim subject to offset?
                                                                       ✔ No
         Date or dates debt was incurred
                                                                       ❑
         Last 4 digits of account number                               ❑ Yes
3.47 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $7,444.54
                                                                       Check all that apply.
                                                                       ❑ Contingent
         Miller Electric

         613 West 3rd St.                                              ❑ Unliquidated
         Mountain Grove, MO 65711-0000
                                                                       ❑ Disputed
                                                                       Basis for the claim: Business Debt

                                              2024                     Is the claim subject to offset?
                                                                       ✔ No
         Date or dates debt was incurred
                                                                       ❑
         Last 4 digits of account number                               ❑ Yes
         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:              unknown
3.48                                                                   Check all that apply.
                                                                       ❑ Contingent
         New Plumbing LLC

         c/o Julia Allen                                               ✔ Unliquidated
                                                                       ❑
                                                                       ✔ Disputed
                                                                       ❑
         PO Box 995
                                                                       Basis for the claim: CJ 2023-4039
         Ketchum, OK 74349
                                                                       Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
         Date or dates debt was incurred                               ❑ Yes
         Last 4 digits of account number




Official Form 206E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                        page 13 of 23
                  Case 25-10067-T Document 1 Filed in USBC ND/OK on 01/20/25 Page 120 of 191

Debtor        Asher Homes, LLC                                                                              Case number (if known)
             Name




 Part 2: Additional Page

3.49 Nonpriority creditor’s name and mailing address                      As of the petition filing date, the claim is:              $1,107.20
                                                                          Check all that apply.
                                                                          ❑ Contingent
         Oklahoma Employment Security Commission

         PO Box 52003                                                     ❑ Unliquidated
         Oklahoma City, OK 73152-2003
                                                                          ❑ Disputed
                                                                          Basis for the claim: Business Debt

                                              9/30/2024                   Is the claim subject to offset?
                                                                          ✔ No
         Date or dates debt was incurred
                                                                          ❑
         Last 4 digits of account number                                  ❑ Yes
3.50 Nonpriority creditor’s name and mailing address                      As of the petition filing date, the claim is:              $26,275.00
                                                                          Check all that apply.
                                                                          ❑ Contingent
         Paradygm Development LLC

         8630 S Peoria Ave                                                ❑ Unliquidated
         Tulsa, OK 74132
                                                                          ❑ Disputed
                                                                          Basis for the claim: Business Debt

                                              2024                        Is the claim subject to offset?
                                                                          ✔ No
         Date or dates debt was incurred
                                                                          ❑
         Last 4 digits of account number                                  ❑ Yes
3.51 Nonpriority creditor’s name and mailing address                      As of the petition filing date, the claim is:              unknown
                                                                          Check all that apply.
                                                                          ❑ Contingent
         Pradeep Pottumuthu

         6318 E. 127th St. S                                              ✔ Unliquidated
                                                                          ❑
                                                                          ✔ Disputed
                                                                          ❑
         Bixby, OK 74008
                                                                          Basis for the claim: SC 2025-203

                                              2025                        Is the claim subject to offset?
                                                                          ✔ No
         Date or dates debt was incurred
                                                                          ❑
         Last 4 digits of account number                                  ❑ Yes
         Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:              unknown
3.52                                                                      Check all that apply.
                                                                          ❑ Contingent
         PS Plumbing

         P.O. Box 548                                                     ❑ Unliquidated
                                                                          ✔ Disputed
                                                                          ❑
         Skiatook, OK 74070
                                                                          Basis for the claim: Business Debt

                                              2024                        Is the claim subject to offset?
                                                                          ✔ No
         Date or dates debt was incurred
                                                                          ❑
         Last 4 digits of account number      3   1   1     1             ❑ Yes




Official Form 206E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                       page 14 of 23
                  Case 25-10067-T Document 1 Filed in USBC ND/OK on 01/20/25 Page 121 of 191

Debtor        Asher Homes, LLC                                                                              Case number (if known)
             Name




 Part 2: Additional Page

3.53 Nonpriority creditor’s name and mailing address                      As of the petition filing date, the claim is:              $2,643.22
                                                                          Check all that apply.
                                                                          ❑ Contingent
         R&L Plumbing Inc

         7901 E 101st St                                                  ❑ Unliquidated
         Tulsa, OK 74133
                                                                          ❑ Disputed
                                                                          Basis for the claim: Business Debt

                                              2024                        Is the claim subject to offset?
                                                                          ✔ No
         Date or dates debt was incurred
                                                                          ❑
         Last 4 digits of account number                                  ❑ Yes
3.54 Nonpriority creditor’s name and mailing address                      As of the petition filing date, the claim is:              $120.00
                                                                          Check all that apply.
                                                                          ❑ Contingent
         R&R Plumbing and Mechanical LLC

         3537 S 65th W Ave                                                ❑ Unliquidated
         Tulsa, OK 74107
                                                                          ❑ Disputed
                                                                          Basis for the claim: Business Debt

                                              2024                        Is the claim subject to offset?
                                                                          ✔ No
         Date or dates debt was incurred
                                                                          ❑
         Last 4 digits of account number                                  ❑ Yes
3.55 Nonpriority creditor’s name and mailing address                      As of the petition filing date, the claim is:              $1,750.00
                                                                          Check all that apply.
                                                                          ❑ Contingent
         RH Stucco and EIFS, LLC

         1611 N Atlanta Ave                                               ❑ Unliquidated
         Tulsa, OK 74110
                                                                          ❑ Disputed
                                                                          Basis for the claim: Business Debt

                                              2024                        Is the claim subject to offset?
                                                                          ✔ No
         Date or dates debt was incurred
                                                                          ❑
         Last 4 digits of account number                                  ❑ Yes
         Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:              unknown
3.56                                                                      Check all that apply.
                                                                          ❑ Contingent
         Robinson Air

         5401 S 101st E Ave                                               ❑ Unliquidated
                                                                          ✔ Disputed
                                                                          ❑
         Tulsa, OK 74146
                                                                          Basis for the claim: Business Debt

                                              2024                        Is the claim subject to offset?
                                                                          ✔ No
         Date or dates debt was incurred
                                                                          ❑
         Last 4 digits of account number      2   8   4     7             ❑ Yes




Official Form 206E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                      page 15 of 23
                  Case 25-10067-T Document 1 Filed in USBC ND/OK on 01/20/25 Page 122 of 191

Debtor        Asher Homes, LLC                                                                              Case number (if known)
             Name




 Part 2: Additional Page

3.57 Nonpriority creditor’s name and mailing address                      As of the petition filing date, the claim is:              $3,425.51
                                                                          Check all that apply.
                                                                          ❑ Contingent
         Rosser Midwest Stone

         P.O. Box 472254                                                  ❑ Unliquidated
         Tulsa, OK 74147-0000
                                                                          ❑ Disputed
                                                                          Basis for the claim: Business Debt

                                              2024                        Is the claim subject to offset?
                                                                          ✔ No
         Date or dates debt was incurred
                                                                          ❑
         Last 4 digits of account number                                  ❑ Yes
3.58 Nonpriority creditor’s name and mailing address                      As of the petition filing date, the claim is:              unknown
                                                                          Check all that apply.
                                                                          ❑ Contingent
         Selva Prakash Raman

         c/o Zach Enlow                                                   ✔ Unliquidated
                                                                          ❑
                                                                          ✔ Disputed
                                                                          ❑
         2626 E. 21st Street 1
                                                                          Basis for the claim: Business Debt
         Tulsa, OK 74114
                                                                          Is the claim subject to offset?
                                                                          ✔ No
                                                                          ❑
         Date or dates debt was incurred                                  ❑ Yes
         Last 4 digits of account number      1   8   5     4

3.59 Nonpriority creditor’s name and mailing address                      As of the petition filing date, the claim is:              unknown
                                                                          Check all that apply.
                                                                          ❑ Contingent
         Sharod Tanden

         c/o Conner and Winters                                           ✔ Unliquidated
                                                                          ❑
                                                                          ✔ Disputed
                                                                          ❑
         4100 First Place Tower 15 E. 5th Street
                                                                          Basis for the claim: CJ 2024-973
         Tulsa, OK 74103
                                                                          Is the claim subject to offset?
                                                                          ✔ No
                                                                          ❑
         Date or dates debt was incurred                                  ❑ Yes
         Last 4 digits of account number

         Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:              $62,296.27
3.60                                                                      Check all that apply.
                                                                          ❑ Contingent
         Sierra Pools and Spas LLC

         13795 E 560 Rd                                                   ❑ Unliquidated
         Inola, OK 74036
                                                                          ❑ Disputed
                                                                          Basis for the claim: Business Debt

                                              2024                        Is the claim subject to offset?
                                                                          ✔ No
         Date or dates debt was incurred
                                                                          ❑
         Last 4 digits of account number                                  ❑ Yes




Official Form 206E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                       page 16 of 23
                  Case 25-10067-T Document 1 Filed in USBC ND/OK on 01/20/25 Page 123 of 191

Debtor        Asher Homes, LLC                                                                              Case number (if known)
             Name




 Part 2: Additional Page

3.62 Nonpriority creditor’s name and mailing address                      As of the petition filing date, the claim is:              unknown
                                                                          Check all that apply.
                                                                          ❑ Contingent
         Standard Materials Group

         4530 North Oak Street                                            ✔ Unliquidated
                                                                          ❑
                                                                          ✔ Disputed
                                                                          ❑
         Witter, AR 72776
                                                                          Basis for the claim: Business Debt

                                              2024                        Is the claim subject to offset?
                                                                          ✔ No
         Date or dates debt was incurred
                                                                          ❑
         Last 4 digits of account number      2   6   0     6             ❑ Yes
3.63 Nonpriority creditor’s name and mailing address                      As of the petition filing date, the claim is:              $2,734.71
                                                                          Check all that apply.
                                                                          ❑ Contingent
         Street Lamps of America

         26319 E Hwy 51                                                   ❑ Unliquidated
         Broken Arrow, OK 74014
                                                                          ❑ Disputed
                                                                          Basis for the claim: Business Debt

                                              2024                        Is the claim subject to offset?
                                                                          ✔ No
         Date or dates debt was incurred
                                                                          ❑
         Last 4 digits of account number                                  ❑ Yes
3.64 Nonpriority creditor’s name and mailing address                      As of the petition filing date, the claim is:              $3,965.00
                                                                          Check all that apply.
                                                                          ❑ Contingent
         Sublime Contractors

         15717 W 71st St S                                                ❑ Unliquidated
         Sapulpa, OK 74066
                                                                          ❑ Disputed
                                                                          Basis for the claim: Business Debt

                                              2024                        Is the claim subject to offset?
                                                                          ✔ No
         Date or dates debt was incurred
                                                                          ❑
         Last 4 digits of account number                                  ❑ Yes
         Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:              $24,826.37
3.65                                                                      Check all that apply.
                                                                          ❑ Contingent
         Superior Termite & Pest Control

         205 South 85th E Ave                                             ❑ Unliquidated
         Tulsa, OK 74112-0000
                                                                          ❑ Disputed
                                                                          Basis for the claim: Business Debt

                                              2024                        Is the claim subject to offset?
                                                                          ✔ No
         Date or dates debt was incurred
                                                                          ❑
         Last 4 digits of account number                                  ❑ Yes




Official Form 206E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                       page 17 of 23
                  Case 25-10067-T Document 1 Filed in USBC ND/OK on 01/20/25 Page 124 of 191

Debtor        Asher Homes, LLC                                                                           Case number (if known)
             Name




 Part 2: Additional Page

3.66 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              unknown
                                                                       Check all that apply.
                                                                       ❑ Contingent
         The Womble Company dba Pella of Ok

         4340 S Mingo Rd                                               ✔ Unliquidated
                                                                       ❑
                                                                       ✔ Disputed
                                                                       ❑
         Tulsa, OK 74146
                                                                       Basis for the claim: CJ 2023-7145

                                              2023                     Is the claim subject to offset?
                                                                       ✔ No
         Date or dates debt was incurred
                                                                       ❑
         Last 4 digits of account number                               ❑ Yes
3.67 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              unknown
                                                                       Check all that apply.
         Thomas and Gara Hurd
                                                                       ✔ Contingent
                                                                       ❑
         c/o Mitchell Bonds                                            ✔ Unliquidated
                                                                       ❑
                                                                       ✔ Disputed
                                                                       ❑
         203 E.. Hobson Ave
                                                                                             CJ 2023-288 Rogers
         Sapulpa, OK 74066                                             Basis for the claim: County
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      8/11/2023                ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number

3.68 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $10,000.00
                                                                       Check all that apply.
                                                                       ❑ Contingent
         Tony Parker

         4920 E 105th St                                               ❑ Unliquidated
                                                                       ✔ Disputed
                                                                       ❑
         Tulsa, OK 74137
                                                                       Basis for the claim: SC 2024-16357

                                              2024                     Is the claim subject to offset?
                                                                       ✔ No
         Date or dates debt was incurred
                                                                       ❑
         Last 4 digits of account number                               ❑ Yes
         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:              $15,415.88
3.69                                                                   Check all that apply.
                                                                       ❑ Contingent
         Toros Construction Inc

         7202 E 92nd ST                                                ❑ Unliquidated
         Tulsa, OK 74133
                                                                       ❑ Disputed
                                                                       Basis for the claim: Business Debt

                                              2024                     Is the claim subject to offset?
                                                                       ✔ No
         Date or dates debt was incurred
                                                                       ❑
         Last 4 digits of account number                               ❑ Yes




Official Form 206E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                       page 18 of 23
                  Case 25-10067-T Document 1 Filed in USBC ND/OK on 01/20/25 Page 125 of 191

Debtor        Asher Homes, LLC                                                                           Case number (if known)
             Name




 Part 2: Additional Page

3.70 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $1,050.11
                                                                       Check all that apply.
                                                                       ❑ Contingent
         Travis Martin Pools

         5520 US Hwy 59. Grove                                         ❑ Unliquidated
         Grove, OK 74344
                                                                       ❑ Disputed
                                                                       Basis for the claim: Business Debt

                                              2024                     Is the claim subject to offset?
                                                                       ✔ No
         Date or dates debt was incurred
                                                                       ❑
         Last 4 digits of account number                               ❑ Yes
3.71 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $13,840.23
                                                                       Check all that apply.
                                                                       ❑ Contingent
         Tulsa Fireplace Supply

         PO Box Box 748                                                ❑ Unliquidated
         Broken Arrow, OK 74013
                                                                       ❑ Disputed
                                                                       Basis for the claim: Business Debt

                                              2024                     Is the claim subject to offset?
                                                                       ✔ No
         Date or dates debt was incurred
                                                                       ❑
         Last 4 digits of account number                               ❑ Yes
3.72 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $6,007.75
                                                                       Check all that apply.
                                                                       ❑ Contingent
         US Crown LLC

         213 w Los Angeles Pl                                          ❑ Unliquidated
         Broken Arrow, OK 74011
                                                                       ❑ Disputed
                                                                       Basis for the claim: Business Debt

                                              2024                     Is the claim subject to offset?
                                                                       ✔ No
         Date or dates debt was incurred
                                                                       ❑
         Last 4 digits of account number                               ❑ Yes
         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:              unknown
3.73                                                                   Check all that apply.
                                                                       ❑ Contingent
         Virginia Neel and Virginia Neel Revocable Mgmt
         Trust
                                                                       ✔ Unliquidated
                                                                       ❑
         c/o Eric Stall                                                ✔ Disputed
                                                                       ❑
                                                                       Basis for the claim: CJ 2023-511
         2021 S. Lewis 520
                                                                       Is the claim subject to offset?
         Tulsa, OK 74104                                               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Date or dates debt was incurred      2023

         Last 4 digits of account number




Official Form 206E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                       page 19 of 23
                  Case 25-10067-T Document 1 Filed in USBC ND/OK on 01/20/25 Page 126 of 191

Debtor        Asher Homes, LLC                                                                           Case number (if known)
             Name




 Part 2: Additional Page

3.74 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $3,836.25
                                                                       Check all that apply.
                                                                       ❑ Contingent
         W Design LLC

         608 E 3rd St                                                  ❑ Unliquidated
         Tulsa, OK 74120
                                                                       ❑ Disputed
                                                                       Basis for the claim: Business Debt

                                              2024                     Is the claim subject to offset?
                                                                       ✔ No
         Date or dates debt was incurred
                                                                       ❑
         Last 4 digits of account number                               ❑ Yes
3.75 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              unknown
                                                                       Check all that apply.
                                                                       ❑ Contingent
         Watkins Sand Co, Inc.

         PO Box Box 687                                                ❑ Unliquidated
         Bixby, OK 74008
                                                                       ❑ Disputed
                                                                       Basis for the claim: Business Debt

                                              2024                     Is the claim subject to offset?
                                                                       ✔ No
         Date or dates debt was incurred
                                                                       ❑
         Last 4 digits of account number                               ❑ Yes
3.76 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $18,490.54
                                                                       Check all that apply.
                                                                       ❑ Contingent
         Whitacre Glass Works

         8177 E 44th St                                                ❑ Unliquidated
         Tulsa, OK 74145
                                                                       ❑ Disputed
                                                                       Basis for the claim: Business Debt

                                              2024                     Is the claim subject to offset?
                                                                       ✔ No
         Date or dates debt was incurred
                                                                       ❑
         Last 4 digits of account number                               ❑ Yes
         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:              $13,960.00
3.77                                                                   Check all that apply.
                                                                       ❑ Contingent
         Zip Zoom Drywall LLC

         PO Box 243                                                    ❑ Unliquidated
         Skiatook, OK 74070
                                                                       ❑ Disputed
                                                                       Basis for the claim: Business Debt

                                              2024                     Is the claim subject to offset?
                                                                       ✔ No
         Date or dates debt was incurred
                                                                       ❑
         Last 4 digits of account number                               ❑ Yes




Official Form 206E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                       page 20 of 23
                   Case 25-10067-T Document 1 Filed in USBC ND/OK on 01/20/25 Page 127 of 191

Debtor        Asher Homes, LLC                                                                                Case number (if known)
              Name

 Part 3: List Others to Be Notified About Unsecured Claims

 4.     List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection
        agencies, assignees of claims listed above, and attorneys for unsecured creditors.
      If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.


          Name and mailing address                                                     On which line in Part 1 or Part 2 is the related         Last 4 digits of
                                                                                       creditor (if any) listed?                                account number,
                                                                                                                                                if any

 4.1     Doerner Saunders Daniel and Anderson                                        Line 3.52

         Two West Second Street Suite 700                                            ❑ Not listed. Explain
         Attn David Herrold
         Tulsa, OK 74103-0000

 4.2     Doerner Saunders Daniel and Anderson                                        Line 3.62

         Two West Second Street Suite 700                                            ❑ Not listed. Explain
         Attn David Herrold
         Tulsa, OK 74103-0000

 4.3     Doerner Saunders Daniel and Anderson                                        Line 3.23

         Two West Second Street Suite 700                                            ❑ Not listed. Explain
         Attn David Herrold
         Tulsa, OK 74103-0000

 4.4     Doerner, Saunders, Daniel & Anderson,LLP                                    Line 3.59

         2 W. Second St. Suite 700                                                   ❑ Not listed. Explain
         Tulsa, OK 74114-0000

 4.5     Greg A Metzer                                                               Line 3.62

         1 South Broadway Ste 100                                                    ❑ Not listed. Explain
         Edmond, OK 73034-0000

 4.6     Mark Lyons                                                                  Line 3.56

         616 S. Main Ste. 201                                                        ❑ Not listed. Explain
         Tulsa, OK 74119-0000

 4.7     Metzer and Austin PLLC                                                      Line 3.52

         1 South Broadway Suite 100                                                  ❑ Not listed. Explain
         Edmond, OK 73034-0000




Official Form 206E/F                                       Schedule E/F: Creditors Who Have Unsecured Claims                                           page 21 of 23
                Case 25-10067-T Document 1 Filed in USBC ND/OK on 01/20/25 Page 128 of 191

Debtor       Asher Homes, LLC                                                       Case number (if known)
            Name

 Part 3: Additional Page

 4.8     Shannon McMurray                                   Line 3.1

         3015 E. Skelly Dr 324                              ❑ Not listed. Explain
         Tulsa, OK 74105




Official Form 206E/F                  Schedule E/F: Creditors Who Have Unsecured Claims                      page 22 of 23
                 Case 25-10067-T Document 1 Filed in USBC ND/OK on 01/20/25 Page 129 of 191

Debtor       Asher Homes, LLC                                                                     Case number (if known)
            Name

 Part 4: Total Amounts of the Priority and Nonpriority Unsecured Claims


  5.     Add the amounts of priority and nonpriority unsecured claims.


                                                                                                   Total of claim amounts



  5a. Total claims from Part 1                                                     5a.              $0.00



  5b. Total claims from Part 2                                                     5b.
                                                                                          +         $951,995.12



  5c. Total of Parts 1 and 2                                                       5c.              $951,995.12
      Lines 5a + 5b = 5c.




Official Form 206E/F                                  Schedule E/F: Creditors Who Have Unsecured Claims                     page 23 of 23
                  Case 25-10067-T Document 1 Filed in USBC ND/OK on 01/20/25 Page 130 of 191

 Fill in this information to identify the case:

 Debtor name                             Asher Homes, LLC

 United States Bankruptcy Court for the:
                          Northern District of Oklahoma

 Case number (if known):                                    Chapter     11                                                        ❑ Check if this is an
                                                                                                                                     amended filing

Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                           12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, numbering the entries
consecutively.
 1.    Does the debtor have any executory contracts or unexpired leases?
       ❑ No. Check this box and file this form with the court with the debtor’s other schedules. There is nothing else to report on this form.
       ✔ Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Assets - Real and Personal Property (Official Form
       ❑
       206A/B).
 2. List all contracts and unexpired leases                                               State the name and mailing address for all other parties with whom the
                                                                                          debtor has an executory contract or unexpired lease

       State what the contract or
                                             Home Construction Contract                   Andrew and Britney Dye
2.1    lease is for and the nature
       of the debtor’s interest
                                             Contract to be ASSUMED

       State the term remaining              0 months

       List the contract number of
       any government contract

       State what the contract or
                                             Deed in Lieu of Foreclosure                  City National Bank and Trust Company
2.2    lease is for and the nature
       of the debtor’s interest
                                             Agreement
                                                                                          500 SW D Ave.
                                             Contract to be ASSUMED
                                                                                          Lawton, OK 73501
       State the term remaining              0 months

       List the contract number of
       any government contract

       State what the contract or
                                             Home Construction Contract                   David and Stacy Hillstrom
2.3    lease is for and the nature
       of the debtor’s interest
                                             Contract to be ASSUMED

       State the term remaining              0 months

       List the contract number of
       any government contract

       State what the contract or
                                             Home Construction Contract                   Jeffrey and Laurel Roberts
2.4    lease is for and the nature
       of the debtor’s interest
                                             Contract to be ASSUMED

       State the term remaining              0 months

       List the contract number of
       any government contract




Official Form 206G                                   Schedule G: Executory Contracts and Unexpired Leases                                                 page 1 of 2
                Case 25-10067-T Document 1 Filed in USBC ND/OK on 01/20/25 Page 131 of 191


Debtor      Asher Homes, LLC                                                                        Case number (if known)
           Name

         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

      Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

   List all contracts and unexpired leases                                         State the name and mailing address for all other parties with whom the
                                                                                   debtor has an executory contract or unexpired lease

         State what the contract or
                                         Home Construction Contract                 Mahammad Rohail Khan and Douaa Nayeab Tahir
2.5      lease is for and the nature
         of the debtor’s interest
                                         Contract to be ASSUMED

         State the term remaining        0 months

         List the contract number of
         any government contract

         State what the contract or
                                         Home Construction Contract                 Mark and Leslie Applebaum
2.6      lease is for and the nature
         of the debtor’s interest
                                         Contract to be ASSUMED

         State the term remaining        0 months

         List the contract number of
         any government contract

         State what the contract or
                                         Home Construction Contract                 Nabeel Mahmood
2.7      lease is for and the nature
         of the debtor’s interest                                                   2005 W. Huntsville Place
                                         Contract to be ASSUMED
                                                                                    Broken Arrow, OK 74011
         State the term remaining        0 months

         List the contract number of
         any government contract

         State what the contract or
                                         Home Construction Contract                 Nikolaus and Jenna Prescott
2.8      lease is for and the nature
         of the debtor’s interest

         State the term remaining        0 months

         List the contract number of
         any government contract




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                        page 2 of 2
             Case 25-10067-T Document 1 Filed in USBC ND/OK on 01/20/25 Page 132 of 191
 Fill in this information to identify the case:

  Debtor name          Asher Homes, LLC


  United States Bankruptcy Court for the:             Northern           District of        Oklahoma
                                                                                       (State)
  Case number (If known):                                                                                                            ❑ Check if this is an
                                                                                                                                          amended filing


Official Form 206H

Schedule H: Codebtors                                                                                                                                      12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively.
Attach the Additional Page to this page.


  1.    Does the debtor have any codebtors?
        ❑ No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
        ✔ Yes
        ❑
  2.    In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of creditors,
        Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule on which the
        creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.

         Column 1: Codebtor                                                                            Column 2: Creditor

                                                                                                                                      Check all schedules
         Name                               Mailing address                                            Name
                                                                                                                                      that apply:

                                                                                                       Emily and Spencer              ✔D
                                                                                                                                      ❑
 2.1     Daniel Ruhl                         9128 S BRADEN AVE STE 201                                 Roberts                        ❑ E/F
                                            Street                                                                                    ❑G
                                                                                                       Emily and Spencer              ✔D
                                                                                                                                      ❑
                                                                                                       Roberts                        ❑ E/F
                                             Tulsa, OK 74137
                                                                                                                                      ❑G
                                            City                 State                  ZIP Code

                                                                                                       Emily and Spencer              ✔D
                                                                                                                                      ❑
                                                                                                       Roberts                        ❑ E/F
                                                                                                                                      ❑G
                                                                                                       Emily and Spencer              ✔D
                                                                                                                                      ❑
                                                                                                       Roberts                        ❑ E/F
                                                                                                                                      ❑G
                                                                                                       Emily and Spencer              ✔D
                                                                                                                                      ❑
                                                                                                       Roberts                        ❑ E/F
                                                                                                                                      ❑G
                                                                                                       Emily and Spencer              ✔D
                                                                                                                                      ❑
                                                                                                       Roberts                        ❑ E/F
                                                                                                                                      ❑G
                                                                                                       Emily and Spencer              ✔D
                                                                                                                                      ❑
                                                                                                       Roberts                        ❑ E/F
                                                                                                                                      ❑G
                                                                                                       City National Bank             ✔D
                                                                                                                                      ❑
                                                                                                       and Trust Company              ❑ E/F
                                                                                                                                      ❑G




Official Form 206H                                                Schedule H: Codebtors                                                        page 1 of    7
           Case 25-10067-T Document 1 Filed in USBC ND/OK on 01/20/25 Page 133 of 191
Debtor       Asher Homes, LLC                                                            Case number (if known)
            Name


                 Additional Page if Debtor Has More Codebtors

                Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

         Column 1: Codebtor                                                                     Column 2: Creditor

                                                                                                                             Check all schedules
         Name                         Mailing address                                           Name
                                                                                                                             that apply:

                                                                                                City National Bank           ✔D
                                                                                                                             ❑
                                                                                                and Trust Company            ❑ E/F
                                                                                                                             ❑G
                                                                                                Mill Creek Lumber Co.        ❑D
                                                                                                                             ✔ E/F
                                                                                                                             ❑
                                                                                                                             ❑G
                                                                                                Thomas and Gara              ❑D
                                                                                                Hurd                         ✔ E/F
                                                                                                                             ❑
                                                                                                                             ❑G
                                                                                                Santhosh Umapathy            ✔D
                                                                                                                             ❑
                                                                                                and Lakshmi                  ❑ E/F
                                                                                                Nagarajan                    ❑G
                                                                                                Tony Parker                  ❑D
                                                                                                                             ✔ E/F
                                                                                                                             ❑
                                                                                                                             ❑G
                                                                                                Fabian Pineda                ❑D
                                                                                                                             ✔ E/F
                                                                                                                             ❑
                                                                                                                             ❑G
                                                                                                Lucas Raith and              ❑D
                                                                                                Jennifer Abernathy           ✔ E/F
                                                                                                                             ❑
                                                                                                                             ❑G
                                                                                                Bradley and Bailey           ❑D
                                                                                                Gaines                       ✔ E/F
                                                                                                                             ❑
                                                                                                                             ❑G
                                                                                                Selva Prakash Raman          ❑D
                                                                                                                             ✔ E/F
                                                                                                                             ❑
                                                                                                                             ❑G
                                                                                                Kalli Hannah and Kyle        ❑D
                                                                                                WIlber                       ✔ E/F
                                                                                                                             ❑
                                                                                                                             ❑G
                                                                                                New Plumbing LLC             ❑D
                                                                                                                             ✔ E/F
                                                                                                                             ❑
                                                                                                                             ❑G
                                                                                                City National Bank           ✔D
                                                                                                                             ❑
                                                                                                and Trust Company            ❑ E/F
                                                                                                                             ❑G




Official Form 206H                                             Schedule H: Codebtors                                             page   2   of     7
           Case 25-10067-T Document 1 Filed in USBC ND/OK on 01/20/25 Page 134 of 191
Debtor       Asher Homes, LLC                                                             Case number (if known)
            Name


                 Additional Page if Debtor Has More Codebtors

                Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

         Column 1: Codebtor                                                                     Column 2: Creditor

                                                                                                                             Check all schedules
         Name                         Mailing address                                           Name
                                                                                                                             that apply:

         Paradygm                                                                                Lucas Raith and             ❑D
 2.2     Development LLC              8630 S Peoria Ave                                          Jennifer Abernathy          ✔ E/F
                                                                                                                             ❑
                                      Street                                                                                 ❑G
                                                                                                 Bradley and Bailey          ❑D
                                                                                                 Gaines                      ✔ E/F
                                                                                                                             ❑
                                      Tulsa, OK 74132
                                                                                                                             ❑G
                                      City                   State             ZIP Code

         Precision Project                                                                       Emily and Spencer           ✔D
                                                                                                                             ❑
 2.3     Management                   9128 S BRADEN AVE STE 201                                  Roberts                     ❑ E/F
                                      Street                                                                                 ❑G
                                                                                                 Emily and Spencer           ✔D
                                                                                                                             ❑
                                                                                                 Roberts                     ❑ E/F
                                      Tulsa, OK 74137
                                                                                                                             ❑G
                                      City                   State             ZIP Code

                                                                                                 Emily and Spencer           ✔D
                                                                                                                             ❑
                                                                                                 Roberts                     ❑ E/F
                                                                                                                             ❑G
                                                                                                 Emily and Spencer           ✔D
                                                                                                                             ❑
                                                                                                 Roberts                     ❑ E/F
                                                                                                                             ❑G
                                                                                                 Emily and Spencer           ✔D
                                                                                                                             ❑
                                                                                                 Roberts                     ❑ E/F
                                                                                                                             ❑G
                                                                                                 Emily and Spencer           ✔D
                                                                                                                             ❑
                                                                                                 Roberts                     ❑ E/F
                                                                                                                             ❑G
                                                                                                 Emily and Spencer           ✔D
                                                                                                                             ❑
                                                                                                 Roberts                     ❑ E/F
                                                                                                                             ❑G
                                                                                                 Lucas Raith and             ❑D
                                                                                                 Jennifer Abernathy          ✔ E/F
                                                                                                                             ❑
                                                                                                                             ❑G
                                                                                                 Bradley and Bailey          ❑D
                                                                                                 Gaines                      ✔ E/F
                                                                                                                             ❑
                                                                                                                             ❑G
                                                                                                 New Plumbing LLC            ❑D
                                                                                                                             ✔ E/F
                                                                                                                             ❑
                                                                                                                             ❑G




Official Form 206H                                             Schedule H: Codebtors                                             page   3   of     7
           Case 25-10067-T Document 1 Filed in USBC ND/OK on 01/20/25 Page 135 of 191
Debtor       Asher Homes, LLC                                                             Case number (if known)
            Name


                 Additional Page if Debtor Has More Codebtors

                Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

         Column 1: Codebtor                                                                     Column 2: Creditor

                                                                                                                             Check all schedules
         Name                         Mailing address                                           Name
                                                                                                                             that apply:

                                                                                                 Emily and Spencer           ✔D
                                                                                                                             ❑
 2.4     Ruhl Construction LLC        9128 S BRADEN AVE STE 201                                  Roberts                     ❑ E/F
                                      Street                                                                                 ❑G
                                                                                                 Emily and Spencer           ✔D
                                                                                                                             ❑
                                                                                                 Roberts                     ❑ E/F
                                      Tulsa, OK 74137
                                                                                                                             ❑G
                                      City                   State             ZIP Code

                                                                                                 Emily and Spencer           ✔D
                                                                                                                             ❑
                                                                                                 Roberts                     ❑ E/F
                                                                                                                             ❑G
                                                                                                 Emily and Spencer           ✔D
                                                                                                                             ❑
                                                                                                 Roberts                     ❑ E/F
                                                                                                                             ❑G
                                                                                                 Emily and Spencer           ✔D
                                                                                                                             ❑
                                                                                                 Roberts                     ❑ E/F
                                                                                                                             ❑G
                                                                                                 Emily and Spencer           ✔D
                                                                                                                             ❑
                                                                                                 Roberts                     ❑ E/F
                                                                                                                             ❑G
                                                                                                 Emily and Spencer           ✔D
                                                                                                                             ❑
                                                                                                 Roberts                     ❑ E/F
                                                                                                                             ❑G
                                                                                                 Hummingbird Electric        ✔D
                                                                                                                             ❑
                                                                                                 Inc                         ❑ E/F
                                                                                                                             ❑G
                                                                                                 Mill Creek Lumber Co.       ❑D
                                                                                                                             ✔ E/F
                                                                                                                             ❑
                                                                                                                             ❑G
                                                                                                 Thomas and Gara             ❑D
                                                                                                 Hurd                        ✔ E/F
                                                                                                                             ❑
                                                                                                                             ❑G
                                                                                                 Santhosh Umapathy           ✔D
                                                                                                                             ❑
                                                                                                 and Lakshmi                 ❑ E/F
                                                                                                 Nagarajan                   ❑G
                                                                                                 BancFirst                   ❑D
                                                                                                                             ✔ E/F
                                                                                                                             ❑
                                                                                                                             ❑G
                                                                                                 Lucas Raith and             ❑D
                                                                                                 Jennifer Abernathy          ✔ E/F
                                                                                                                             ❑
                                                                                                                             ❑G
                                                                                                 Bradley and Bailey          ❑D
                                                                                                 Gaines                      ✔ E/F
                                                                                                                             ❑
                                                                                                                             ❑G

Official Form 206H                                             Schedule H: Codebtors                                             page   4   of     7
           Case 25-10067-T Document 1 Filed in USBC ND/OK on 01/20/25 Page 136 of 191
Debtor       Asher Homes, LLC                                                             Case number (if known)
            Name


                 Additional Page if Debtor Has More Codebtors

                Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

         Column 1: Codebtor                                                                     Column 2: Creditor

                                                                                                                             Check all schedules
         Name                         Mailing address                                           Name
                                                                                                                             that apply:

                                                                                                 Kalli Hannah and Kyle       ❑D
                                                                                                 WIlber                      ✔ E/F
                                                                                                                             ❑
                                                                                                                             ❑G
                                                                                                 Sharod Tanden               ❑D
                                                                                                                             ✔ E/F
                                                                                                                             ❑
                                                                                                                             ❑G
                                                                                                 The Womble                  ❑D
                                                                                                 Company dba Pella of        ✔ E/F
                                                                                                                             ❑
                                                                                                 Ok                          ❑G
                                                                                                 New Plumbing LLC            ❑D
                                                                                                                             ✔ E/F
                                                                                                                             ❑
                                                                                                                             ❑G
                                                                                                 Virginia Neel and           ❑D
                                                                                                 Virginia Neel               ✔ E/F
                                                                                                                             ❑
                                                                                                 Revocable Mgmt Trust        ❑G

                                                                                                 Emily and Spencer           ✔D
                                                                                                                             ❑
 2.5     Ruhl Properties LLC          9128 S BRADEN AVE STE 201                                  Roberts                     ❑ E/F
                                      Street                                                                                 ❑G
                                                                                                 Emily and Spencer           ✔D
                                                                                                                             ❑
                                                                                                 Roberts                     ❑ E/F
                                      Tulsa, OK 74137
                                                                                                                             ❑G
                                      City                   State             ZIP Code

                                                                                                 Emily and Spencer           ✔D
                                                                                                                             ❑
                                                                                                 Roberts                     ❑ E/F
                                                                                                                             ❑G
                                                                                                 Emily and Spencer           ✔D
                                                                                                                             ❑
                                                                                                 Roberts                     ❑ E/F
                                                                                                                             ❑G
                                                                                                 Emily and Spencer           ✔D
                                                                                                                             ❑
                                                                                                 Roberts                     ❑ E/F
                                                                                                                             ❑G
                                                                                                 Emily and Spencer           ✔D
                                                                                                                             ❑
                                                                                                 Roberts                     ❑ E/F
                                                                                                                             ❑G
                                                                                                 Emily and Spencer           ✔D
                                                                                                                             ❑
                                                                                                 Roberts                     ❑ E/F
                                                                                                                             ❑G
                                                                                                 Santhosh Umapathy           ✔D
                                                                                                                             ❑
                                                                                                 and Lakshmi                 ❑ E/F
                                                                                                 Nagarajan                   ❑G



Official Form 206H                                             Schedule H: Codebtors                                             page   5   of     7
           Case 25-10067-T Document 1 Filed in USBC ND/OK on 01/20/25 Page 137 of 191
Debtor       Asher Homes, LLC                                                             Case number (if known)
            Name


                 Additional Page if Debtor Has More Codebtors

                Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

         Column 1: Codebtor                                                                     Column 2: Creditor

                                                                                                                             Check all schedules
         Name                         Mailing address                                           Name
                                                                                                                             that apply:

                                                                                                 Lucas Raith and             ❑D
                                                                                                 Jennifer Abernathy          ✔ E/F
                                                                                                                             ❑
                                                                                                                             ❑G
                                                                                                 Kalli Hannah and Kyle       ❑D
                                                                                                 WIlber                      ✔ E/F
                                                                                                                             ❑
                                                                                                                             ❑G
                                                                                                 New Plumbing LLC            ❑D
                                                                                                                             ✔ E/F
                                                                                                                             ❑
                                                                                                                             ❑G
                                                                                                 Emily and Spencer           ✔D
                                                                                                                             ❑
 2.6     Ruhl, Daniel                 9128 S BRADEN AVE STE 201                                  Roberts                     ❑ E/F
                                      Street                                                                                 ❑G
                                                                                                 Emily and Spencer           ✔D
                                                                                                                             ❑
                                                                                                 Roberts                     ❑ E/F
                                      Tulsa, OK 74137
                                                                                                                             ❑G
                                      City                   State             ZIP Code

                                                                                                 Emily and Spencer           ✔D
                                                                                                                             ❑
                                                                                                 Roberts                     ❑ E/F
                                                                                                                             ❑G
                                                                                                 Emily and Spencer           ✔D
                                                                                                                             ❑
                                                                                                 Roberts                     ❑ E/F
                                                                                                                             ❑G
                                                                                                 Emily and Spencer           ✔D
                                                                                                                             ❑
                                                                                                 Roberts                     ❑ E/F
                                                                                                                             ❑G
                                                                                                 Emily and Spencer           ✔D
                                                                                                                             ❑
                                                                                                 Roberts                     ❑ E/F
                                                                                                                             ❑G
                                                                                                 Emily and Spencer           ✔D
                                                                                                                             ❑
                                                                                                 Roberts                     ❑ E/F
                                                                                                                             ❑G
                                                                                                 City National Bank          ✔D
                                                                                                                             ❑
                                                                                                 and Trust Company           ❑ E/F
                                                                                                                             ❑G
                                                                                                 City National Bank          ✔D
                                                                                                                             ❑
                                                                                                 and Trust Company           ❑ E/F
                                                                                                                             ❑G
                                                                                                 Mill Creek Lumber Co.       ❑D
                                                                                                                             ✔ E/F
                                                                                                                             ❑
                                                                                                                             ❑G
                                                                                                 Thomas and Gara             ❑D
                                                                                                 Hurd                        ✔ E/F
                                                                                                                             ❑
                                                                                                                             ❑G

Official Form 206H                                             Schedule H: Codebtors                                             page   6   of     7
           Case 25-10067-T Document 1 Filed in USBC ND/OK on 01/20/25 Page 138 of 191
Debtor       Asher Homes, LLC                                                            Case number (if known)
            Name


                 Additional Page if Debtor Has More Codebtors

                Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

         Column 1: Codebtor                                                                     Column 2: Creditor

                                                                                                                             Check all schedules
         Name                         Mailing address                                           Name
                                                                                                                             that apply:

                                                                                                Santhosh Umapathy            ✔D
                                                                                                                             ❑
                                                                                                and Lakshmi                  ❑ E/F
                                                                                                Nagarajan                    ❑G
                                                                                                Tony Parker                  ❑D
                                                                                                                             ✔ E/F
                                                                                                                             ❑
                                                                                                                             ❑G
                                                                                                Fabian Pineda                ❑D
                                                                                                                             ✔ E/F
                                                                                                                             ❑
                                                                                                                             ❑G
                                                                                                Lucas Raith and              ❑D
                                                                                                Jennifer Abernathy           ✔ E/F
                                                                                                                             ❑
                                                                                                                             ❑G
                                                                                                Bradley and Bailey           ❑D
                                                                                                Gaines                       ✔ E/F
                                                                                                                             ❑
                                                                                                                             ❑G
                                                                                                Selva Prakash Raman          ❑D
                                                                                                                             ✔ E/F
                                                                                                                             ❑
                                                                                                                             ❑G
                                                                                                Kalli Hannah and Kyle        ❑D
                                                                                                WIlber                       ✔ E/F
                                                                                                                             ❑
                                                                                                                             ❑G
                                                                                                New Plumbing LLC             ❑D
                                                                                                                             ✔ E/F
                                                                                                                             ❑
                                                                                                                             ❑G
                                                                                                City National Bank           ✔D
                                                                                                                             ❑
                                                                                                and Trust Company            ❑ E/F
                                                                                                                             ❑G




Official Form 206H                                             Schedule H: Codebtors                                             page   7   of     7
                       Case 25-10067-T Document 1 Filed in USBC ND/OK on 01/20/25 Page 139 of 191


 Fill in this information to identify the case:

 Debtor name                                           Asher Homes, LLC

 United States Bankruptcy Court for the:
                                   Northern District of Oklahoma

 Case number (if known):                                                                 Chapter           11                                                                                     ❑ Check if this is an
                                                                                                                                                                                                      amended filing

Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                                        12/15

 Part 1: Summary of Assets



 1. Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

    1a. Real Property:
           Copy line 88 from Schedule A/B........................................................................................................................................                                $12,716,760.00

    1b. Total personal property:
           Copy line 91A from Schedule A/B......................................................................................................................................                                        $20,000.00
    1c. Total of all property:
           Copy line 92 from Schedule A/B.........................................................................................................................................
                                                                                                                                                                                                                 $12,736,760.00




  Part 2: Summary of Liabilities




 2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
    Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D.................                                                                                                 $10,736,096.37


 3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

    3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F....................................................................................                                                               $0.00

    3b. Total amount of claims of non-priority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F......................................................                                                           +           $951,995.12




 4. Total liabilities..............................................................................................................................................................................              $11,688,091.49
    Lines 2 + 3a + 3b




Official Form 206Sum                                                                           Summary of Assets and Liabilities for Non-Individuals                                                                          page 1
                   Case 25-10067-T Document 1 Filed in USBC ND/OK on 01/20/25 Page 140 of 191

 Fill in this information to identify the case:

 Debtor name                             Asher Homes, LLC

 United States Bankruptcy Court for the:
                          Northern District of Oklahoma

 Case number (if known):                                                                                                       ❑ Check if this is an
                                                                                                                                   amended filing

Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                  04/22
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s
name and case number (if known).



 Part 1: Income


 1.     Gross revenue from business

         ❑ None
        Identify the beginning and ending dates of the debtor’s fiscal year, which         Sources of revenue                 Gross revenue
        may be a calendar year                                                             Check all that apply               (before deductions and
                                                                                                                              exclusions)

       From the beginning of the                                                         ✔ Operating a business
                                                                                         ❑                                                             $0.00
                                        From 01/01/2025
                                                                                         ❑ Other
       fiscal year to filing date:                                to    Filing date
                                                  MM/ DD/ YYYY


       For prior year:                  From 01/01/2024           to    12/31/2024       ✔ Operating a business
                                                                                         ❑                                                      unknown
                                                  MM/ DD/ YYYY            MM/ DD/ YYYY
                                                                                         ❑ Other                                                   $0.00


       For the year before that:        From 01/01/2023           to    12/31/2023       ✔ Operating a business
                                                                                         ❑                                                $25,360,557.00
                                                  MM/ DD/ YYYY            MM/ DD/ YYYY
                                                                                         ❑ Other


 2.     Non-business revenue
         Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits, and
         royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

         ✔ None
         ❑
                                                                                         Description of sources of revenue    Gross revenue from each
                                                                                                                              source
                                                                                                                              (before deductions and
                                                                                                                              exclusions)

      From the beginning of the
      fiscal year to filing date:      From 01/01/2025           to    Filing date
                                                  MM/ DD/ YYYY


      For prior year:                  From 01/01/2024           to    12/31/2024
                                                  MM/ DD/ YYYY           MM/ DD/ YYYY


      For the year before that:        From 01/01/2023           to    12/31/2023
                                                  MM/ DD/ YYYY           MM/ DD/ YYYY



Official Form 207                                  Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                page 1
Debtor
                    Case 25-10067-T Document 1 Filed in USBC ND/OK on 01/20/25 Page 141 of 191
                 Asher Homes, LLC                                                                              Case number (if known)
                 Name

 Part 2: List Certain Transfers Made Before Filing for Bankruptcy
 3.     Certain payments or transfers to creditors within 90 days before filing this case
        List payments or transfers—including expense reimbursements—to any creditor, other than regular employee compensation, within 90 days before filing
        this case unless the aggregate value of all property transferred to that creditor is less than $7,575. (This amount may be adjusted on 4/01/25 and every 3
        years after that with respect to cases filed on or after the date of adjustment.)

        ❑ None
         Creditor’s name and address                       Dates             Total amount or value           Reasons for payment or transfer
                                                                                                             Check all that apply

 3.1.   See attached list                                                                         -          ✔ Secured debt
                                                                                                             ❑
        Creditor's name                                                                                      ❑ Unsecured loan repayments
                                                                                                             ❑ Suppliers or vendors
        Street
                                                                                                             ❑ Services
                                                                                                             ❑ Other

        City                        State    ZIP Code

 3.2.   City National Bank and Trust                                            Agreement for                ✔ Secured debt
                                                                                                             ❑
        Company                                                                 Deed in Lieu in              ❑ Unsecured loan repayments
                                                                                                             ❑ Suppliers or vendors
        Creditor's name                                                          exchange for
                                                                                    release of
                                                                                                             ❑ Services
        500 SW D Ave.
        Street                                                                     guarantees
                                                                                                             ❑ Other

        Lawton, OK 73501
        City                        State    ZIP Code



 4.     Payments or other transfers of property made within 1 year before filing this case that benefited any insider
        List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed or
        co-signed by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $7,575. (This amount may be
        adjusted on 4/01/25 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments listed in line 3.
        Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership debtor and their
        relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).
        ❑ None
         Insider’s name and address                        Dates             Total amount or value           Reasons for payment or transfer


 4.1.   Daniel Ruhl                                        2023                      $113,632.00             per K1
        Creditor's name
        4920 E. 105th Street
        Street



        Tulsa, OK 74137-6020
        City                        State    ZIP Code

         Relationship to debtor

        Manager/Member




Official Form 207                              Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                         page 2
Debtor
                    Case 25-10067-T Document 1 Filed in USBC ND/OK on 01/20/25 Page 142 of 191
                 Asher Homes, LLC                                                                                 Case number (if known)
                 Name



 5.     Repossessions, foreclosures, and returns
        List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at a
        foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.
        ❑ None
         Creditor’s name and address                        Description of the property                                Date                    Value of property


 5.1.   See attached list
        Creditor's name


        Street




        City                        State     ZIP Code



 6.     Setoffs
        List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account of the
        debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a debt.
        ✔ None
        ❑
         Creditor’s name and address                        Description of the action creditor took                    Date action was         Amount
                                                                                                                       taken

 6.1.
        Creditor's name
                                                             XXXX–
        Street




        City                        State     ZIP Code




 Part 3: Legal Actions or Assignments
 7.     Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
        List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved in any
        capacity—within 1 year before filing this case.
        ❑ None
 7.1.    Case title                              Nature of case                          Court or agency's name and address                    Status of case

        Thomas and Gara Hurd v.                 Civil                                   Rogers County                                         ✔ Pending
                                                                                                                                              ❑
        Asher Homes et al                                                               Name
                                                                                                                                              ❑ On appeal
                                                                                                                                              ❑ Concluded
                                                                                        200 S Lynn Riggs Blvd
                                                                                        Street
         Case number

        CJ 2023-288                                                                     Claremore, OK 74017-7808
                                                                                        City                         State     ZIP Code




Official Form 207                               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                             page 3
Debtor
                  Case 25-10067-T Document 1 Filed in USBC ND/OK on 01/20/25 Page 143 of 191
             Asher Homes, LLC                                                                 Case number (if known)
             Name
 7.2.    Case title               Nature of case                       Court or agency's name and address               Status of case

        1800Water Damage of       Civil                               Rogers County                                     ✔ Pending
                                                                                                                        ❑
        Greater NW Tulsa and                                          Name
                                                                                                                        ❑ On appeal
        Owasso v Asher Homes
                                                                                                                        ❑ Concluded
                                                                      200 S Lynn Riggs Blvd
        et al                                                         Street


         Case number                                                  Claremore, OK 74017-7808
                                                                      City                       State       ZIP Code
        CJ 2024-11
 7.3.    Case title               Nature of case                       Court or agency's name and address               Status of case

        Emily and Spencer         Civil                               Rogers County                                     ✔ Pending
                                                                                                                        ❑
        Roberts v. Asher Homes                                        Name
                                                                                                                        ❑ On appeal
        et al
                                                                                                                        ❑ Concluded
                                                                      200 S Lynn Riggs Blvd
                                                                      Street

         Case number
                                                                      Claremore, OK 74017-7808
        CJ 2024-22                                                    City                       State       ZIP Code

 7.4.    Case title               Nature of case                       Court or agency's name and address               Status of case

        Mabrey Bank v. Asher      Civil                               Rogers County                                     ✔ Pending
                                                                                                                        ❑
        Homes et al                                                   Name
                                                                                                                        ❑ On appeal
                                                                                                                        ❑ Concluded
                                                                      200 S Lynn Riggs Blvd
                                                                      Street
         Case number

        CJ 2024-248                                                   Claremore, OK 74017-7808
                                                                      City                       State       ZIP Code

 7.5.    Case title               Nature of case                       Court or agency's name and address               Status of case

        Pradeep Pottumuth v       Small Claims                        District Court of Tulsa County                    ✔ Pending
                                                                                                                        ❑
        Eagle Lending                                                 Name
                                                                                                                        ❑ On appeal
                                                                                                                        ❑ Concluded
                                                                      500 S Denver Ave
                                                                      Street
         Case number

        SC 2025-203                                                   Tulsa, OK 74103-3838
                                                                      City                       State       ZIP Code

 7.6.    Case title               Nature of case                       Court or agency's name and address               Status of case

        Santhosh Umapathy et al   Civil                               District Court of Tulsa County                    ✔ Pending
                                                                                                                        ❑
        v. Asher Homes et al                                          Name
                                                                                                                        ❑ On appeal
                                                                                                                        ❑ Concluded
                                                                      500 S Denver Ave
                                                                      Street
         Case number

        CJ 2024-4743                                                  Tulsa, OK 74103-3838
                                                                      City                       State       ZIP Code

 7.7.    Case title               Nature of case                       Court or agency's name and address               Status of case

        Tony Parker v. Asher      Small Claims                        District Court of Tulsa County                    ❑ Pending
        Homes lLC and Daniel                                          Name
                                                                                                                        ❑ On appeal
        Ruhl                                                          500 S Denver Ave
                                                                      Street
                                                                                                                        ✔ Concluded
                                                                                                                        ❑
         Case number
                                                                      Tulsa, OK 74103-3838
        SC 2024-16357                                                 City                       State       ZIP Code




Official Form 207                 Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                               page 4
Debtor
                 Case 25-10067-T Document 1 Filed in USBC ND/OK on 01/20/25 Page 144 of 191
             Asher Homes, LLC                                                                   Case number (if known)
             Name
 7.8.    Case title                 Nature of case                        Court or agency's name and address              Status of case

         BancFirst v. Asher Homes   Civil                                District Court of Tulsa County                   ✔ Pending
                                                                                                                          ❑
         et al                                                           Name
                                                                                                                          ❑ On appeal
                                                                                                                          ❑ Concluded
                                                                         500 S Denver Ave
                                                                         Street
         Case number

         CJ 2024-3760                                                    Tulsa, OK 74103-3838
                                                                         City                      State       ZIP Code

 7.9.    Case title                 Nature of case                        Court or agency's name and address              Status of case

         Fabian Pineda v. Asher     Civil                                Tulsa County District Court                      ✔ Pending
                                                                                                                          ❑
         Homes et al                                                     Name
                                                                                                                          ❑ On appeal
                                                                                                                          ❑ Concluded
                                                                         500 S Denver Ave
                                                                         Street
         Case number
                                                                         Suite 109
         CJ 2024-3581                                                    Tulsa, OK 74103-3838
                                                                         City                      State       ZIP Code

 7.10.   Case title                 Nature of case                        Court or agency's name and address              Status of case

         James Cinocca III vs.      Small Claims                         District Court of Tulsa County                   ❑ Pending
         Asher Homes LLC                                                 Name
                                                                                                                          ❑ On appeal
                                                                         500 S Denver Ave
                                                                         Street
                                                                                                                          ✔ Concluded
                                                                                                                          ❑
         Case number

         SC 2024-12852                                                   Tulsa, OK 74103-3838
                                                                         City                      State       ZIP Code

 7.11.   Case title                 Nature of case                        Court or agency's name and address              Status of case

         Lucas Raith and Jennifer   Civil                                Tulsa County District Court                      ✔ Pending
                                                                                                                          ❑
         Abernathy v Asher Homes                                         Name
                                                                                                                          ❑ On appeal
         et al
                                                                                                                          ❑ Concluded
                                                                         500 S Denver Ave
                                                                         Street

         Case number                                                     Suite 109
                                                                         Tulsa, OK 74103-3838
         CJ 2024-3309                                                    City                      State       ZIP Code

 7.12.   Case title                 Nature of case                        Court or agency's name and address              Status of case

         Bradley & Bailey Gaines    Civil                                District Court of Tulsa County                   ✔ Pending
                                                                                                                          ❑
         v. Asher Homes et al                                            Name
                                                                                                                          ❑ On appeal
                                                                                                                          ❑ Concluded
                                                                         500 S Denver Ave
                                                                         Street
         Case number

         CJ 2024-3308                                                    Tulsa, OK 74103-3838
                                                                         City                      State       ZIP Code

 7.13.   Case title                 Nature of case                        Court or agency's name and address              Status of case

         PS Plumbing v. Asher       Civil                                District Court of Tulsa County                   ✔ Pending
                                                                                                                          ❑
         Homes LLC                                                       Name
                                                                                                                          ❑ On appeal
                                                                                                                          ❑ Concluded
                                                                         500 S Denver Ave
                                                                         Street
         Case number

         CJ 2024-3111                                                    Tulsa, OK 74103-3838
                                                                         City                      State       ZIP Code




Official Form 207                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                               page 5
Debtor
                 Case 25-10067-T Document 1 Filed in USBC ND/OK on 01/20/25 Page 145 of 191
             Asher Homes, LLC                                                                    Case number (if known)
             Name
 7.14.   Case title                  Nature of case                        Court or agency's name and address              Status of case

         Israel Antuna Jr and        Small Claims                         District Court of Tulsa County                   ❑ Pending
         Goldenwood Millwork v                                            Name
                                                                                                                           ❑ On appeal
         Asher Homes and Daniel
         Ruhl
                                                                          500 S Denver Ave
                                                                          Street
                                                                                                                           ✔ Concluded
                                                                                                                           ❑

         Case number                                                      Tulsa, OK 74103-3838
                                                                          City                      State       ZIP Code
         SC 2024-10723
 7.15.   Case title                  Nature of case                        Court or agency's name and address              Status of case

         Robinson Air Inc v. Asher   Civil                                District Court of Tulsa County                   ✔ Pending
                                                                                                                           ❑
         Homes LLC                                                        Name
                                                                                                                           ❑ On appeal
                                                                                                                           ❑ Concluded
                                                                          500 S Denver Ave
                                                                          Street
         Case number

         CJ 2024-2847                                                     Tulsa, OK 74103-3838
                                                                          City                      State       ZIP Code

 7.16.   Case title                  Nature of case                        Court or agency's name and address              Status of case

         City National Bank and      Civil                                District Court of Tulsa County                   ✔ Pending
                                                                                                                           ❑
         Trust Company v. Asher                                           Name
                                                                                                                           ❑ On appeal
         Homes LLC et al
                                                                                                                           ❑ Concluded
                                                                          500 S Denver Ave
                                                                          Street

         Case number
                                                                          Tulsa, OK 74103-3838
         CJ 2024-2693                                                     City                      State       ZIP Code

 7.17.   Case title                  Nature of case                        Court or agency's name and address              Status of case

         Standard Materials Group    Civil                                District Court of Tulsa County                   ✔ Pending
                                                                                                                           ❑
         Inc v. Asher Homes LLC                                           Name
                                                                                                                           ❑ On appeal
         et al
                                                                                                                           ❑ Concluded
                                                                          500 S Denver Ave
                                                                          Street

         Case number
                                                                          Tulsa, OK 74103-3838
         CJ 2024-2606                                                     City                      State       ZIP Code

 7.18.   Case title                  Nature of case                        Court or agency's name and address              Status of case

         Spirit Bank v. Asher        Civil                                District Court of Tulsa County                   ✔ Pending
                                                                                                                           ❑
         Homes LLC et al                                                  Name
                                                                                                                           ❑ On appeal
                                                                                                                           ❑ Concluded
                                                                          500 S Denver Ave
                                                                          Street
         Case number

         Cj 2024-2532                                                     Tulsa, OK 74103-3838
                                                                          City                      State       ZIP Code

 7.19.   Case title                  Nature of case                        Court or agency's name and address              Status of case

         Ellsworth Construction      Civil                                District Court of Tulsa County                   ❑ Pending
         LLC vs. Asher Homes                                              Name
                                                                                                                           ❑ On appeal
         LLC et al                                                        500 S Denver Ave
                                                                          Street
                                                                                                                           ✔ Concluded
                                                                                                                           ❑
         Case number
                                                                          Tulsa, OK 74103-3838
         CJ 2024-2377                                                     City                      State       ZIP Code




Official Form 207                    Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                               page 6
Debtor
                 Case 25-10067-T Document 1 Filed in USBC ND/OK on 01/20/25 Page 146 of 191
             Asher Homes, LLC                                                                    Case number (if known)
             Name
 7.20.   Case title                  Nature of case                        Court or agency's name and address              Status of case

         Selva Raman vs. Asher       Civil                                District Court of Tulsa County                   ✔ Pending
                                                                                                                           ❑
         Homes LLC et al                                                  Name
                                                                                                                           ❑ On appeal
                                                                                                                           ❑ Concluded
                                                                          500 S Denver Ave
                                                                          Street
         Case number

         CJ 2024-1854                                                     Tulsa, OK 74103-3838
                                                                          City                      State       ZIP Code

 7.21.   Case title                  Nature of case                        Court or agency's name and address              Status of case

         Ali Farooqui v. Asher       Small Claims                         District Court of Tulsa County                   ❑ Pending
         Homes LLC et al                                                  Name
                                                                                                                           ❑ On appeal
                                                                          500 S Denver Ave
                                                                          Street
                                                                                                                           ✔ Concluded
                                                                                                                           ❑
         Case number

         SC 2024-7162                                                     Tulsa, OK 74103-3838
                                                                          City                      State       ZIP Code

 7.22.   Case title                  Nature of case                        Court or agency's name and address              Status of case

         Free WIlly Trust v. Asher   Civil                                District Court of Tulsa County                   ✔ Pending
                                                                                                                           ❑
         Homes LLC                                                        Name
                                                                                                                           ❑ On appeal
                                                                                                                           ❑ Concluded
                                                                          500 S Denver Ave
                                                                          Street
         Case number

         CJ 2024-1407                                                     Tulsa, OK 74103-3838
                                                                          City                      State       ZIP Code

 7.23.   Case title                  Nature of case                        Court or agency's name and address              Status of case

         Kalli Hannah and Kyle       Civil                                District Court of Tulsa County                   ❑ Pending
         WIlber v. Asher Homes                                            Name
                                                                                                                           ❑ On appeal
         LLC et al                                                        500 S Denver Ave
                                                                          Street
                                                                                                                           ✔ Concluded
                                                                                                                           ❑
         Case number
                                                                          Tulsa, OK 74103-3838
         CJ 2024-1168                                                     City                      State       ZIP Code

 7.24.   Case title                  Nature of case                        Court or agency's name and address              Status of case

         Shard and Smrita Tandon     Civil                                District Court of Tulsa County                   ✔ Pending
                                                                                                                           ❑
         v. Asher Homes et al                                             Name
                                                                                                                           ❑ On appeal
                                                                                                                           ❑ Concluded
                                                                          500 S Denver Ave
                                                                          Street
         Case number

         CJ 2024-973                                                      Tulsa, OK 74103-3838
                                                                          City                      State       ZIP Code

 7.25.   Case title                  Nature of case                        Court or agency's name and address              Status of case

         The Womble Company vs       Civil                                District Court of Tulsa County                   ✔ Pending
                                                                                                                           ❑
         Asher Homes LLC et al                                            Name
                                                                                                                           ❑ On appeal
                                                                                                                           ❑ Concluded
                                                                          500 S Denver Ave
                                                                          Street
         Case number

         Cj 2023-7145                                                     Tulsa, OK 74103-3838
                                                                          City                      State       ZIP Code




Official Form 207                    Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                               page 7
Debtor
                 Case 25-10067-T Document 1 Filed in USBC ND/OK on 01/20/25 Page 147 of 191
             Asher Homes, LLC                                                                 Case number (if known)
             Name
 7.26.   Case title               Nature of case                        Court or agency's name and address              Status of case

         Paragonx Holdings Inc.   Civil                                District Court of Tulsa County                   ❑ Pending
                                                                       Name
                                                                                                                        ❑ On appeal
         Case number
                                                                       500 S Denver Ave
                                                                       Street
                                                                                                                        ✔ Concluded
                                                                                                                        ❑
         CJ 2023-4093
                                                                       Tulsa, OK 74103-3838
                                                                       City                      State       ZIP Code

 7.27.   Case title               Nature of case                        Court or agency's name and address              Status of case

         New Plumbing LLC v.      Civil                                District Court of Tulsa County                   ✔ Pending
                                                                                                                        ❑
         Asher Homes et al                                             Name
                                                                                                                        ❑ On appeal
                                                                                                                        ❑ Concluded
                                                                       500 S Denver Ave
                                                                       Street
         Case number

         CJ 2023-4039                                                  Tulsa, OK 74103-3838
                                                                       City                      State       ZIP Code

 7.28.   Case title               Nature of case                        Court or agency's name and address              Status of case

         Asher Homes v. Steven    Civil                                District Court of Tulsa County                   ✔ Pending
                                                                                                                        ❑
         Garrett Huie                                                  Name
                                                                                                                        ❑ On appeal
                                                                                                                        ❑ Concluded
                                                                       500 S Denver Ave
                                                                       Street
         Case number

         CJ 2023-3606                                                  Tulsa, OK 74103-3838
                                                                       City                      State       ZIP Code

 7.29.   Case title               Nature of case                        Court or agency's name and address              Status of case

         Justin and Marissa       Civil                                District Court of Tulsa County                   ✔ Pending
                                                                                                                        ❑
         Fengler v. Asher Homes                                        Name
                                                                                                                        ❑ On appeal
         LLC
                                                                                                                        ❑ Concluded
                                                                       500 S Denver Ave
                                                                       Street

         Case number
                                                                       Tulsa, OK 74103-3838
         CJ 2023-2763                                                  City                      State       ZIP Code

 7.30.   Case title               Nature of case                        Court or agency's name and address              Status of case

         Executive Homes LLC v.   Civil                                District Court of Tulsa County                   ✔ Pending
                                                                                                                        ❑
         Asher Homes et al                                             Name
                                                                                                                        ❑ On appeal
                                                                                                                        ❑ Concluded
                                                                       500 S Denver Ave
                                                                       Street
         Case number

         CJ 2023-2191                                                  Tulsa, OK 74103-3838
                                                                       City                      State       ZIP Code

 7.31.   Case title               Nature of case                        Court or agency's name and address              Status of case

         Asher Homes v. Adam      Civil                                District Court of Tulsa County                   ❑ Pending
         Barnes and Melissa                                            Name
                                                                                                                        ❑ On appeal
         Schmitt                                                       500 S Denver Ave
                                                                       Street
                                                                                                                        ✔ Concluded
                                                                                                                        ❑
         Case number
                                                                       Tulsa, OK 74103-3838
         CJ 2023-1493                                                  City                      State       ZIP Code




Official Form 207                 Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                               page 8
Debtor
                     Case 25-10067-T Document 1 Filed in USBC ND/OK on 01/20/25 Page 148 of 191
                  Asher Homes, LLC                                                                              Case number (if known)
                  Name
 7.32.    Case title                             Nature of case                          Court or agency's name and address                  Status of case

         Virginia Neel et al v Asher            Civil                                  District Court of Tulsa County                      ✔ Pending
                                                                                                                                           ❑
         Homes LLC et al                                                               Name
                                                                                                                                           ❑ On appeal
                                                                                                                                           ❑ Concluded
                                                                                       500 S Denver Ave
                                                                                       Street
          Case number

         CJ 2023-511                                                                   Tulsa, OK 74103-3838
                                                                                       City                            State   ZIP Code

 7.33.    Case title                             Nature of case                          Court or agency's name and address                  Status of case

         Matthew and Amy                        Civil                                  District Court of Tulsa County                      ❑ Pending
         Ramsey vs. Asher Homes                                                        Name
                                                                                                                                           ❑ On appeal
         et al                                                                         500 S Denver Ave
                                                                                       Street
                                                                                                                                           ✔ Concluded
                                                                                                                                           ❑
          Case number
                                                                                       Tulsa, OK 74103-3838
         CJ 2022-3462                                                                  City                            State   ZIP Code

 7.34.    Case title                             Nature of case                          Court or agency's name and address                  Status of case

         Mabrey Bank v. Asher                   Civil                                  District Court of Tulsa County                      ✔ Pending
                                                                                                                                           ❑
         Homes et al                                                                   Name
                                                                                                                                           ❑ On appeal
                                                                                                                                           ❑ Concluded
                                                                                       500 S Denver Ave
                                                                                       Street
          Case number

         CJ-2024-1981                                                                  Tulsa, OK 74103-3838
                                                                                       City                            State   ZIP Code



 8.      Assignments and receivership
         List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
         receiver, custodian, or other court-appointed officer within 1 year before filing this case.
         ✔ None
         ❑
 8.1.     Custodian’s name and address                     Description of the property                         Value


         Custodian’s name
                                                           Case title                                          Court name and address
         Street
                                                                                                              Name

                                                           Case number
                                                                                                              Street
         City                        State    ZIP Code



                                                           Date of order or assignment                        City                        State    ZIP Code




 Part 4: Certain Gifts and Charitable Contributions
 9.      List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of the gifts
         to that recipient is less than $1,000
         ✔ None
         ❑




Official Form 207                               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                             page 9
Debtor
                     Case 25-10067-T Document 1 Filed in USBC ND/OK on 01/20/25 Page 149 of 191
                  Asher Homes, LLC                                                                               Case number (if known)
                  Name
 9.1.     Recipient’s name and address                      Description of the gifts or contributions                 Dates given           Value


         Recipient’s name


         Street




         City                        State     ZIP Code


          Recipient’s relationship to debtor




 Part 5: Certain Losses
 10. All losses from fire, theft, or other casualty within 1 year before filing this case.
         ❑ None
           Description of the property lost and how the         Amount of payments received for the loss                     Date of loss      Value of property
           loss occurred                                        If you have received payments to cover the loss, for                           lost
                                                                example, from insurance, government compensation,
                                                                or tort liability, list the total received.
                                                                List unpaid claims on Official Form 106A/B (Schedule
                                                                A/B: Assets – Real and Personal Property).


 10.1.    embezzlement by former employer,                     none                                                         2022                         >$1M
          Amy Diane Shelton
 10.2.    embezzlement of $12k from former                     none                                                         10/2023                 $12,000.00
          employee



 Part 6: Certain Payments or Transfers
 11. Payments related to bankruptcy
         List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing of this
         case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy relief, or filing a
         bankruptcy case.
         ❑ None
 11.1.    Who was paid or who received the transfer?             If not money, describe any property transferred           Dates               Total amount or
                                                                                                                                               value

         Brown Law Firm PC                                      Attorney's Fee, Filing fee                                1/20/2025                   $10,155.50

          Address

         1609 E. 4th St.
         Street



         Tulsa, OK 74120
         City                        State     ZIP Code


          Email or website address



          Who made the payment, if not debtor?

         Daniel Ruhl ($8417.50 attorney fees plus
         $1738 filing fee=$10155.50 paid)



Official Form 207                                Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                          page 10
Debtor
                   Case 25-10067-T Document 1 Filed in USBC ND/OK on 01/20/25 Page 150 of 191
                Asher Homes, LLC                                                                                Case number (if known)
                Name



 12. Self-settled trusts of which the debtor is a beneficiary
         List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case to a
         self-settled trust or similar device.
         Do not include transfers already listed on this statement.
         ✔ None
         ❑
 12.1.     Name of trust or device                            Describe any property transferred                        Dates transfers       Total amount or
                                                                                                                       were made             value




           Trustee




 13. Transfers not already listed on this statement
         List any transfers of money or other property—by sale, trade, or any other means—made by the debtor or a person acting on behalf of the debtor within 2
         years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include both
         outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.
         ❑ None
 13.1.    Who received the transfer?                         Description of property transferred or payments            Date transfer       Total amount or
                                                             received or debts paid in exchange                         was made            value

         Tyler Nichols                                                                                                 6/29/2023                 $455,000.00

          Address

         5913 E 126th St S.
         Street



         Bixby, OK 74008
         City                        State    ZIP Code


          Relationship to debtor

         none


 13.2.    Who received the transfer?                         Description of property transferred or payments            Date transfer       Total amount or
                                                             received or debts paid in exchange                         was made            value

         SBK Property Holdings LLC                          Spirit Bank sold the following properties to 12/30/2024                               (Unknown)
                                                            SBK Property Holdings LLC through
          Address
                                                            mortgagee deeds for the listed amounts: 4611
                                                            S. Chestnut Ave Broken Arrow $313,000 2504
         1800 S. Baltimore Ave. 7th Floor                   W. Birmingham Broken Arrow $313,000 2508
         Street                                             W. Birmingham Broken Arrow $313,000 4520 S.
                                                            Dogwood Broken Arrow $390,000 4500 S.
                                                            Dogwood Broken Arrow $356,000 1146
         Tulsa, OK 74119                                    Bayshore Dr. Sand Springs $187,768 2410 W.
         City                        State    ZIP Code
                                                            Charleston Broken Arrow $389,000
          Relationship to debtor




Official Form 207                               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                        page 11
Debtor
                   Case 25-10067-T Document 1 Filed in USBC ND/OK on 01/20/25 Page 151 of 191
                Asher Homes, LLC                                                                          Case number (if known)
                Name

 13.3.    Who received the transfer?                    Description of property transferred or payments           Date transfer    Total amount or
                                                        received or debts paid in exchange                        was made         value

         BancFirst                                     6560 E. 128th St. S. Bixby Ok Deed in lieu of             5/30/2024              (Unknown)
                                                       foreclosure
          Address

         200 E. Main
         Street
         PO Box 2003
         Jenks, OK 74037-0000
         City                      State   ZIP Code


          Relationship to debtor




 13.4.    Who received the transfer?                    Description of property transferred or payments           Date transfer    Total amount or
                                                        received or debts paid in exchange                        was made         value

         see attached list                                                                                                              (Unknown)

          Address


         Street




         City                      State   ZIP Code


          Relationship to debtor




 13.5.    Who received the transfer?                    Description of property transferred or payments           Date transfer    Total amount or
                                                        received or debts paid in exchange                        was made         value

         Classic Chevrolet                             2023 Ford F150 sold to Chrevrolet Dealership-                                    (Unknown)
                                                       all funds applied to Spirit Bank loan
          Address

         8501 N Owasso Expy
         Street



         Owasso, OK 74055
         City                      State   ZIP Code


          Relationship to debtor




Official Form 207                            Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                page 12
Debtor
                    Case 25-10067-T Document 1 Filed in USBC ND/OK on 01/20/25 Page 152 of 191
                Asher Homes, LLC                                                                              Case number (if known)
                Name

 13.6.    Who received the transfer?                        Description of property transferred or payments           Date transfer     Total amount or
                                                            received or debts paid in exchange                        was made          value

         Spiritbank                                        Spirit Bank transferred deed under Non-judicial 12/30/2024                        (Unknown)
                                                           foreclosure Power of Sale by Mortgagee Deed
          Address
                                                           to itself 2509 W. Charleston BA Ok $125,000
                                                           2511 W. Birmingham BA Ok $125,000
         1800 S Baltimore Ave 700
         Street



         Tulsa, OK 74119-5216
         City                       State    ZIP Code


          Relationship to debtor

         none


 13.7.    Who received the transfer?                        Description of property transferred or payments           Date transfer     Total amount or
                                                            received or debts paid in exchange                        was made          value

         Emily Christein                                   Spirit Bank provided mortgagee's deed on                                         $426,000.00
                                                           November 20, 2024
          Address

         1616 W. 114th St S
         Street



         Jenks, OK 74037
         City                       State    ZIP Code


          Relationship to debtor

         none


 13.8.    Who received the transfer?                        Description of property transferred or payments           Date transfer     Total amount or
                                                            received or debts paid in exchange                        was made          value

         Fengler Family Trust                              Subdivision: COUNTRY GENTLEMEN ESTATES 2022                                    $1,150,000.00
                                                           (70375) Legal: PRT LT 2 BEG NWC LT 2 TH
          Address
                                                           E134.97 S300.10 W134.97 N300.03 POB BLK 3
                                                           Section: 27 Township: 18 Range: 13 Title has
         c/o Brian Rayment 7666 E 61st St Ste              not yet transferred due to defects in title
         240
         Street
         c/o Kivell, Rayment, Francis, Coulson &
         Heat
         Tulsa, OK 74133-1136
         City                       State    ZIP Code


          Relationship to debtor

         none




 Part 7: Previous Locations
 14. Previous addresses
         List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.
         ✔ Does not apply
         ❑
          Address                                                                                          Dates of occupancy


Official Form 207                              Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                   page 13
Debtor
                   Case 25-10067-T Document 1 Filed in USBC ND/OK on 01/20/25 Page 153 of 191
                Asher Homes, LLC                                                                                   Case number (if known)
                Name


 14.1.
                                                                                                              From                     To
         Street




         City                           State    ZIP Code




 Part 8: Health Care Bankruptcies
 15. Health Care bankruptcies
         Is the debtor primarily engaged in offering services and facilities for:
          —diagnosing or treating injury, deformity, or disease, or
          —providing any surgical, psychiatric, drug treatment, or obstetric care?
         ✔ No. Go to Part 9.
         ❑
         ❑ Yes. Fill in the information below.
          Facility name and address                         Nature of the business operation, including type of services the       If debtor provides meals
                                                            debtor provides                                                        and housing, number of
                                                                                                                                   patients in debtor’s care

 15.1.
         Facility name


         Street                                             Location where patient records are maintained(if different from        How are records kept?
                                                            facility address). If electronic, identify any service provider.
         City                    State      ZIP Code                                                                              Check all that apply:
                                                                                                                                  ❑ Electronically
                                                                                                                                  ❑ Paper


 Part 9: Personally Identifiable Information

 16. Does the debtor collect and retain personally identifiable information of customers?
         ✔ No.
         ❑
         ❑ Yes. State the nature of the information collected and retained.
                  Does the debtor have a privacy policy about that information?
                  ❑ No
                  ❑ Yes
 17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b) or other pension or profit-
     sharing plan made available by the debtor as an employee benefit?
         ✔ No. Go to Part 10.
         ❑
         ❑ Yes. Does the debtor serve as plan administrator?
                ❑ No. Go to Part 10.
                ❑ Yes. Fill in below:
                         Name of plan                                                                   Employer identification number of the plan

                                                                                                       EIN:        –

                         Has the plan been terminated?
                         ❑ No
                         ❑ Yes




Official Form 207                                  Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    page 14
Debtor
                    Case 25-10067-T Document 1 Filed in USBC ND/OK on 01/20/25 Page 154 of 191
                 Asher Homes, LLC                                                                                 Case number (if known)
                 Name
 Part 10: Certain Financial Accounts, Safe Deposit Boxes, and Storage Units
 18. Closed financial accounts
        Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold, moved,
        or transferred?
        Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
        cooperatives, associations, and other financial institutions.
        ❑ None
         Financial institution name and address           Last 4 digits of account       Type of account            Date account was            Last balance
                                                          number                                                    closed, sold, moved,        before closing
                                                                                                                    or transferred              or transfer

 18.1   Spiritbank                                        XXXX–                         ✔ Checking
                                                                                        ❑                            4/2024                    $0.00
        Name
                                                                                        ❑ Savings
                                                                                        ❑ Money market
        1800 S Baltimore Ave 700
        Street
                                                                                        ❑ Brokerage
        Tulsa, OK 74119-5216
                                                                                        ❑ Other
        City                      State   ZIP Code
 19. Safe deposit boxes
        List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this case.
        ✔ None
        ❑
 19.1    Depository institution name and address          Names of anyone with access to it            Description of the contents                Does debtor
                                                                                                                                                  still have it?

                                                                                                                                                 ❑ No
                                                                                                                                                 ❑ Yes
        Name


        Street

                                                          Address

        City                      State   ZIP Code


 20. Off-premises storage
        List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in which the
        debtor does business.
        ✔ None
        ❑
 20.1    Facility name and address                        Names of anyone with access to it            Description of the contents                Does debtor
                                                                                                                                                  still have it?

                                                                                                                                                 ❑ No
                                                                                                                                                 ❑ Yes
        Name


        Street

                                                          Address

        City                      State   ZIP Code




 Part 11: Property the Debtor Holds or Controls That the Debtor Does Not Own
 21. Property held for another
        List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do not list
        leased or rented property.
        ✔ None
        ❑

Official Form 207                               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                           page 15
Debtor
                  Case 25-10067-T Document 1 Filed in USBC ND/OK on 01/20/25 Page 155 of 191
               Asher Homes, LLC                                                                                Case number (if known)
               Name

         Owner’s name and address                               Location of the property                   Description of the property                  Value



      Name


      Street




      City                          State   ZIP Code




 Part 12: Details About Environmental Information


 For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).
     Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
     owned, operated, or utilized.
     Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a similarly
     harmful substance.

 Report all notices, releases, and proceedings known, regardless of when they occurred.

 22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.
      ✔ No
      ❑
      ❑ Yes. Provide details below.
         Case title                                    Court or agency name and address                   Nature of the case                          Status of case

                                                                                                                                                     ❑ Pending
         Case number
                                                   Name
                                                                                                                                                     ❑ On appeal
                                                                                                                                                     ❑ Concluded
                                                   Street




                                                   City                        State   ZIP Code

 23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
     environmental law?
      ✔ No
      ❑
      ❑ Yes. Provide details below.
         Site name and address                         Governmental unit name and address                 Environmental law, if known                 Date of notice



      Name                                         Name


      Street                                       Street




      City                  State    ZIP Code      City                        State   ZIP Code

 24. Has the debtor notified any governmental unit of any release of hazardous material?
      ✔ No
      ❑
      ❑ Yes. Provide details below.




Official Form 207                               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                        page 16
Debtor
                     Case 25-10067-T Document 1 Filed in USBC ND/OK on 01/20/25 Page 156 of 191
                  Asher Homes, LLC                                                                             Case number (if known)
                  Name

          Site name and address                      Governmental unit name and address                   Environmental law, if known                Date of notice



         Name                                       Name


         Street                                     Street




         City                 State   ZIP Code      City                        State   ZIP Code




 Part 13: Details About the Debtor’s Business or Connections to Any Business


 25. Other businesses in which the debtor has or has had an interest
         List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case. Include this
         information even if already listed in the Schedules.
         ✔ None
         ❑
          Business name and address                  Describe the nature of the business                          Employer Identification number
                                                                                                                  Do not include Social Security number or ITIN.
 25.1.
                                                                                                                EIN:        –
         Name
                                                                                                                  Dates business existed

         Street
                                                                                                                From                  To



         City                 State   ZIP Code


 26. Books, records, and financial statements
 26a.     List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
          ❑None
           Name and address                                                                                        Dates of service

 26a.1. Horizen CPAs and Advisors, PLC                                                                            From 2021             To present
          Name
          4715 E. 91st Street 100
          Street



          Tulsa, OK 74137
          City                                             State                 ZIP Code


 26b.     List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial
          statement within 2 years before filing this case.
          ❑None
           Name and address                                                                                        Dates of service

 26b.1. Horizon Certified Public Accountants PLC                                                                  From 2021             To present
          Name
          4715 East 91st Suite # 2
          Street



          Tulsa, OK 74137-0000
          City                                             State                 ZIP Code




Official Form 207                                Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                      page 17
Debtor
                     Case 25-10067-T Document 1 Filed in USBC ND/OK on 01/20/25 Page 157 of 191
                  Asher Homes, LLC                                                                            Case number (if known)
                  Name



 26c.      List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.
           ❑None
            Name and address                                                                                      If any books of account and records are
                                                                                                                  unavailable, explain why
 26c.1.
           Daniel Ruhl
           Name
           4920 E. 105th Street
           Street



           Tulsa, OK 74137-6020
           City                                             State                  ZIP Code

 26d.      List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
           statement within 2 years before filing this case.
           ❑None
            Name and address

 26d.1. Debtor does not believe there to be any financial statements given in last 2
           years.
           Name


           Street




           City                                             State                  ZIP Code


 27. Inventories
         Have any inventories of the debtor’s property been taken within 2 years before filing this case?
         ✔ No
         ❑
         ❑ Yes. Give the details about the two most recent inventories.
           Name of the person who supervised the taking of the inventory                          Date of          The dollar amount and basis (cost, market, or
                                                                                                  inventory        other basis) of each inventory




           Name and address of the person who has possession of inventory records

 27.1.

          Name


          Street




          City                                      State               ZIP Code

 28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people in
     control of the debtor at the time of the filing of this case.
           Name                           Address                                                       Position and nature of any          % of interest, if any
                                                                                                        interest

         Daniel Ruhl                     9128 S BRADEN AVE STE 201 Tulsa, OK                           Manager, Member                                100.00%
                                         74137




Official Form 207                               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    page 18
Debtor
                     Case 25-10067-T Document 1 Filed in USBC ND/OK on 01/20/25 Page 158 of 191
                Asher Homes, LLC                                                                                  Case number (if known)
                Name
 29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in control of
     the debtor, or shareholders in control of the debtor who no longer hold these positions?
         ✔ No
         ❑
         ❑ Yes. Identify below.
          Name                             Address                                                      Position and nature of any         Period during which
                                                                                                        interest                           position or interest was
                                                                                                                                           held

                                                                                                    ,                                       From
                                                                                                                                            To

 30. Payments, distributions, or withdrawals credited or given to insiders
         Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses, loans,
         credits on loans, stock redemptions, and options exercised?
         ✔ No
         ❑
         ❑ Yes. Identify below.
          Name and address of recipient                                        Amount of money or description              Dates                   Reason for providing
                                                                               and value of property                                               the value


 30.1.
         Name


         Street




         City                                     State        ZIP Code


          Relationship to debtor




 31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?
         ✔ No
         ❑
         ❑ Yes. Identify below.
                Name of the parent corporation                                                      Employer Identification number of the parent corporation

                                                                                                   EIN:          –


 32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?
         ✔ No
         ❑
         ❑ Yes. Identify below.
                Name of the pension fund                                                            Employer Identification number of the pension fund

                                                                                                   EIN:          –



 Part 14: Signature and Declaration




Official Form 207                                Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                        page 19
Debtor
                  Case 25-10067-T Document 1 Filed in USBC ND/OK on 01/20/25 Page 159 of 191
            Asher Homes, LLC                                                                                    Case number (if known)
            Name


    WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in connection with a
    bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


    I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true and
    correct.


    I declare under penalty of perjury that the foregoing is true and correct.


    Executed on         01/20/2025
                     MM/ DD/ YYYY




    ✘ /s/ Daniel Ruhl                                                    Printed name                       Daniel Ruhl
         Signature of individual signing on behalf of the debtor



      Position or relationship to debtor             President



    Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
    ✔ No
    ❑
    ❑ Yes




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                              page 20
                    Case 25-10067-T Document 1 Filed in USBC ND/OK on 01/20/25 Page 160 of 191

 Fill in this information to identify the case:

 Debtor name                             Asher Homes, LLC

 United States Bankruptcy Court for the:
                          Northern District of Oklahoma

 Case number (if known):                                                                                                                  ❑ Check if this is an
                                                                                                                                             amended filing

Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20
Largest Unsecured Claims and Are Not Insiders                                                                                                                          12/15
A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor disputes. Do not
include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by secured creditors, unless the
unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 20 largest unsecured claims.

    Name of creditor and complete             Name, telephone number,         Nature of the claim     Indicate if      Amount of unsecured claim
    mailing address, including zip code       and email address of            (for example, trade     claim is         If the claim is fully unsecured, fill in only
                                              creditor contact                debts, bank loans,      contingent,      unsecured claim amount. If claim is partially
                                                                              professional            unliquidated,    secured, fill in total claim amount and deduction
                                                                              services, and           or disputed      for value of collateral or setoff to calculate
                                                                              government                               unsecured claim.
                                                                              contracts)                               Total claim, if    Deduction for       Unsecured
                                                                                                                       partially          value of            claim
                                                                                                                       secured            collateral or
                                                                                                                                          setoff
1     Mill Creek Lumber Co.                                                   Promissory Note                                                                     $178,399.66
      PO Box 4770
      Tulsa, OK 74159-0000


2     AIRCO Service Inc                                                       Business Debt                                                                       $149,636.90
      1131 E 58th St
      Tulsa, OK 74146-0000


3     L&W Supply                                                              Business Debt                                                                        $80,395.26
      12595 E 61st St
      Broken Arrow, OK 74012-0000


4     ABC Supply Co., Inc.                                                    Business Debt                                                                        $73,694.47
      7333 E. 38th St.
      Tulsa, OK 74135-0000


5     Spiritbank                                                              Non-Purchase                                                                         $71,641.77
      1800 S Baltimore Ave 700                                                Money Security
      Tulsa, OK 74119-5216                                                    Interest



6     Sierra Pools and Spas LLC                                               Business Debt                                                                        $62,296.27
      13795 E 560 Rd
      Inola, OK 74036


7     City National Bank and Trust                                                                                        $433,629.00        $389,000.00           $44,629.00
      Company
      500 SW D Ave.
      Lawton, OK 73501

8     Metro Appliances & More                                                 Business Debt                                                                        $31,035.58
      5313 S Mingo Rd
      Tulsa, OK 74146-0000




Official Form 204                             Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                                page 1
                    Case 25-10067-T Document 1 Filed in USBC ND/OK on 01/20/25 Page 161 of 191

Debtor        Asher Homes, LLC                                                                                Case number (if known)
             Name

    Name of creditor and complete         Name, telephone number,         Nature of the claim     Indicate if      Amount of unsecured claim
    mailing address, including zip code   and email address of            (for example, trade     claim is         If the claim is fully unsecured, fill in only
                                          creditor contact                debts, bank loans,      contingent,      unsecured claim amount. If claim is partially
                                                                          professional            unliquidated,    secured, fill in total claim amount and deduction
                                                                          services, and           or disputed      for value of collateral or setoff to calculate
                                                                          government                               unsecured claim.
                                                                          contracts)                               Total claim, if    Deduction for    Unsecured
                                                                                                                   partially          value of         claim
                                                                                                                   secured            collateral or
                                                                                                                                      setoff
9     Baker Irrigation                                                    Business Debt                                                                    $28,967.50
      14700 S Harvard Ave
      Bixby, OK 74008-0000


10 LifeStyles Stores, Inc.                                                Business Debt                                                                    $28,517.61
   1801 W 33rd St
   Edmond, OK 73013-0000


11 Paradygm Development LLC                                               Business Debt                                                                    $26,275.00
   8630 S Peoria Ave
   Tulsa, OK 74132


12 Mabrey Bank                                                            Mortgage                                    $654,169.79       $659,000.00        $25,836.79
   Yale Market
   8085 S. Yale
   Tulsa, OK 74136

13 Spiritbank                                                             Mortgage                                    $354,158.79       $397,804.00        $25,214.70
   1800 S Baltimore Ave 700
   Tulsa, OK 74119-5216


14 Superior Termite & Pest Control                                        Business Debt                                                                    $24,826.37
   205 South 85th E Ave
   Tulsa, OK 74112-0000


15 Mabrey Bank                                                            Mortgage                                    $470,439.61       $599,000.00        $21,939.61
   Yale Market
   8085 S. Yale
   Tulsa, OK 74136

16 Millcreek Lumber & Supply                                              Mechanic's or           Disputed              $21,300.25      $389,000.00        $21,300.25
   Company                                                                Materialman's Lien
      P.O. Box 4770
      Tulsa, OK 74159-0000

17 L&S Overhead Door                                                      Business Debt                                                                    $21,067.21
   7338 E 38th St
   Tulsa, OK 74145


18 Whitacre Glass Works                                                   Business Debt                                                                    $18,490.54
   8177 E 44th St
   Tulsa, OK 74145


19 Toros Construction Inc                                                 Business Debt                                                                    $15,415.88
   7202 E 92nd ST
   Tulsa, OK 74133


20 EC Plumbing and Drain                                                  Business Debt                                                                    $15,300.00
   10114 E 47th St
   Tulsa, OK 74146

Official Form 204                         Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                            page 2
               Case 25-10067-T
1/17/25, 3:16 PM                        Document 1 Filed in USBC ND/OK
                                                                  Search on 01/20/25 Page 162 of 191




     Search Criteria - Full Name: Asher Homes , Party Type: All, Matching Mode: StartsWith, Date From:
     1/1/1775, Date To: 1/17/2025, Doc Types: DEED, Book Types: All
                                                        Document Recording Party Searched First Other
      IsViewed Row U Doc #                 Book/Page                                                        Legal           Considerat
                                                        Type     Date      Type Name      Party Name
                                                                                                          ADDISON
                                                                                                          CREEK
                                                                                     ASHER                CROSSING
                                                                   07/22/2024
                 1           2024058863                 Deed                  From   HOMES   BROWN BEAU D Lot: 6 Block:     $857,961.0
                                                                   12:00:00
                                                                                     LLC                  3 Sub: 86802
                                                                                                          Acct:
                                                                                                          730322650

                                                                                                            VILLAGE @
                                                                                                            1ELEVEN Lot:
                                                                                     ASHER
                                                                   07/16/2024                SWATEK MARIA   7 Block: 4
                 2           2024056871                 Deed                  From   HOMES                                  $425,000.0
                                                                   12:00:00                  CIANFRONE      Sub: 81833
                                                                                     LLC
                                                                                                            Acct:
                                                                                                            842862740

                                                                                                            RESERVE AT
                                                                                                            ADDISON
                                                                                     ASHER                  CREEK Lot:
                                                                   06/03/2024
                 3           2024043536                 Deed                  From   HOMES   BANCFIRST      13 Block: 3     $0.00
                                                                   12:00:00
                                                                                     LLC                    Sub: 57954
                                                                                                            Acct:
                                                                                                            730241410

                                                                                                            ADDISON
                                                                                                            CREEK
                                                                                                            BLOCKS 10-
                                                                                     ASHER
                                                                   05/31/2024                               15 Lot: 9
                 4           2024043110                 Deed                  From   HOMES   BANCFIRST                      $0.00
                                                                   12:00:00                                 Block: 12
                                                                                     LLC
                                                                                                            Sub: 86800
                                                                                                            Acct:
                                                                                                            730344980

                                                                                                            RESERVE AT
                                                                                                            ADDISON
                                                                                     ASHER
                                                                   05/31/2024                               CREEK Lot: 4
                 5           2024043111                 Deed                  From   HOMES   BANCFIRST                      $0.00
                                                                   12:00:00                                 Block: 5 Sub:
                                                                                     LLC
                                                                                                            57954 Acct:
                                                                                                            730271640

                                                                                                            ADDISON
                                                                                                            CREEK
                                                                                                            BLOCKS 10-
                                                                                     ASHER
                                                                   05/31/2024                               15 Lot: 7
                 6           2024043112                 Deed                  From   HOMES   BANCFIRST                      $0.00
                                                                   12:00:00                                 Block: 10
                                                                                     LLC
                                                                                                            Sub: 86800
                                                                                                            Acct:
                                                                                                            730344670


https://acclaim.tulsacounty.org/AcclaimWeb/Search/SearchTypeName                                                                    1/8
               Case 25-10067-T
1/17/25, 3:16 PM                        Document 1 Filed in USBC ND/OK
                                                                  Search on 01/20/25 Page 163 of 191

                                                                                                         ADDISON
                                                                                                         CREEK
                                                                                                         BLOCKS 10-
                                                                                     ASHER
                                                                   05/31/2024                            15 Lot: 4
                 7           2024043113                 Deed                  From   HOMES   BANCFIRST                 $0.00
                                                                   12:00:00                              Block: 10
                                                                                     LLC
                                                                                                         Sub: 86800
                                                                                                         Acct:
                                                                                                         730344640

                                                                                                         ADDISON
                                                                                                         CREEK
                                                                                                         BLOCKS 10-
                                                                                     ASHER
                                                                   05/31/2024                            15 Lot: 5
                 8           2024043114                 Deed                  From   HOMES   BANCFIRST                 $0.00
                                                                   12:00:00                              Block: 10
                                                                                     LLC
                                                                                                         Sub: 86800
                                                                                                         Acct:
                                                                                                         730344650

                                                                                                         RESERVE AT
                                                                                                         ASPEN RIDGE
                                                                                     ASHER
                                                                   05/31/2024                            Lot: 3 Block:
                 9           2024043115                 Deed                  From   HOMES   BANCFIRST                 $0.00
                                                                   12:00:00                              2 Sub: 80852
                                                                                     LLC
                                                                                                         Acct:
                                                                                                         740459110

                                                                                                         ADDISON
                                                                                                         CREEK
                                                                                                         BLOCKS 10-
                                                                                     ASHER
                                                                   05/31/2024                            15 Lot: 3
                 10          2024043116                 Deed                  From   HOMES   BANCFIRST                 $0.00
                                                                   12:00:00                              Block: 13
                                                                                     LLC
                                                                                                         Sub: 86800
                                                                                                         Acct:
                                                                                                         730345100

                                                                                                         ADDISON
                                                                                     ASHER               CREEK
                                                                   05/31/2024
                 11          2024043117                 Deed                  From   HOMES   BANCFIRST   BLOCKS 1-9     $0.00
                                                                   12:00:00
                                                                                     LLC                 Lot: 13 Block:
                                                                                                         3 Sub: 86799

                                                                                                         ADDISON
                                                                                                         CREEK
                                                                                                         BLOCKS 10-
                                                                                     ASHER
                                                                   05/31/2024                            15 Lot: 1
                 12          2024043118                 Deed                  From   HOMES   BANCFIRST                 $0.00
                                                                   12:00:00                              Block: 14
                                                                                     LLC
                                                                                                         Sub: 86800
                                                                                                         Acct:
                                                                                                         730345240

                                                                                                         ADDISON
                                                                                                         CREEK
                                                                                                         BLOCKS 10-
                                                                                     ASHER
                                                                   05/31/2024                            15 Lot: 7
                 13          2024043119                 Deed                  From   HOMES   BANCFIRST                 $0.00
                                                                   12:00:00                              Block: 14
                                                                                     LLC
                                                                                                         Sub: 86800
                                                                                                         Acct:
                                                                                                         730345300




https://acclaim.tulsacounty.org/AcclaimWeb/Search/SearchTypeName                                                                2/8
               Case 25-10067-T
1/17/25, 3:16 PM                        Document 1 Filed in USBC ND/OK
                                                                  Search on 01/20/25 Page 164 of 191

                                                                                                            DELAWARE
                                                                                     ASHER                  PARK Lot: 7
                                                                   05/23/2024
                 14          2024041350                 Deed                  From   HOMES   FIRSTAR BANK   Block: 1 Sub:   $0.00
                                                                   12:00:00
                                                                                     LLC                    70518 Acct:
                                                                                                            833321460

                                                                                                            ADDISON
                                                                                                            CREEK
                                                                                                            BLOCKS 10-
                                                                                     ASHER
                                                                   05/08/2024                               15 Lot: 8
                 15          2024035795                 Deed                  From   HOMES   BANCFIRST                   $0.00
                                                                   12:00:00                                 Block: 10
                                                                                     LLC
                                                                                                            Sub: 86800
                                                                                                            Acct:
                                                                                                            730344680(+)

                                                                                                            RETREAT
                                                                                                            BLOCKS 1-15
                                                                                     ASHER
                                                                   04/29/2024                               Lot: 1 Block:
                 16          2024032445                 Deed                  From   HOMES   BANCFIRST                    $0.00
                                                                   12:00:00                                 6 Sub: 80864
                                                                                     LLC
                                                                                                            Acct:
                                                                                                            842822940(+)

                                                                                                            ADDISON
                                                                                                            CREEK
                                                                                                            BLOCKS 10-
                                                                                     ASHER
                                                                   04/09/2024                RAITH LUCAS    15 Lot: 4
                 17          2024026268                 Deed                  From   HOMES                                  $613,650.0
                                                                   12:00:00                  BENJAMIN       Block: 14
                                                                                     LLC
                                                                                                            Sub: 86800
                                                                                                            Acct:
                                                                                                            730345270

                                                                                                            ADDISON
                                                                                                            CREEK
                                                                                                            BLOCKS 10-
                                                                                     ASHER
                                                                   03/06/2024                RAMAN SELVA    15 Lot: 2
                 18          2024016403                 Deed                  From   HOMES                                  $607,348.8
                                                                   12:00:00                  PRAKASH        Block: 14
                                                                                     LLC
                                                                                                            Sub: 86800
                                                                                                            Acct:
                                                                                                            730345250

                                                                                                            HICKORY
                                                                                                            CREEK OF
                                                                                     ASHER   RESENDIZ
                                                                   03/05/2024                               JENKS Lot: 7
                 19          2024015788                 Deed                  From   HOMES   OMAR                           $459,000.0
                                                                   12:00:00                                 Block: 1 Sub:
                                                                                     LLC     ALFONSO
                                                                                                            60667 Acct:
                                                                                                            823630460

                                                                                                            YORKTOWN
                                                                                                            BLKS 31-35
                                                                                     ASHER   OWASSO
                                                                   02/02/2024                               Lot: 3 Block:
                 20          2024008273                 Deed                  From   HOMES   LUMBER                         $615,000.0
                                                                   12:00:00                                 34 Sub:
                                                                                     LLC     COMPANY
                                                                                                            60459 Acct:
                                                                                                            730641680




https://acclaim.tulsacounty.org/AcclaimWeb/Search/SearchTypeName                                                                    3/8
               Case 25-10067-T
1/17/25, 3:16 PM                        Document 1 Filed in USBC ND/OK
                                                                  Search on 01/20/25 Page 165 of 191

                                                                                                            ADDISON
                                                                                                            CREEK
                                                                                                            BLOCKS 10-
                                                                                     ASHER
                                                                   12/08/2023                               15 Lot: 18
                 21          2023102141                 Deed                  From   HOMES   ZUNT ROBERT                    $770,136.9
                                                                   12:00:00                                 Block: 12
                                                                                     LLC
                                                                                                            Sub: 86800
                                                                                                            Acct:
                                                                                                            730345070

                                                                                                            RESERVE AT
                                                                                                            ADDISON
                                                                                     ASHER                  CREEK Lot:
                                                                   12/06/2023                FREE WILIY
                 22          2023101493                 Deed                  From   HOMES                  14 Block: 3     $703,454.0
                                                                   12:00:00                  TRUST
                                                                                     LLC                    Sub: 57954
                                                                                                            Acct:
                                                                                                            730241420

                                                                                                            ADDISON
                                                                                                            CREEK
                                                                                                            BLOCKS 10-
                                                                                     ASHER
                                                                   11/20/2023                MACHANI        15 Lot: 10
                 23          2023096775                 Deed                  From   HOMES                                  $366,926.6
                                                                   12:00:00                  KISHORE        Block: 12
                                                                                     LLC
                                                                                                            Sub: 86800
                                                                                                            Acct:
                                                                                                            730344990

                                                                                                            HICKORY
                                                                                                            CREEK OF
                                                                                     ASHER
                                                                   11/09/2023                NIANG ESTHER   JENKS Lot: 6
                 24          2023093737                 Deed                  From   HOMES                                  $457,500.0
                                                                   12:00:00                  HAU            Block: 1 Sub:
                                                                                     LLC
                                                                                                            60667 Acct:
                                                                                                            823630450

                                                                                                            ADDISON
                                                                                                            CREEK
                                                                                                            BLOCKS 10-
                                                                                     ASHER
                                                                   11/01/2023                               15 Lot: 1
                 25          2023090485                 Deed                  From   HOMES   WEALER JOHN                    $360,000.0
                                                                   12:00:00                                 Block: 10
                                                                                     LLC
                                                                                                            Sub: 86800
                                                                                                            Acct:
                                                                                                            730344610

                                                                                                            MAGNOLIA
                                                                                                            ESTATES Lot:
                                                                                     ASHER
                                                                   10/19/2023                PHILLIPO       1 Block: 1
                 26          2023085475                 Deed                  From   HOMES                                  $515,000.0
                                                                   12:00:00                  DENNIS C       Sub: 55941
                                                                                     LLC
                                                                                                            Acct:
                                                                                                            733419300

                                                                                                            ADDISON
                                                                                                            CREEK
                                                                                                            BLOCKS 10-
                                                                                     ASHER
                                                                   10/18/2023                LANKFORD       15 Lot: 1
                 27          2023084593                 Deed                  From   HOMES                                  $360,000.0
                                                                   12:00:00                  JEFFREY BRAD   Block: 12
                                                                                     LLC
                                                                                                            Sub: 86800
                                                                                                            Acct:
                                                                                                            730344900




https://acclaim.tulsacounty.org/AcclaimWeb/Search/SearchTypeName                                                                    4/8
               Case 25-10067-T
1/17/25, 3:16 PM                        Document 1 Filed in USBC ND/OK
                                                                  Search on 01/20/25 Page 166 of 191

                                                                                                            ADDISON
                                                                                                            CREEK
                                                                                                            BLOCKS 10-
                                                                                     ASHER   CARNEY
                                                                   09/21/2023                               15 Lot: 2
                 28          2023077000                 Deed                  From   HOMES   JONATHAN                     $448,200.0
                                                                   12:00:00                                 Block: 12
                                                                                     LLC     LOGAN
                                                                                                            Sub: 86800
                                                                                                            Acct:
                                                                                                            730344910

                                                                                                            RESERVE AT
                                                                                                            ADDISON
                                                                                     ASHER                  CREEK Lot:
                                                                   08/25/2023
                 29          2023069283                 Deed                  From   HOMES   BELL DOUGLAS   15 Block: 4   $569,000.0
                                                                   12:00:00
                                                                                     LLC                    Sub: 57954
                                                                                                            Acct:
                                                                                                            730241570

                                                                                                            ADDISON
                                                                                                            CREEK
                                                                                                            BLOCKS 10-
                                                                                     ASHER
                                                                   08/22/2023                GAINES         15 Lot: 6
                 30          2023068235                 Deed                  From   HOMES                                $373,000.0
                                                                   12:00:00                  BRADLEY        Block: 10
                                                                                     LLC
                                                                                                            Sub: 86800
                                                                                                            Acct:
                                                                                                            730344660

                                                                                                            ADDISON
                                                                                                            CREEK
                                                                                                            BLOCKS 10-
                                                                                     ASHER
                                                                   08/16/2023                FOSSON ADAM    15 Lot: 9
                 31          2023066016                 Deed                  From   HOMES                                $339,255.0
                                                                   12:00:00                  ROBERT         Block: 10
                                                                                     LLC
                                                                                                            Sub: 86800
                                                                                                            Acct:
                                                                                                            730344690

                                                                                                            RESERVE AT
                                                                                                            ASPEN RIDGE
                                                                                     ASHER
                                                                   07/31/2023                NORDQUIST      Lot: 9 Block:
                 32          2023061027                 Deed                  From   HOMES                                $690,281.6
                                                                   12:00:00                  ANDREW         2 Sub: 80852
                                                                                     LLC
                                                                                                            Acct:
                                                                                                            740459170

                                                                                                            HADDINGTON
                                                                                                            HEIGHTS Lot:
                                                                                     ASHER
                                                                   07/31/2023                               3 Block: 1
                 33          2023061092                 Deed                  From   HOMES   BURSON SHERI                $625,000.0
                                                                   12:00:00                                 Sub: 60662
                                                                                     LLC
                                                                                                            Acct:
                                                                                                            822538620

                                                                                                            ADDISON
                                                                                                            CREEK
                                                                                                            BLOCKS 10-
                                                                                     ASHER
                                                                   07/26/2023                               15 Lot: 3
                 34          2023059628                 Deed                  From   HOMES   EEG KRISTIN                  $352,006.9
                                                                   12:00:00                                 Block: 10
                                                                                     LLC
                                                                                                            Sub: 86800
                                                                                                            Acct:
                                                                                                            730344630




https://acclaim.tulsacounty.org/AcclaimWeb/Search/SearchTypeName                                                                  5/8
               Case 25-10067-T
1/17/25, 3:16 PM                        Document 1 Filed in USBC ND/OK
                                                                  Search on 01/20/25 Page 167 of 191

                                                                                                            SEVEN LAKES
                                                                                     ASHER   RUHL           II Lot: 13
                                                                   07/18/2023
                 35          2023057016                 Deed                  From   HOMES   PROPERTIES     Block: 2 Sub: $0.00
                                                                   12:00:00
                                                                                     LLC     LLC            58016 Acct:
                                                                                                            730237210

                                                                                                            ADDISON
                                                                                                            CREEK
                                                                                                            BLOCKS 10-
                                                                                     ASHER
                                                                   07/14/2023                MOHAMMED       15 Lot: 11
                 36          2023056119                 Deed                  From   HOMES                                  $502,233.4
                                                                   12:00:00                  SAJID SULTAN   Block: 10
                                                                                     LLC
                                                                                                            Sub: 86800
                                                                                                            Acct:
                                                                                                            730344710

                                                                                                         ADDISON
                                                                                                         CREEK
                                                                                                         BLOCKS 10-
                                                                                     ASHER
                                                                   07/11/2023                COCANOUGHER 15 Lot: 10
                 37          2023054821                 Deed                  From   HOMES                                  $378,928.9
                                                                   12:00:00                  HAILEE      Block: 10
                                                                                     LLC
                                                                                                         Sub: 86800
                                                                                                         Acct:
                                                                                                         730344700

                                                                                                            RIVERSTONE
                                                                                                            ESTATES Lot:
                                                                                     ASHER   RUHL
                                                                   07/11/2023                               4 Block: 2
                 38          2023054888                 Deed                  From   HOMES   PROPERTIES                     $0.00
                                                                   12:00:00                                 Sub: 80865
                                                                                     LLC     LLC
                                                                                                            Acct:
                                                                                                            740416330

                                                                                                           ADDISON
                                                                                                           CREEK
                                                                                                           BLOCKS 10-
                                                                                     ASHER
                                                                   07/05/2023                NICHOLS TYLER 15 Lot: 2
                 39          2023053252                 Deed                  From   HOMES                                  $454,545.0
                                                                   12:00:00                  LYN           Block: 10
                                                                                     LLC
                                                                                                           Sub: 86800
                                                                                                           Acct:
                                                                                                           730344620

                                                                                                            ADDISON
                                                                                                            CREEK
                                                                                                            BLOCKS 10-
                                                                                     ASHER
                                                                   06/09/2023                SINGLETERRY    15 Lot: 16
                 40          2023046072                 Deed                  From   HOMES                                  $478,000.0
                                                                   12:00:00                  STETSON RAY    Block: 13
                                                                                     LLC
                                                                                                            Sub: 86800
                                                                                                            Acct:
                                                                                                            730345230

                                                                                                            WEAVER
                                                                                     ASHER   AKERS          ADDN Lot: 23
                                                                   06/05/2023
                 41          2023044704                 Deed                  From   HOMES   STEPHEN        Block: 2 Sub:   $505,000.0
                                                                   12:00:00
                                                                                     LLC     THOMAS         46200 Acct:
                                                                                                            930722080




https://acclaim.tulsacounty.org/AcclaimWeb/Search/SearchTypeName                                                                    6/8
               Case 25-10067-T
1/17/25, 3:16 PM                        Document 1 Filed in USBC ND/OK
                                                                  Search on 01/20/25 Page 168 of 191

                                                                                                              WOODS OF
                                                                                                              JASPER
                                                                                     ASHER                    ESTATES,
                                                                   05/03/2023
                 42          2023034909                 Deed                  From   HOMES,   BURKS KELLY A   THE Lot: 16     $849,026.4
                                                                   12:00:00
                                                                                     LLC                      Block: 1 Sub:
                                                                                                              82273 Acct:
                                                                                                              740155350

                                                                                                              ADDISON
                                                                                                              CREEK
                                                                                     ASHER    JONES           BLOCKS 1-9
                                                                   04/28/2023
                 43          2023033265                 Deed                  From   HOMES,   CHRISTOPHER     Lot: 4 Block:   $475,000.0
                                                                   12:00:00
                                                                                     LLC      R               7 Sub: 86799
                                                                                                              Acct:
                                                                                                              730346310

                                                                                                            HICKORY
                                                                                                            CREEK OF
                                                                                     ASHER
                                                                   04/20/2023                 COLLINS ANNE- JENKS Lot: 2
                 44          2023030433                 Deed                  From   HOMES,                                   $548,900.0
                                                                   12:00:00                   CAMILLE       Block: 2 Sub:
                                                                                     LLC
                                                                                                            60667 Acct:
                                                                                                            823630500

                                                                                                              COUNTRY
                                                                                                              GENTLEMEN
                                                                                                              ESTATES Lot:
                                                                                                              2 Block: 3
                                                                                     ASHER
                                                                   04/11/2023                 MONTANEZ        Sub: 70375
                 45          2023026845                 Deed                  From   HOMES                                    $1,208,209
                                                                   12:00:00                   UNA Y           Acct:
                                                                                     LLC
                                                                                                              832700145
                                                                                                              BEG NE/C LT
                                                                                                              TH S300.17
                                                                                                              SEE INST

                                                                                                              RESERVE AT
                                                                                                              ADDISON
                                                                                     ASHER
                                                                   03/21/2023                 WESTFALL        CREEK Lot: 4
                 46          2023021340                 Deed                  From   HOMES,                                 $1,330,000
                                                                   12:00:00                   ASHLEY DAWN     Block: 1 Sub:
                                                                                     LLC
                                                                                                              57954 Acct:
                                                                                                              730241080(+)

                                                                                                              RESERVE AT
                                                                                                              ADDISON
                                                                                                              CREEK Lot:
                                                                   03/06/2023        ASHER
                 47          2023016193                 Deed                  From            GOHEEN TOM      12 Block: 3     $546,320.0
                                                                   12:00:00          HOMES
                                                                                                              Sub: 57954
                                                                                                              Acct:
                                                                                                              730241400

                                                                                                              HICKORY
                                                                                                              CREEK OF
                                                                   02/23/2023        ASHER    WERNER KIEL     JENKS Lot: 1
                 48          2023013627                 Deed                  From                                            $608,500.0
                                                                   12:00:00          HOMES    RYAN            Block: 3 Sub:
                                                                                                              60667 Acct:
                                                                                                              823630630




https://acclaim.tulsacounty.org/AcclaimWeb/Search/SearchTypeName                                                                      7/8
               Case 25-10067-T
1/17/25, 3:16 PM                          Document 1 Filed in USBC ND/OK
                                                                    Search on 01/20/25 Page 169 of 191

                                                                                                                   RICHMOND
                                                                                                                   HILLS Lot: 8
                                                                        02/13/2023              ASHER
                 49            2023010380                  Deed                    From                 SAVU ANA   Block: 1 Sub:   $267,194.9
                                                                        12:00:00                HOMES
                                                                                                                   71770 Acct:
                                                                                                                   830439520

                                                                                                                   RESERVE AT
                                                                                                                   ADDISON
                                                                                                        SMITH
                                                                        01/31/2023              ASHER              CREEK Lot: 3
                 50            2023007549                  Deed                    From                 JONATHAN                   $673,363.0
                                                                        12:00:00                HOMES              Block: 1 Sub:
                                                                                                        CALEB
                                                                                                                   57954 Acct:
                                                                                                                   730241070




                      Copyright 1999 - 2025. Harris Recording Solutions. All Rights Reserved.




https://acclaim.tulsacounty.org/AcclaimWeb/Search/SearchTypeName                                                                           8/8
             Case 25-10067-T Document 1 Filed in USBC ND/OK on 01/20/25 Page 170 of 191


B2030 (Form 2030) (12/15)


                                                            United States Bankruptcy Court
                                                                              Northern District of Oklahoma

In re        Asher Homes, LLC

                                                                                                                           Case No.

Debtor                                                                                                                     Chapter                      11


                                         DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR

1.      Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
        compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered
        or to be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:

        For legal services, I have agreed to accept ................................................................................................................................................
                                                                                                                                                                     $10,155.50

        Prior to the filing of this statement I have received ................................................................................................................................................
                                                                                                                                                                    $10,155.50

        Balance Due ................................................................................................................................................            $0.00

2.      The source of the compensation paid to me was:

        ❑ Debtor                         ✔ Other (specify)
                                         ❑                                Daniel Ruhl ($8417.50 attorney fees plus $1738 filing fee=$10155.50 paid)

3.      The source of compensation to be paid to me is:

        ❑ Debtor                         ✔ Other (specify)
                                         ❑                                Daniel Ruhl also paid $14844.50 additional retainer

4.      ✔ I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my
        ❑
        law firm.

        ❑ I have agreed to share the above-disclosed compensation with a other person or persons who are not members or associates of my
        law firm. A copy of the agreement, together with a list of the names of the people sharing in the compensation, is attached.

5.      In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

        a.      Analysis of the debtor' s financial situation, and rendering advice to the debtor in determining whether to file a petition in
                bankruptcy;

        b.      Preparation and filing of any petition, schedules, statements of affairs and plan which may be required;

        c.      Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;

6.      By agreement with the debtor(s), the above-disclosed fee does not include the following services:




                                                                                                  Page 1 of 2
          Case 25-10067-T Document 1 Filed in USBC ND/OK on 01/20/25 Page 171 of 191


B2030 (Form 2030) (12/15)


                                                             CERTIFICATION

                        I certify that the foregoing is a complete statement of any agreement or arrangement for payment to
                me for representation of the debtor(s) in this bankruptcy proceeding.

                        01/20/2025                                               /s/ Ron Brown
                Date                                         Ron Brown
                                                             Signature of Attorney
                                                                                              Bar Number: 16352
                                                                                             Brown Law Firm PC
                                                                                                   1609 E. 4th St.
                                                                                                Tulsa, OK 74120
                                                                                           Phone: (918) 585-9500

                                                                               Brown Law Firm PC
                                                            Name of law firm




                                                                 Page 2 of 2
            Case 25-10067-T Document 1 Filed in USBC ND/OK on 01/20/25 Page 172 of 191


Revised 08/2020

                                                    UNITED STATES BANKRUPTCY COURT
                                                    NORTHERN DISTRICT OF OKLAHOMA
IN RE:     Asher Homes, LLC                                                    Case No.

                                                                               Chapter       11

                                      Debtor(s)

                                              VERIFICATION AS TO OFFICIAL CREDITOR LIST

                                                         ✔ Original
                                                              Amendment
                                                                   Add             Delete

          I hereby certify under penalty of perjury that the master mailing list of creditors submitted either on the Creditor List Submission
application, or uploaded to the Electronic Case Filing System is a true, correct and complete listing to the best of my knowledge.

         I further acknowledge that (1) the accuracy and completeness in preparing the creditor listing are the shared responsibility of the debtor
and the debtor’s attorney, (2) the court will rely on the creditor listing for all mailings, and (3) that the various schedules and statements required
by the Bankruptcy Rules are not used for mailing purposes.

         If this filing is an amendment to the creditor list, indicate only the number of creditors being added or to be deleted at this
time. (For verification purposes, attach a list of the creditors being submitted, uploaded, or to be deleted.)

                 140         # of Creditors (or if amended, # of creditors added)

           Method of submission:

                       (a)    ✔ uploaded to Electronic Case Filing System; or
                       (b)         Creditor List Submission application (to be used by Pro Se filers, found on the court’s website at
                                   www.oknb.uscourts.gov, or available in the Clerk’s Office)

                             # of Creditors (on attached list) to be deleted

                         /s/ Daniel Ruhl
         Daniel Ruhl                                                                   Joint Debtor Signature
         Debtor Signature
         Address: (if not represented by an attorney)                                  Address: (if not represented by an attorney)



         Phone: (if not represented by an attorney)                                    Phone: (if not represented by an attorney)



         Date                    01/20/2025                                                            /s/ Ron Brown
                                                                                       Ron Brown
                                                                                       Signature of Attorney
         [Check if applicable]                                                         Bar Number: 16352
                                                                                       Brown Law Firm PC
             Creditors with foreign addresses included
                                                                                       1609 E. 4th St.
                                                                                       Tulsa, OK 74120
                                                                                       Phone: (918) 585-9500
                                                                                       Email: ron@ronbrownlaw.com
                                                                                       Name/OBA#/Address/Telephone #/Email




                                                                               1
           Case 25-10067-T Document 1 Filed in USBC ND/OK on 01/20/25 Page 173 of 191


Revised 08/2020


                                                UNITED STATES BANKRUPTCY COURT
                                                NORTHERN DISTRICT OF OKLAHOMA

                                                 OFFICIAL CREDITOR LIST GUIDELINES

The Official Creditor List must be provided to the court in electronic format and meet the following criteria as described below:

       •     The name and address of each creditor must be five (5) lines or fewer

       •     Each line may contain no more than 40 characters including spaces

       •     Names and addresses should be left justified (no leading spaces) with only one column of creditors

       •     If attention lines are used, they should appear on the second line of the address

       •     City, state, and ZIP code must be on the last line

       •     All states must be two-letter abbreviations

       •     If a nine-digit ZIP code is used, a hyphen must separate the first five digits from the last four digits

       •     DO NOT include the following names on the mailing list, they will be retrieved automatically by the court’s computer system: debtor,
             joint debtor, attorney for debtor(s), United States Trustee

Attorney Filers
Most bankruptcy preparation software packages have the ability to save the creditor list electronically in the proper format. Please check with
your software company to ensure you have this option.

Filers without an Attorney (Pro Se Debtors)
Filers without an attorney may submit creditors through the Creditor List Submission application which can be accessed from the Court’s website
at www.oknb.uscourts.gov, or in the Clerk’s Office.

Computer Access
Any pro se debtor or attorney who does not have access to a computer may use the equipment located in the Clerk’s office to create the Official
Creditor List.

Verification of Creditor List
Each submission of an Official Creditor List shall be accompanied by a cover sheet or Verification as to Official Creditor List in the format outlined
by the Clerk.

Amendments
Amendments to the Official Creditor List shall contain only names and addresses to be added to or deleted from the Official Creditor List and
must comply with the above-described criteria.




                                                                            2
Case 25-10067-T Document 1 Filed in USBC ND/OK on 01/20/25 Page 174 of 191


                            1-800 Water Damage of
                            Greater NW Tulsa
                            421 S Lincoln Ave suite D
                            Sand Springs, OK 74063



                            ABC Supply Co., Inc.
                            7333 E. 38th St.
                            Tulsa, OK 74135-0000




                            AIRCO Service Inc
                            1131 E 58th St
                            Tulsa, OK 74146-0000




                            AL Electric LLC
                            2804 St Hwy JJ
                            Niangua, MO 65713-0000




                            All Britton Plumbing Inc.
                            3507 S 177th W Ave
                            Sand Springs, OK 74063




                            American Leak Detection of
                            NE Okla
                            123 N Birch St
                            Jenks, OK 74037



                            American Waste Control
                            1420 W 35th Street
                            Tulsa, OK 74107-0000




                            Andrew and Britney Dye
Case 25-10067-T Document 1 Filed in USBC ND/OK on 01/20/25 Page 175 of 191


                            Anthony's Painting LLC
                            2301 N Lewis
                            Tulsa, OK 74110




                            Armando;s Custom Painting
                            320 S 63rd St.
                            Broken Arrow, OK 74014




                            Baker Irrigation
                            14700 S Harvard Ave
                            Bixby, OK 74008-0000




                            BancFirst
                            PO Box 2003
                            200 E. Main
                            Jenks, OK 74037-0000



                            Bradley and Bailey Gaines
                            c/o Julia Allen
                            PO Box 995
                            Ketchum, OK 74349



                            Brundage Bone
                            PO Box 203499
                            Dallas, TX 75320-0000




                            Builders First Source
                            Ste 1600
                            2001 Bryan St
                            Dallas, TX 75201-0000



                            BWI Sanitation
                            2203 N Brookline Ave,
                            Republic, MO 65738
Case 25-10067-T Document 1 Filed in USBC ND/OK on 01/20/25 Page 176 of 191


                            City National Bank and Trust
                            Company
                            500 SW D Ave.
                            Lawton, OK 73501



                            Conner & Winter, LLP
                            4100 First Place Tower
                            15 E 5th St
                            Tulsa, OK 74103-4345



                            COP Hometown Service, Inc.
                            c/o Robinett Swartz and Duren
                            401 S. Boston 1600
                            Tulsa, OK 74103



                            Crowe and Dunlevy
                            222 N. Detroit 600
                            Tulsa, OK 74120




                            Custom Cut Woodwork LLC
                            16500 S. Yale
                            Bixby, OK 74008




                            Daniel Ruhl
                            9128 S BRADEN AVE STE 201
                            Tulsa, OK 74137




                            David and Stacy Hillstrom




                            DK Waste Water Services
                            General Address
                            Talala, OK 74080
Case 25-10067-T Document 1 Filed in USBC ND/OK on 01/20/25 Page 177 of 191


                            Doerner Saunders Daniel and
                            Anderson
                            Two West Second Street Suite 700
                            Attn David Herrold
                            Tulsa, OK 74103-0000


                            Doerner, Saunders, Daniel &
                            Anderson,LLP
                            2 W. Second St. Suite 700
                            Tulsa, OK 74114-0000



                            DP Custom Trim Carpentry
                            LLC
                            10725 Masters Circle Ave
                            Jenks, OK 74037



                            Drummond Law Firm
                            320 S. Boulder 300
                            Tulsa, OK 74103




                            Duster Cleaning Services LLC
                            14665 S 330th East Ave
                            Coweta, OK 74429




                            EC Plumbing and Drain
                            10114 E 47th St
                            Tulsa, OK 74146




                            Eller and Detrich
                            2727 E. 21st Street
                            Tulsa, OK 74114




                            Emily and Spencer Roberts
                            111 W 5th St, Suite 500
                            Tulsa, OK 74103
Case 25-10067-T Document 1 Filed in USBC ND/OK on 01/20/25 Page 178 of 191


                            Esteban Contreras
                            10114 E 47th St.
                            Tulsa, OK 74146




                            Evolve Plumbing
                            2201 S Rosedale Ave
                            Tulsa, OK 74107




                            Executive Homes, LLC
                            2529 E. Northampton St.
                            Broken Arrow, OK 74014




                            Fabian Pineda
                            c/o Kathleen Pence
                            521 S. Main
                            Jenks, OK 74037



                            FENSCO, INC.
                            1983 N Birch St
                            Jenks, OK 74037-0000




                            Floor and Decor Outlets of
                            America, Inc
                            2500 Windy Ridge Pkwy SE
                            Atlanta, GA 30339



                            Frankenfield Capital, Inc.
                            dba iFoam Insulation 102
                            1080 E 11th Street B 203
                            Tulsa, OK 74128



                            Frankenfield Capital, Inc. dba
                            iFoam Insulation 102
                            1080 E 11th Street B 203
                            Tulsa, OK 74128
Case 25-10067-T Document 1 Filed in USBC ND/OK on 01/20/25 Page 179 of 191


                            Fransisco Torres
                            9128 S. Braden Ave. 201
                            Tulsa, OK 74137




                            Free Willy Trust
                            c/o Zachary Enlow
                            2626 E. 21st Street 1
                            Tulsa, OK 74114



                            Gable Gotwals
                            110 N Elgin Ave Ste 200
                            Tulsa, OK 74120-1495




                            GP Stone LLC
                            dba Granite Planet
                            2232 N. Harvard Ave
                            Tulsa, OK 74115



                            Graphic Resources and
                            Reproduction
                            4251 W Albany St
                            Broken Arrow, OK 74012-0000



                            Green Country Plumbing
                            15167 W 18th Pl S,
                            Sand Springs, OK 74063




                            Greg A Metzer
                            1 South Broadway Ste 100
                            Edmond, OK 73034-0000




                            Hall Estill
                            521 E 2nd St Ste 1200
                            Tulsa, OK 74120-1855
Case 25-10067-T Document 1 Filed in USBC ND/OK on 01/20/25 Page 180 of 191


                            Hardscape
                            11610 S. Memorial Rd
                            Bixby, OK 74008-0000




                            Hummingbird Electric Inc
                            c/o Joseph Hull PLLC
                            1717 S. Cheyenne
                            Tulsa, OK 74119



                            Indian Nation Fire Sprinkler
                            2300 N. Yellowood Ave
                            Broken Arrow, OK 74012-0000




                            Infinity Home Solutions LLC
                            12806 South Memorial Drive Suite 113
                            Bixby, OK 74008




                            Installed Building Products of
                            Tulsa
                            5634 S 122nd E Ave,
                            Tulsa, OK 74146



                            Insulation Services of Tulsa,
                            LLC
                            c/o Robinett Swartz & Duren
                            401 S. Boston 1600
                            Tulsa, OK 74103


                            Isaac Ellis
                            PO Box 521209
                            Tulsa, OK 74152




                            J Team Pools and Spas, Inc
                            4009 South Sycamore Ave
                            Broken Arrow, OK 74011
Case 25-10067-T Document 1 Filed in USBC ND/OK on 01/20/25 Page 181 of 191


                            J&E Concrete
                            1912 East 58TH Street
                            Tulsa, OK 74105




                            James Cinocca III
                            c/o Holly Cinocca
                            6440 S. Lewis 100
                            Tulsa, OK 74136



                            James H. Ferris
                            401 S. Boston
                            1100 Mid Continent Tower
                            Tulsa, OK 74103-0000



                            JDW Plumbing
                            1204 w Knoxville St
                            Broken Arrow, OK 74012




                            Jeffrey and Laurel Roberts




                            Jetta Corporation
                            PO Box 26243
                            Oklahoma City, OK 73126-0000




                            Johnson Wood Works LLC
                            S Maybelle Ave, Tulsa, OK 74107
                            Tulsa, OK 74107




                            Joseph Hull
                            1717 S. Cheyenne
                            Tulsa, OK 74119
Case 25-10067-T Document 1 Filed in USBC ND/OK on 01/20/25 Page 182 of 191


                            Julia Allen
                            PO Box 995
                            Ketchum, OK 74349




                            Julio and Sons Painting
                            444 S 79th E. Ave.
                            Tulsa, OK 74112




                            Justin and Marissa Fengler,
                            Trustees
                            c/o Brian Rayment
                            7666 East 61st St 550
                            Tulsa, OK 74133


                            Kalli Hannah and Kyle WIlber
                            c/o Jonathan Nation
                            624 S. Denver 300
                            Tulsa, OK 74119



                            L&R Custom Painting LLC
                            12655 E. 16TH ST
                            Tulsa, OK 74128




                            L&S Overhead Door
                            7338 E 38th St
                            Tulsa, OK 74145




                            L&W Supply
                            12595 E 61st St
                            Broken Arrow, OK 74012-0000




                            LifeStyles Stores, Inc.
                            1801 W 33rd St
                            Edmond, OK 73013-0000
Case 25-10067-T Document 1 Filed in USBC ND/OK on 01/20/25 Page 183 of 191


                            Locke Supply
                            PO Box 24980
                            Oklahoma City, OK 73124-0000




                            Lucas Raith and Jennifer
                            Abernathy
                            c/o Julia Allen
                            PO Box 995
                            Ketchum, OK 74349


                            M&M Lumber Company
                            4711 South Mingo
                            Tulsa, OK 74146-0000




                            Mabrey Bank
                            Yale Market
                            8085 S. Yale
                            Tulsa, OK 74136



                            Mabrey Bank
                            8085 S. Yale
                            Tulsa, OK 74136-0000




                            Mahammad and Douaa Khan




                            Mark and Leslie Applebaum




                            Mark Lyons
                            616 S. Main Ste. 201
                            Tulsa, OK 74119-0000
Case 25-10067-T Document 1 Filed in USBC ND/OK on 01/20/25 Page 184 of 191


                            Metro Appliances & More
                            5313 S Mingo Rd
                            Tulsa, OK 74146-0000




                            Metzer and Austin PLLC
                            1 South Broadway Suite 100
                            Edmond, OK 73034-0000




                            Mill Creek Carpet and Tile
                            Company
                            c/o Robinett Swartz & Duren
                            401 S. Boston 1600
                            Tulsa, OK 74103


                            Mill Creek Lumber Co.
                            PO Box 4770
                            Tulsa, OK 74159-0000




                            Millcreek Lumber & Supply
                            Company
                            P.O. Box 4770
                            Tulsa, OK 74159-0000



                            Miller Electric
                            613 West 3rd St.
                            Mountain Grove, MO 65711-0000




                            Moyers Martin LLP
                            401 S. Boston 1100
                            Tulsa, OK 74103




                            Nabeel Mahmood
                            2005 W. Huntsville Place
                            Broken Arrow, OK 74011
Case 25-10067-T Document 1 Filed in USBC ND/OK on 01/20/25 Page 185 of 191


                            New Plumbing LLC
                            c/o Julia Allen
                            PO Box 995
                            Ketchum, OK 74349



                            Nikolaus and Jenna Prescott




                            Oklahoma Employment
                            Security Commission
                            PO Box 52003
                            Oklahoma City, OK 73152-2003



                            Oklahoma Tax Commission
                            2501 N Lincoln Blvd
                            Oklahoma City, OK 73105-4508




                            Paradygm Development LLC
                            8630 S Peoria Ave
                            Tulsa, OK 74132




                            Pradeep Pottumuthu
                            6318 E. 127th St. S
                            Bixby, OK 74008




                            Precision Project
                            Management
                            9128 S BRADEN AVE STE 201
                            Tulsa, OK 74137



                            PS Plumbing
                            P.O. Box 548
                            Skiatook, OK 74070
Case 25-10067-T Document 1 Filed in USBC ND/OK on 01/20/25 Page 186 of 191


                            R&L Plumbing Inc
                            7901 E 101st St
                            Tulsa, OK 74133




                            R&R Plumbing and Mechanical
                            LLC
                            3537 S 65th W Ave
                            Tulsa, OK 74107



                            Renaissance, Inc.
                            505 W 125th Pl S. 300
                            Glenpool, OK 74033




                            Resaissance, Inc.
                            550 W. 125th Pl S 300
                            Glenpool, OK 74033




                            RH Stucco and EIFS, LLC
                            1611 N Atlanta Ave
                            Tulsa, OK 74110




                            Robinett, Swartz & Duren
                            624 S Boston, Suite 900
                            Tulsa, OK 74119-0000




                            Robinson Air
                            5401 S 101st E Ave
                            Tulsa, OK 74146




                            Rogers County District
                            Attorney's Office
                            200 South Lynn Riggs Blvd
                            Claremore, OK 74017
Case 25-10067-T Document 1 Filed in USBC ND/OK on 01/20/25 Page 187 of 191


                            Rosser Midwest Stone
                            P.O. Box 472254
                            Tulsa, OK 74147-0000




                            Ruhl Construction LLC
                            9128 S BRADEN AVE STE 201
                            Tulsa, OK 74137




                            Ruhl Properties LLC
                            9128 S BRADEN AVE STE 201
                            Tulsa, OK 74137




                            Daniel Ruhl
                            9128 S BRADEN AVE STE 201
                            Tulsa, OK 74137




                            Ryder Brick Inc
                            8290 E. 148th St. S.
                            Bixby, OK 74008




                            Santhosh Umapathy and
                            Lakshmi Nagarajan
                            c/o Dean Foote
                            6914 S. Yorktown Ave. 102-A
                            Tulsa, OK 74136


                            Selva Prakash Raman
                            c/o Zach Enlow
                            2626 E. 21st Street 1
                            Tulsa, OK 74114



                            Shannon McMurray
                            3015 E. Skelly Dr 324
                            Tulsa, OK 74105
Case 25-10067-T Document 1 Filed in USBC ND/OK on 01/20/25 Page 188 of 191


                            Sharod Tanden
                            c/o Conner and Winters
                            4100 First Place Tower 15 E. 5th Street
                            Tulsa, OK 74103



                            Shena Elaine Burgess
                            9175 S. Yale Ave. 300
                            Tulsa, OK 74137-0000




                            Shook and Johnson
                            7420 S. Yale Ave.
                            Tulsa, OK 74136




                            Sierra Pools and Spas LLC
                            13795 E 560 Rd
                            Inola, OK 74036




                            Small Business
                            Administration
                            409 3rd St.
                            Washington, DC 20416



                            Spirit Bank
                            1800 S. Baltimore
                            c/o Kenneth Wagner
                            Tulsa, OK 74119-0000



                            Spiritbank
                            1800 S Baltimore Ave 700
                            Tulsa, OK 74119-5216




                            Standard Materials Group
                            4530 North Oak Street
                            Witter, AR 72776
Case 25-10067-T Document 1 Filed in USBC ND/OK on 01/20/25 Page 189 of 191


                            Stone Canyon Community
                            Association, Inc
                            PO Box 1110
                            Owasso, OK 74055



                            Street Lamps of America
                            26319 E Hwy 51
                            Broken Arrow, OK 74014




                            Stresscon, Inc.
                            6533 E 11th St
                            Tulsa, OK 74112-0000




                            Sublime Constractors Inc
                            PO Box 2395
                            Sapulpa, OK 74067




                            Sublime Contractors
                            15717 W 71st St S
                            Sapulpa, OK 74066




                            Superior Termite & Pest
                            Control
                            205 South 85th E Ave
                            Tulsa, OK 74112-0000



                            The Womble Company dba
                            Pella of Ok
                            4340 S Mingo Rd
                            Tulsa, OK 74146



                            Thomas and Gara Hurd
                            c/o Mitchell Bonds
                            203 E.. Hobson Ave
                            Sapulpa, OK 74066
Case 25-10067-T Document 1 Filed in USBC ND/OK on 01/20/25 Page 190 of 191


                            Tony Parker
                            4920 E 105th St
                            Tulsa, OK 74137




                            Toros Construction Inc
                            7202 E 92nd ST
                            Tulsa, OK 74133




                            Travis Martin Pools
                            5520 US Hwy 59. Grove
                            Grove, OK 74344




                            Tulsa County District Attorney
                            Ste 450
                            201 W. 5th St.
                            Tulsa, OK 74103-0000



                            Tulsa Fireplace Supply
                            PO Box Box 748
                            Broken Arrow, OK 74013




                            Ultimate Cabinets
                            1810 N. 75th E. Ave
                            Tulsa, OK 74115




                            US Crown LLC
                            213 w Los Angeles Pl
                            Broken Arrow, OK 74011




                            Virginia Neel and Virginia
                            Neel Revocable Mgmt Trust
                            c/o Eric Stall
                            2021 S. Lewis 520
                            Tulsa, OK 74104
Case 25-10067-T Document 1 Filed in USBC ND/OK on 01/20/25 Page 191 of 191


                            W Design LLC
                            608 E 3rd St
                            Tulsa, OK 74120




                            Watkins Sand Co, Inc.
                            PO Box Box 687
                            Bixby, OK 74008




                            Whitacre Glass Works
                            8177 E 44th St
                            Tulsa, OK 74145




                            Zip Zoom Drywall LLC
                            PO Box 243
                            Skiatook, OK 74070
